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                              EXHIBIT 1

         Executed Asset Purchase Agreement With Rising Sky, LLC

                               (Attached)
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                                         ASSET PURCHASE AGREEMENT

                                                 BY AND AMONG

                          THEIA GROUP, INC. d/b/a “THORIAN GROUP” and/or “CYPHERIAN,”

                                              THEIA AVIATION, LLC,

                                                         AND

                               THEIA HOLDINGS A, INC. d/b/a “THORIAN HOLDINGS,”

                                                collectively, as Sellers,

                                                         AND

                                                 RISING SKY, LLC,

                                                       as Buyer,



                                             Dated as of January 17, 2023




             [THIS DOCUMENT IS INTENDED SOLELY TO FACILITATE DISCUSSIONS BETWEEN THE
             PARTIES. THIS DOCUMENT IS NOT INTENDED TO CREATE, NOR WILL IT BE DEEMED
             TO CREATE, A LEGALLY BINDING OR ENFORCEABLE OFFER OR AGREEMENT OF ANY
             TYPE OR NATURE, UNLESS AND UNTIL AGREED TO AND EXECUTED BY THE PARTIES.]
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                     THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is made and entered into as of
             January 17, 2023, by and among Theia Group, Inc. d/b/a “Thorian Group” and/or “Cypherian,” a Delaware
             corporation (“TGI”), Theia Aviation, LLC, a Delaware limited liability company (“TA”), and Theia
             Holdings A, Inc. d/b/a “Thorian Holdings,” a Delaware corporation (“THA,” and together with TGI and
             TA, “Sellers”), and Rising Sky LLC, a Delaware limited liability company (on behalf of itself, its designees,
             and or assignees, “Buyer”) and together with the Sellers, the “Parties”), and all transactions contemplated
             by this Agreement, collectively, the “Transactions.”

                                                             RECITALS

                      WHEREAS, Sellers engaged in the business of data analytics of data acquired by satellites and/or
             aircraft via remote sensing and spectral analysis (the “Business”) by virtue of its licenses from (a) the
             National Oceanic and Atmospheric Administration, an agency of the United States Department of
             Commerce (“NOAA”) and (b) the Federal Communications Commission, an agency of the government of
             the United States of America (“FCC”) and (c) other proprietary licenses and patents registered in non-
             United States locations;

                      WHEREAS, on November 8, 2021, in a civil action styled FCS Advisors, LLC v. Theia Group,
             Inc., d/b/a “Thorian Group” and/or “Cypherian,” Theia Aviation, LLC, and Theia Holdings A, Inc., d/b/a
             “Thorian Holdings,” 21 Civ. 6995 (PKC) (the “Receivership Action”), the United States District Court
             for the Southern District of New York (the “District Court”) entered an Order Appointing Michael Fuqua
             as Receiver (Doc. 117) for the Sellers (the “Receiver”); and

                     WHEREAS, Buyer desires to purchase from Sellers, and Sellers desire to sell to Buyer,
             substantially all of Sellers’ right, title and interest in their assets used and/or useful in the operation of the
             Business, and Sellers desire to assign to Buyer, and Buyer desires to accept the assignment of, certain rights
             and contracts of Sellers with respect to the operation of the Business, in each case for consideration and in
             accordance with the terms and conditions of this Agreement.

                                                           AGREEMENT

                      NOW, THEREFORE, in consideration of the mutual representations, warranties, covenants and
             agreements contained in this Agreement, and for other good and valuable consideration, the receipt and
             sufficiency of which are hereby acknowledged and intending to be legally bound hereby, the Parties agree
             as follows:

                                                              ARTICLE I
                                                             DEFINITIONS

                    Section 1.01 The following terms have the meanings specified or referred to in this Error!
             Reference source not found.:

                              (a)      “Acquired Assets” has the meaning set forth in Section 2.01.

                              (b)      “Action” means any claim, action, cause of action, demand, lawsuit, arbitration,
             inquiry, audit, notice of violation, proceeding, litigation, citation, summons, subpoena or investigation of
             any nature, civil, criminal, administrative, regulatory or otherwise, whether at law or in equity.
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                              (c)     “Affiliate” of a Person or Sellers means any other entity or Person that directly or
             indirectly, through one or more intermediaries, controls, is controlled by, or is under common control with,
             such Person. The term “control” (including the terms “controlled by” and “under common control with”)
             means the possession, directly or indirectly, of the power to direct or cause the direction of the management
             and policies of a Person, whether through the ownership of voting securities, by contract or otherwise.

                              (d)     “Agreement” has the meaning set forth in the preamble.

                              (e)    “Aircraft” means aircraft, aircraft parts (including spare parts) and support
             equipment, sensors and remote sensing equipment or accessories, including, without limitation, the items
             listed on attached Schedule 1.01(e).

                              (f)     “Aithre” means Aithre Capital Partners LLC.

                              (g)     “Aithre Obligations” means all obligations under the Secured Note Purchase and
             Security Agreement dated as of January 5, 2021, by and between TGI and Aithre, as may be amended from
             time to time, and any related documents.

                             (h)      “Alternative Transaction” means any transaction or series of transactions
             involving a sale of all or substantially all of the Acquired Assets to a purchaser or purchasers other than
             Buyer.

                             (i)     “Ancillary Documents” means the Bill of Sale, Assignment and Assumption of
             Contracts and Assumed Liabilities, the Intellectual Property Assignments, and any other agreements,
             instruments and documents required to be delivered at the Closing or that the Parties otherwise agree (in
             writing) to exchange at Closing.

                             (j)      “Approval Order” means an Order entered by the District Court approving this
             Agreement, authorizing the sale and purchase of the Acquired Assets “free and clear” of Liens, Claims, and
             Indebtedness (other than Assumed Liabilities), and authorizing the Sellers to consummate the Transactions
             hereunder, and that is not stayed or vacated.

                              (k)     “Assigned Contracts” means the contracts listed on attached Schedule 1.01(k) to
             the extent the foregoing are assignable to Buyer without the consent or approval of the counterparty,
             including the Intellectual Property Agreements.

                             (l)      “Assumed Liabilities” means strictly the liabilities and obligations on attached
             Schedule 1.01(l), including, without limitation, any Taxes for which the Buyer is liable pursuant to Section
             5.05, and any other liabilities and obligations under the Assigned Contracts.

                             (m)      “Bill of Sale, Assignment and Assumption of Contracts and Assumed
             Liabilities” means a document, in the form attached as Exhibit A, to be executed and delivered to Sellers
             at Closing pursuant to which Buyer (i) purchases the Acquired Assets, “as is, where is” and free and clear
             of Liens, Claims and Indebtedness (other than the Assumed Liabilities), and without representation or
             warranty by the Sellers and (ii) accepts the assignment of and assumes the Assigned Contracts and Assumed
             Liabilities.

                              (n)      “Books and Records” means books, e-mails, records, ledgers, files, documents,
             correspondence, lists, plats, architectural plans, drawings, specifications, creative materials, advertising and
             promotional materials, studies, reports, and other printed or written materials used and/or useful in the
             operation of the Business.


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                              (o)     “Business” has the meaning set forth in the Recitals.

                           (p)    “Business Day” means any day except Saturday, Sunday or any other day on
             which commercial banks located in New York, New York are authorized or required by Law to be closed
             for business.

                              (q)     “Buyer” has the meaning set forth in the preamble.

                             (r)       “Buyer’s Closing Certificate” means a certificate, based on Buyer’s Knowledge,
             executed by Buyer as to the accuracy of its representations and warranties as of the date hereof and as of
             the Closing and as to its compliance with and performance of its covenants and obligations to be performed
             or complied with at or before the Closing.

                              (s)     “Buyer’s Deliverables” has the meaning provided in Section 2.10(b).

                              (t)     “Buyer’s Knowledge” or any other similar knowledge or qualification means the
             actual or constructive knowledge, after reasonable inquiry, of Buyer.

                             (u)    “Cash Payment” means Buyer’s payment to Sellers of immediately available cash
             in the amount of One Hundred Seventy Five Million Dollars ($175,000,000), including the Deposit.

                              (v)      “Claim” means any contest, claim, demand, assessment, Action, cause of action,
             complaint, litigation, proceeding, hearing or notice involving any Person that can or may be asserted.

                              (w)     “Closing” has the meaning set forth in Section 2.08.

                              (x)     “Closing Date” has the meaning set forth in Section 2.08.

                              (y)     “Code” means the Internal Revenue Code of 1986, as amended.

                              (z)    “Contracts” means contracts, leases, deeds, mortgages, licenses, instruments,
             notes, commitments, undertakings, indentures, joint ventures and all other agreements, commitments and
             legally binding arrangements, whether written or oral.

                              (aa)    “Deposit” means Forty Million Dollars ($40,000,000) in cash.

                             (bb)    “Deposit Rights” means Sellers’ rights, title and interest in deposits (other than
             the Deposit) and prepaid expenses and claims for refunds and rights to offset in respect thereof.

                              (cc)    “District Court” has the meaning set forth in the preamble.

                              (dd)    “Dollars” or “$” means the lawful currency of the United States.

                                (ee)   “Excluded Assets” means any assets or properties other than the Acquired Assets.
             For the avoidance of doubt, and without limiting the foregoing, (a) cash, (b) cash equivalents, (c) all
             defenses, offsets, and recoupments against any Claims against, or liabilities of, any or all of the Sellers,
             (d) claims, causes of action and rights against Paul Carroll and any past or present Affiliate of Paul Carroll,
             and all offsets, recoupments and defenses to any claims of Paul Carroll or any such Affiliate, (e) claims,
             causes of action and rights against Stephen Buscher and any past or present Affiliate of Stephen Buscher,
             and all offsets, recoupments and defenses to any claims of Stephen Buscher or any such Affiliate, (f) claims,
             causes of action and rights against Microcosm, Inc. (“Microcosm”) and any past or present Affiliate of
             Microcosm, and all offsets, recoupments and defenses to any claims of Microcosm or any Affiliate thereof,

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             (g) claims, causes of action and rights against Scorpius Space Launch Corporation (“Scorpius”) and any
             past or present Affiliate of Scorpius, and all offsets, recoupments and defenses to any claims of Scorpius or
             any Affiliate thereof, (h) all defenses, including defensive rights of recoupment and offset, relating to
             Excluded Liabilities and Excluded Assets, and (i) the rights of Sellers under this Agreement, are Excluded
             Assets.

                               (ff)    “Excluded Liabilities” means all Indebtedness other than the Assumed Liabilities.
             Without limiting the foregoing, Excluded Liabilities include (i) any Taxes arising as a result of Sellers’
             operation of its business or ownership of the Acquired Assets prior to the Closing, (ii) any employment
             Taxes paid or to be paid by Sellers for any reason whatsoever, (iii) any deferred Taxes of any nature,
             (iv) any Liability under any Contract not assigned to Buyer under this Agreement, (v) any liability under
             any employee benefit plans or relating to payroll, severance, vacation, sick leave, workers’ compensation,
             unemployment benefits, pension benefits, employee stock option or profit-sharing plans, health care plans
             or benefits or any other employee plans or benefits of any kind for Sellers’ employees or former employees
             or both, including any Liability with respect to the payment of bonuses for any reason, (vi) any Liability to
             indemnify, reimburse or advance amounts to any officer, director, employee or agent of Sellers, and
             (vii) any Liability arising out of or resulting from Sellers’ compliance or noncompliance with any Law or
             Order of any Governmental Authority.

                              (gg)    “FCC” has the meaning set forth in the Recitals.

                              (hh)  “FCC License” means all rights, title and interest in and to the “Order and
             Authorization for NGSO-like satellite operation in the 10.7-12.7 GHz, 14.0-14.5 GHz, 17.8-18.6 GHz,
             18.819.3 GHz, 27.5-28.35 GHz, 28.35-29.1 GHz, and 29.5-30.0 GHz frequency bands” or any replacement
             or successor license.

                              (ii)    “FCS” means FCS Advisors, LLC d/b/a Brevet Capital Advisors.

                              (jj)     “FCS Loan Documents” means, as may be amended from time to time and
             together with all restatements, supplements, and other modifications thereto, (a) the Secured Note Purchase
             and Security Agreement dated as of October 4, 2018 between TGI and FCS; (b) the Amended and Restated
             Secured Note Purchase and Security, dated as of June 29, 2020, (c) the Receiver’s Certificate Purchase and
             Security Agreement dated as of February [*], 2022, (d) the Receiver’s Certificate dated as of February [*],
             2022, (e) the Order Authorizing Receiver to Obtain Receivership Financing from FCS Advisors, LLC (Doc.
             206), entered by the Court on February 16, 2022; (f) the First Amendment to Receiver’s Certificate Purchase
             and Security Agreement dated as of January [*], 2023 (the “First Amendment”); (g) any District Court
             order authorizing the Receiver’s entry into the First Amendment; (h) all other mortgages, assignments,
             instrument, and other documents executed in connection with the foregoing.

                            (kk)    “FCS Obligations” means all loans, advances, debts, liabilities, and obligations
             (monetary and nonmonetary) of every kind and description, whether direct or indirect, fixed or contingent,
             mature or unmatured, now existing or hereafter arising, under, or related to, any of the FCS Loan
             Documents, or any related documents or transactions.

                             (ll)    “F&F Obligations” means the scheduled loans, advances, debts, liabilities, and
             obligations totaling at least One Hundred Seventy Nine Million Dollars ($179,000,000), and any
             nonmonetary obligations, in each case of every kind and description, whether direct or indirect, fixed or
             contingent, mature or unmatured, now existing or hereafter arising, under, or related to, all Secured Note
             Purchase Agreements and Secured Convertible Promissory Notes (as may be amended, restated, or
             supplemented from time to time) entered into between any of the Sellers and the purchasers listed on
             Schedule 1.01(ll). For the avoidance of doubt, F&F Obligations shall only include those obligations with

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             respect to which the obligee has previously signed a note purchase agreement with the Buyer at any time
             prior to Closing.

                             (mm) “Governmental Approval” means any approval, order, writ, judgment,
             injunction, decree, stipulation, determination or award, granted or entered by or with any Governmental
             Authority.

                             (nn)     “Governmental Authority” means any federal, state, local or foreign government
             or political subdivision thereof, or any agency or instrumentality of such government or political
             subdivision, or any self-regulated organization or other non-governmental regulatory authority or quasi-
             governmental authority (to the extent that the rules, regulations or orders of such organization or authority
             have the force of Law), or any arbitrator, court or tribunal of competent jurisdiction.

                              (oo)     “Indebtedness” means, with respect to any Person, at a particular time, without
             duplication, (i) any obligations of such Person under any indebtedness for borrowed money, (ii) any
             indebtedness of such Person evidenced by any note, bond, debenture or other debt security, (iii) any
             indebtedness of such Person pursuant to a guarantee to a creditor of another Person, (iv) any obligations
             under capitalized leases or with respect to which such Person is liable, contingently or otherwise, as obligor,
             guarantor or otherwise, or with respect to which obligations such Person assures a lender or lessor under
             any such lease against loss, (v) any borrowing of money or other obligation secured by a Lien on such
             Person’s assets, (vi) any obligations under factoring or similar agreements with respect to receivables that
             have been factored or pledged, (vii) any off-balance sheet obligations that by the nature of their terms will
             ultimately be deemed to be, by conversion or otherwise, or treated, for tax purposes or otherwise, as debt,
             (viii) any obligation for interest, premiums, penalties, fees, make-whole payments, expenses, indemnities,
             breakage costs and bank overdrafts with respect to items described in clauses (i) through (vii) above,
             (ix) any obligations of such Person for the deferred and unpaid purchase price of property or services (other
             than trade and other payables, accrued expenses and other current liabilities, but including earnout
             payments), (x) any unfunded pension liabilities or commitments, (xi) any reserves or provisions which have
             a cash-out effect, (xii) any transaction or stay bonuses or payment, and (xiii) all liabilities for reserves for
             any of the foregoing.

                               (pp)     “Intellectual Property” means any and all of Sellers’ rights in, arising out of, or
             associated with any of the following in any jurisdiction throughout the world: (a) issued patents and patent
             applications (whether provisional or non-provisional), including divisionals, continuations, continuations-
             in-part, substitutions, reissues, reexaminations, extensions, or restorations of any of the foregoing, and other
             Governmental Authority-issued indicia of invention ownership (including certificates of invention, petty
             patents, and patent utility models) (“Patents”); (b) trademarks, service marks, brands, certification marks,
             logos, trade dress, trade names, and other similar indicia of source or origin, whether or not registered,
             together with the goodwill connected with the use of and symbolized by, and all registrations, applications
             for registration, and renewals of, any of the foregoing, excluding “Theia” (the “Trademarks”);
             (c) copyrights and works of authorship, whether or not copyrightable, and all registrations, applications for
             registration, and renewals of any of the foregoing (“Copyrights”); (d) internet domain names and social
             media account or user names (including “handles”), whether or not Trademarks, all associated web
             addresses, URLs, websites and web pages, social media sites and pages, and all content and data thereon or
             relating hereto, whether or not Copyrights; (e) mask works, and all registrations, applications for
             registration, and renewals thereof; (f) industrial designs, and all Patents, registrations, applications for
             registration, and renewals thereof; (g) trade secrets, know-how, inventions (whether or not patentable),
             discoveries, improvements, technology, business and technical information, databases, data compilations
             and collections, tools, methods, processes, techniques, and other confidential and proprietary information
             and all rights therein; (h) computer programs, operating systems, applications, firmware and other code,
             including all source code, object code, application programming interfaces, data files, databases, protocols,

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             specifications, and other documentation thereof; and (i) all other intellectual or industrial property and
             proprietary rights.

                              (qq)     “Intellectual Property Agreements” means all licenses, sublicenses, consent to
             use agreements, settlements, coexistence agreements, covenants not to sue, waivers, releases, permissions
             and other Contracts, whether written or oral, relating to any Intellectual Property that is or was used or held
             for use in the conduct of the Business (as conducted as of the commencement of the Receivership Action)
             to which any of Sellers is a party, beneficiary or otherwise bound, to the extent the foregoing are assignable
             to Buyer without the consent or approval of the counterparty.

                              (rr)     “Intellectual Property Assets” means all Intellectual Property that is owned by
             Sellers and used or held for use in the conduct of the Business (as conducted as of the commencement of
             the Receivership Action), together with all (i) royalties, fees, income, payments, and other proceeds due or
             payable to Sellers with respect to such Intellectual Property after the Closing; and (ii) other claims and
             causes of action with respect to such Intellectual Property, whether accruing before, on, or after the Closing,
             including all rights to and claims for damages, restitution, and injunctive and other legal or equitable relief
             for infringement, misappropriation, or other violation thereof, including without limitation, the Intellectual
             Property listed on attached Schedule 1.01(rr).

                              (ss)    “Intellectual Property Assignments” means the assignments of Intellectual
             Property in the form(s) attached as Exhibit B that the Sellers shall have executed and delivered that assign,
             convey, and transfer to Buyer its entire right, title, interest, and ownership, to all Intellectual Property owned
             by Sellers.

                               (tt)   “Law” means any statute, law, ordinance, regulation, rule, code, order,
             constitution, treaty, common law, judgment, decree, other requirement or rule of law of any Governmental
             Authority.

                             (uu)     “Liability” or “Liabilities” means any direct or indirect Indebtedness, liability,
             Claim, loss, damage, deficiency, obligation, responsibility or other liability of any kind (whether known or
             unknown, fixed or unfixed, choate or inchoate, liquidated or un-liquidated, secured or unsecured, accrued,
             absolute, contingent or otherwise), and including all costs and expenses related thereto.

                              (vv)     “Licenses” means the FCC License and the NOAA License.

                              (ww) “Lien” means any lien (statutory or otherwise), security interest, mortgage, deed
             of trust, priority, pledge, charge, conditional sale, title retention agreement, financing lease or other
             encumbrance, or any agreement to give or grant any of the foregoing.

                                (xx)    “Material Adverse Effect” means any event, occurrence, fact, condition or
             change that is, or could reasonably be expected to become, individually or in the aggregate, materially
             adverse to the value of the Acquired Assets in the amount of at least $25 million; provided, however, that
             “Material Adverse Effect” shall not include any event, occurrence, fact, condition or change, directly or
             indirectly, arising out of or attributable to: (i) general economic or political conditions; (ii) conditions
             generally affecting the industries in which the Business operated or may operate in the future; (iii) any
             changes in financial or securities markets in general; (iv) acts of war (whether or not declared), armed
             hostilities or terrorism, or the escalation or worsening thereof; (v) any pandemic or epidemic; (vi) any action
             required or permitted by this Agreement; (vii) any changes in applicable Laws or accounting rules,
             including GAAP; (viii) the passage of time; or (ix) the public announcement, pendency or completion of
             the Transactions contemplated by this Agreement; provided, however, that once Governmental Approvals



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             to transfer the Licenses to Buyer have been obtained, no event, occurrence, fact, condition or change will
             be or may become a Material Adverse Effect.

                              (yy)    “NOAA” has the meaning set forth in the Recitals.

                              (zz)    “NOAA License” means the authorization that NOAA granted to Theia Group,
             Inc. for remote sensing in space capability.

                              (aaa)   “Parties” has the meaning set forth in the preamble.

                             (bbb) “Person” means an individual, corporation, partnership, joint venture, limited
             liability company, Governmental Authority, unincorporated organization, trust, association, or other entity.

                              (ccc)   “Purchase Price” has the meaning set forth in Section 2.05.

                              (ddd)   “Receiver” has the meaning set forth in the Recitals.

                              (eee)   “Receivership Action” has the meaning set forth in the Recitals.

                             (fff)   “Representative” means, with respect to any Person, any and all directors,
             officers, employees, consultants, financial advisors, counsel, accountants and other agents of such Person.

                              (ggg)   “Sellers” has the meaning set forth in the preamble.

                            (hhh) “Sellers’ Closing Certificate” means a certificate executed by Receiver that, to
             Sellers’ Knowledge, the representations of Sellers set forth in this Agreement are true and correct as of the
             Closing.

                              (iii)   “Sellers’ Deliverables” has the meaning provided in Section 2.10(a).

                            (jjj)    “Sellers’ Knowledge” or any other similar knowledge qualification means the
             actual knowledge of the Receiver.

                              (kkk) “Tangible Personal Property” means all tangible personal property, including,
             without limitation, all equipment, furniture, office equipment listed on attached Schedule 1.01(kkk).

                               (lll)   “Tax” or “Taxes” means any and all U.S. federal, state, local and non-U.S. taxes,
             assessments and other governmental charges, duties (including stamp duty), impositions and liabilities, in
             each case in the nature of a tax, including capital gains tax, taxes based upon or measured by gross receipts,
             income, profits, sales, use and occupation, and value added, ad valorem, transfer, franchise, withholding,
             payroll, recapture, employment, excise and property taxes as well as public imposts, fees and social security
             charges (including health, unemployment, workers’ compensation and pension insurance), together with all
             interest, penalties, and additions imposed by a Governmental Authority with respect to such amounts.

                              (mmm) “TA” has the meaning set forth in the preamble.

                              (nnn)    “TGI” has the meaning set forth in the preamble.

                              (ooo)   “THA” has the meaning set forth in the preamble.

                              (ppp)   “Transaction” has the meaning set forth in the preamble.


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                                                      ARTICLE II
                                              PURCHASE AND SALE OF ASSETS

                      Section 2.01 Purchase and Sale of Acquired Assets. Upon the terms and subject to the
             conditions set forth in this Agreement, on the Closing Date, Sellers shall sell, transfer, assign, convey, and
             deliver to Buyer, and Buyer shall purchase and acquire from Sellers, all of the Acquired Assets, free and
             clear of all Liens, Claims and Indebtedness (other than the Assumed Liabilities) of any nature whatsoever.
             “Acquired Assets” means all of Sellers’ right, title, and interest in and to the following assets:

                              (a)     All Tangible Personal Property;

                              (b)     All Aircraft and spare parts;

                             (c)    All Intellectual Property Assets (including, without limitation, all Intellectual
             Property Assets, Licensed Intellectual Property and Intellectual Property listed on Schedule 1.01(qq)
             attached hereto);

                              (d)     All Assigned Contracts;

                            (e)     All Books and Records; provided, however, that Sellers may maintain copies of all
             of the Books and Records;

                              (f)      Other than Excluded Assets, all Claims, choses in action, causes of action, claims,
             and demands of Sellers (whether known or unknown, matured or unmatured, accrued or contingent),
             including rights to returned or repossessed goods and rights as an unpaid vendor; rights of recovery, rights
             of warranty and indemnity, rights of set-off and rights of recoupment; all security deposits, utility deposits
             and other deposits, all supplies and miscellaneous assets.

                            (g)      Other than Excluded Assets, all Claims, choses in action, causes of action and
             demands of Sellers against third parties relating to the Acquired Assets, whether choate or inchoate, known
             or unknown, contingent or noncontingent.

                            (h)      All insurance benefits, including rights and proceeds, arising from or relating to
             the Acquired Assets prior to the Closing, to the extent not utilized as of the Closing; and

                              (i)     All Deposit Rights.

                     Section 2.02 Assumed Liabilities. At the Closing, Buyer will assume and agree to pay, perform
             and discharge when due the Assumed Liabilities.

                    Section 2.03 Excluded Assets. Notwithstanding any other provision of this Agreement, the
             Acquired Assets shall not include the Excluded Assets.

                     Section 2.04 Excluded Liabilities. Notwithstanding any other provision of this Agreement,
             Buyer does not assume and shall not be deemed by virtue of the execution and delivery of this Agreement
             or any document delivered at the Closing pursuant to this Agreement, or as a result of the consummation
             of the Transactions contemplated by this Agreement, to have assumed, or to have agreed to pay, satisfy,
             discharge or perform, any liability unless it is an Assumed Liability as reflected on Schedule 1.01(l).

                     Section 2.05 Purchase Price. In exchange for the Acquired Assets, Buyer shall provide
             consideration to the Sellers (the “Purchase Price”), as follows:


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                              (a)    waiver and release of the FCS Obligations; plus

                              (b)    waiver and release of the Aithre Obligations; plus

                              (c)    waiver and release of the F&F Obligations; plus

                              (d)    the Cash Payment.

                      Section 2.06   Cash Payment.

                              (a)     On or before March 31, 2023, Buyer shall pay the Deposit to Sellers by wire
             transfer to an account designated by the Receiver.

                             (b)     At Closing, Buyer shall pay the balance of the Cash Payment to Sellers by wire
             transfer of immediately available funds to an account designated by the Receiver.

                      Section 2.07 Purchase Price Allocation. The Parties agree to allocate the Purchase Price (and
             all other capitalizable costs) among the Acquired Assets for all purposes (including financial accounting
             and Tax purposes) in accordance with the allocation set forth in attached Schedule 2.07 to this Agreement
             (the “Allocation Schedule”). After the Closing, the Parties shall make consistent use of the Allocation
             Schedule for all Tax purposes and in all filings, declarations and reports with the IRS in respect thereof,
             including the reports required to be filed under Section 1060 of the Code (26 U.S.C. § 1060). Buyer shall
             prepare and deliver IRS Form 8594 to Sellers within 60 days after the Closing Date to be filed with the IRS.

                      Section 2.08 Closing Date; Effective Time. The closing of the Transactions contemplated by
             this Agreement (the “Closing”) shall take place at the offices of Gallagher Law PC., Suite 1320,
             1600 Market Street, Philadelphia PA 19103 (or at another time or place as the Parties mutually agree in
             their sole discretion) on the earlier of (a) June 30, 2023, (b) five (5) Business Days after Governmental
             Approval to transfer the Licenses to Buyer, or (c) a date and time mutually agreed upon in writing by the
             Parties. The date on and time at which the Closing occurs is referred to in this Agreement as the “Closing
             Date.”

                     Section 2.09 Time is of the Essence. Time is of the essence with respect to payment of the
             Deposit and the occurrence of the Closing Date and the Closing.

                      Section 2.10   Closing Obligations.

                              (a)    At the Closing, Sellers shall deliver to the Buyer (the “Sellers’ Deliverables”):

                                     (i)      Sellers’ Closing Certificate;

                                     (ii)     An executed Bill of Sale, Assignment and Assumption of Contracts and
                      Assumed Liabilities,

                                     (iii)    Executed Intellectual Property Assignments,

                                     (iv)    Copies of Governmental Approvals of the transfer or assignment of the
                      Licenses to Buyer; and

                                     (v)     Any other executed Ancillary Documents as reasonably requested by
                      Buyer in form and substance reasonably acceptable to the Parties.


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                              (b)     At the Closing, Buyer shall deliver to the Sellers (the “Buyer’s Deliverables”):

                                      (i)     The balance of the Purchase Price not previously paid to Sellers;

                                      (ii)    Buyer’s Closing Certificate;

                                       (iii)  Proof of acquisition of the FCS Obligation and an executed waiver and
                      release of the FCS Obligations;

                                       (iv)    Proof of acquisition of the Aithre Obligations and an executed waiver and
                      release of the Aithre Obligations;

                                       (v)    Proof of acquisition of the F&F Obligations and an executed waiver and
                      release of the F&F Obligations;

                                     (vi)     An executed Bill of Sale, Assignment and Assumption of Contracts and
                      Assumed Liabilities,

                                      (vii)   Executed Intellectual Property Agreements,

                                      (viii) A certificate of the Secretary (or equivalent officer) of Buyer certifying as
                      to (A) the resolutions of the board of managers (or equivalent) of Buyer, which authorize the
                      execution, delivery and performance of this Agreement, the Bill of Sale, Assignment and
                      Assumption of Contracts and Assumed Liabilities, and any other Ancillary Document required to
                      be delivered in connection with this Agreement or at the Closing and the consummation of the
                      Transactions contemplated hereby and thereby, (B) the names and signatures of the officers of
                      Buyer authorized to sign this Agreement and the other Ancillary Documents; and

                                       (ix)    Any other executed Ancillary Documents as reasonably requested by
                      Sellers in form and substance reasonably acceptable to the Parties.

                                                       ARTICLE III
                                               REPRESENTATIONS OF SELLERS

                      Sellers hereby represent and warrant severally, and not jointly to Buyer as follows:

                      Section 3.01 Corporate Authorization; District Court Approval. Subject to and conditioned
             upon the District Court’s entry of the Approval Order, Sellers have the requisite power and authority to
             execute and deliver this Agreement and to consummate the Transactions contemplated hereby and to
             perform their obligations hereunder. Subject to and conditioned upon the Approval Order, this Agreement
             constitutes the legal, valid and binding agreement of Sellers, enforceable against Sellers in accordance with
             its terms, except to the extent that enforceability may be limited by applicable bankruptcy, insolvency,
             reorganization, receivership moratorium and similar Laws, now or hereafter in effect, affecting creditors’
             rights generally and by general principles of equity.

                      Section 3.02 Licenses. To Sellers’ Knowledge, the Licenses are valid and in full force and
             effect, and Sellers have not received written notice from any Governmental Authority threatening to revoke,
             or indicating that it is investigating whether to revoke, any such License.

                     Section 3.03 Title to Acquired Assets. To Sellers’ Knowledge, Sellers own good and
             transferable title to all of the Acquired Assets, and subject to and conditioned upon the Approval Order,


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             may transfer the Acquired Assets free and clear of any Liens, Claims and Indebtedness (other than the
             Assumed Liabilities).

                      Section 3.04 Correctness of Representations. To Sellers’ Knowledge, no representation of
             Sellers in this Agreement contains, or on the Closing Date will contain, any untrue statement of material
             fact or omission.

                     Section 3.05     No Survival. No representations of Sellers under this Article III shall survive the
             Closing.

                                                  ARTICLE IV
                                    REPRESENTATIONS AND WARRANTIES OF BUYER

                      Buyer represents and warrants to Sellers as follows:

                     Section 4.01 Organization. Buyer is a limited liability company duly organized, validly existing
             and in good standing under the laws of the State of Delaware and has the requisite power to carry on its
             business as now conducted.

                     Section 4.02 Authority for this Agreement. Buyer has all necessary company power and
             authority to enter into this Agreement and to consummate the Transactions contemplated by this
             Agreement. The execution and delivery of this Agreement by Buyer and the consummation by Buyer of
             the Transactions contemplated hereby have been duly and validly authorized by all necessary company
             action on the part of Buyer and no other company authorization or proceedings on the part of Buyer are
             necessary to authorize this Agreement or to consummate the Transactions contemplated by this Agreement.
             This Agreement has been duly executed and delivered by Buyer and, assuming due authorization, execution
             and delivery of this Agreement by Sellers, constitutes a legal, valid and binding agreement of Buyer,
             enforceable in accordance with its terms against Buyer, except as enforceability may be limited by
             bankruptcy, insolvency, reorganization, moratorium or other similar laws relating to creditors’ rights
             generally and by general principles of equity.

                      Section 4.03 Consents and Approvals. The execution and delivery of this Agreement by Buyer
             and the consummation by Buyer of the Transactions contemplated hereby require no consent, approval,
             authorization or filing with or notice to any Governmental Authority, other than (i) compliance with any
             applicable requirements of the Hart-Scott-Rodino Act and any applicable foreign competition laws;
             (ii) compliance with any applicable requirements of the Securities Act or the Exchange Act and any other
             U.S. state or federal securities laws; (iii) Governmental Approvals for the transfer of the Licenses, (iv) entry
             of the Approval Order, and (v) any actions or filings the absence of which are not reasonably likely to
             prevent, materially delay or materially impair the ability of Buyer to consummate the Transactions
             contemplated by this Agreement.

                       Section 4.04 Non-Contravention. The execution, delivery and performance of this Agreement
             by Buyer and the consummation of the Transactions contemplated by this Agreement do not and will not
             (with or without notice or lapse of time or both) (i) contravene, conflict with, or result in any violation or
             breach of any provision of the limited liability company of Buyer; (ii) assuming compliance with the matters
             referred to in Section 4.03, contravene, conflict with or result in a violation or breach of any Law or Order;
             or (iii) require any consent or approval under, violate, conflict with, result in any breach of any loss of any
             benefit under, or constitute a change of control or default under, or result in termination or give to others
             any right of termination, vesting, amendment, acceleration or cancellation of any contract to which Buyer
             is a party, or by which its properties or assets may be bound or affected, with such exceptions, in the case
             of each of clauses (ii) and (iii) of this Section 4.04, as would not reasonably be expected to prevent,

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             materially delay or materially impair the ability of Buyer to consummate the Transactions contemplated by
             this Agreement.

                     Section 4.05 Sufficiency of Funds; Solvency. Buyer has sufficient cash on hand or other sources
             of immediately available funds to enable it to make payment of the Cash Payment and consummate the
             Transactions contemplated by this Agreement. Immediately after giving effect to the Transactions
             contemplated hereby, Buyer shall be solvent and shall: (a) be able to pay its debts as they become due;
             (b) own property that has a fair saleable value greater than the amounts required to pay its debts (including
             a reasonable estimate of the amount of all Liabilities); and (c) have adequate capital to carry on its business.
             No transfer of property is being made and no obligation is being incurred in connection with the
             Transactions contemplated hereby with the intent to hinder, delay or defraud either present or future
             creditors of Buyer or Sellers. In connection with the Transactions contemplated hereby, Buyer has not
             incurred, nor plans to incur, debts beyond its ability to pay as they become absolute and matured.

                      Section 4.06 Brokers. No broker, finder or investment banker is entitled to any brokerage,
             finder’s or other fee or commission in connection with the Transactions contemplated by this Agreement
             or any other Ancillary Document based upon arrangements made by or on behalf of Buyer. In addition,
             should any Broker Fee be due as a result of any obligation the Seller entered into then the Seller shall be
             solely responsible for any and all such Broker Fee (which may be payable from the Purchase Price).

                      Section 4.07 F&F Obligations. Within ten (10) days of the execution of this Agreement, Buyer
             shall provide Sellers with copies of all note purchase agreements between the obligees and the Buyer with
             respect to the F&F Obligations.

                      Section 4.08 Correctness of Representations. To Buyer’s Knowledge, no representation of
             Buyer in this Agreement contains, or on the Closing Date will contain, any untrue statement of material
             fact or omission.

                                                             ARTICLE V
                                                            COVENANTS

                      Buyer and Sellers represent and warrant to each other, as follows:

                      Section 5.01    Access to Information, Retention of Records; Copies.

                              (a)       From and after the date of this Agreement, Sellers shall (i) give to Buyer access to
             the Sellers’ Books and Records as Buyer may reasonably request, (ii) furnish to Buyer such financial, tax
             and operating data and other information as Buyer may reasonably request (including the work papers of
             any certified public accountant of the Sellers upon receipt of any required consent from such certified public
             accountant), and (iii) reasonably cooperate with Buyer in Buyer’s preparation for Closing. Buyer hereby
             agrees that it shall treat any such information in accordance with any Confidentiality Agreement by and
             between Sellers and Buyer.

                              (b)     From and after the Closing, Buyer shall (i) give to Sellers access to the purchased
             Books and Records, (ii) furnish to Buyer such financial, tax and operating data and other information as
             Buyer may reasonably request from such Books and Records, and (iii) reasonably cooperate with Sellers in
             providing documents and information to Sellers as requested by the Receiver (or other representative of
             Sellers) in the discharge of the Receiver’s (or such representative’s) obligation and duties, including in
             responding to third-party discovery requests.




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                              (c)      After the Closing Date, Buyer shall retain for a period consistent with Buyer’s
             record-retention policies and practices those Books and Records of Sellers delivered to Buyer. Sellers shall
             have the right to retain copies of any and all Books and Records for all legitimate purposes of Sellers,
             including without limitation, preparation of financial statements and Tax returns. Buyer also shall provide
             reasonable access thereto, during normal business hours and on at least three days’ prior written notice, to
             enable them to prepare financial statements or Tax returns or deal with Tax audits. Prior to the destruction
             of any Books and Records of Sellers delivered to Buyer, Buyer shall notify Sellers of such proposed
             destruction and shall offer Sellers the option, exercisable within 30 days after Sellers’ receipt of such notice,
             to retake possession and ownership of any such Books and Records.

                      Section 5.02     Reasonable Best Efforts; Governmental Approvals.

                              (a)      Each of Sellers and Buyer shall use their respective reasonable best efforts to take,
             or cause to be taken, all actions and to do, or cause to be done, and to assist and cooperate with the other
             Parties in doing, all things necessary, proper or advisable under Law to consummate Transactions
             contemplated by this Agreement, including (i) the obtaining of all necessary actions or non-actions, waivers,
             consents and Governmental Approvals for the transfer of the Licenses to Buyer and otherwise as necessary
             or appropriate to consummate the Transactions contemplated hereby and to fully carry out the purposes of
             this Agreement.

                               (b)     Nothing in this Section 5.02 shall be interpreted to prohibit, restrict, limit or
             restrain Buyer from engaging in litigation, including litigation to prevent the imposition by any
             Governmental Authority of any undertaking, condition, consent decree, hold separate order, divestiture,
             operational restriction or limitation or other action by any Governmental Authority that, if effected, would
             reasonably be expected to restrict, limit, restrain or impair Buyer’s ability to own, operate, retain or change
             all or a material portion of the Acquired Assets (including the Licenses), operations, rights, product lines,
             businesses or interest therein of Buyer.

                              (c)     After Buyer has timely paid the Deposit, notwithstanding anything in this Section
             5.02 to the contrary, with respect to the matters covered in this Section 5.02, it is agreed that Buyer, after
             consulting with Sellers, shall make all decisions, lead all discussions, negotiations and other proceedings,
             and coordinate all activities with respect to any requests that may be made by, or any actions, consents,
             undertakings, approvals, or waivers that may be sought by, any Governmental Authority, including
             determining the manner in which to contest or otherwise respond, by litigation or otherwise, to objections
             to, or proceedings challenging, the consummation of Transactions contemplated by this Agreement. Sellers
             agree to take such reasonable and lawful actions to secure Governmental Approvals to transfer the Licenses
             to Buyer. Sellers shall not participate in any meeting with any Governmental Authority in respect of the
             transfer of the Licenses unless it consults with Buyer in advance and, to the extent permitted by such
             Governmental Authority, gives Buyer the opportunity to attend and participate thereat.

                              (d)      Press Releases. Buyer and Sellers shall consult with each other before issuing any
             press release or making any other public statement with respect to this Agreement or the Transactions
             contemplated hereby and shall not issue any such press release or make any such other public statement
             without the written consent of the other Party, which shall not be unreasonably withheld, conditioned, or
             delated, except as such release or statement may be required by Law or any listing agreement with or rule
             of any national securities exchange, in which case the Party required to make the release or statement shall
             consult with the other Party about, and allow the other Party reasonable time (to the extent permitted by the
             circumstances) to comment on, such release or statement in advance of such issuance, and the Party will
             consider such comments in good faith. For the avoidance of doubt, nothing herein shall prevent the Sellers
             from filing a motion and a copy of this Agreement (and all related documents) with the District Court to
             seek approval of this Agreement.

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                    Section 5.03 Notification of Certain Matters. Except as prohibited by Law, each of Sellers and
             Buyer shall promptly notify the other Parties in writing of:

                            (a)     any inaccuracy of any representation or warranty contained in this Agreement that
             could reasonably be expected to cause the conditions set forth herein not to be satisfied;

                             (b)     the failure of such Party to perform in any material respect any obligation to be
             performed by it under this Agreement;

                             (c)    any notice or other communication from any third party (other than the FCC and
             NOAA) alleging that such third party’s notice to or consent of such person is required in connection with
             the Transactions contemplated by this Agreement;

                             (d)     to the extent permitted by Law, any material notice or other material
             communication from any Governmental Authority in connection with the Transactions contemplated by
             this Agreement, and a copy of any such notice or communication shall be furnished to Buyer;

                            (e)      any filing or notice made by a Party with any Governmental Authority in
             connection with the transfer of the Licenses, and a copy of any such filing;

                              (f)       to the extent permitted by Law, any actions, suits, claims, investigations or
             proceedings commenced or, to Sellers’ Knowledge, threatened against, relating to or involving or otherwise
             affecting Sellers that relate to the consummation of the Transactions contemplated by this Agreement; and

                              (g)     the occurrence of any matters or events that individually or in the aggregate would
             be reasonably likely to result in any condition to the Transactions contemplated hereby and set forth herein
             not being satisfied;

             provided, however, that no such notification shall operate as a waiver or otherwise affect any representation,
             warranty, covenant, agreement or other provision in this Agreement, or the obligations of Sellers or Buyer
             or the conditions to the obligations of Sellers or Buyer under this Agreement.

                      Section 5.04    Payment of Taxes Resulting from Sale of Assets by Sellers.

                              (a)     Subject to Section 5.04(b) and Section 5.05, Sellers shall pay (from the Purchase
             Prince) in a timely manner all income taxes owed by Sellers resulting from or payable in connection with
             the sale of the Acquired Assets pursuant to this Agreement.

                              (b)     Under no circumstances, however, shall Sellers be obligated to pay income taxes
             of any of their shareholders (except to the extent such shareholder is one of the Sellers).

                             (c)      Nothing herein shall create any rights, as a third-party beneficiary or otherwise, in
             favor of any person or entity other than Buyer or Sellers.

                      Section 5.05 Payment of Transfer Taxes. All transfer, documentary, sales, use, stamp,
             registration, value added, and other such Taxes and fees (including any penalties and interest) incurred in
             connection with this Agreement and the other Ancillary Documents (including any real property transfer
             Tax and any other similar Tax) shall be borne and paid by Buyer when due. Buyer shall, at its own expense,
             timely file any Tax return or other document with respect to such Taxes or fees (and Seller shall cooperate
             with respect thereto as necessary).

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                     Section 5.06 Survival. The covenants of Buyer and Sellers in Sections 5.01(b)-(c) and 5.04 shall
             survive the Closing. No other covenants in this Article V shall survive the Closing.

                                                        ARTICLE VI
                                                    CLOSING CONDITIONS

                     Section 6.01 Conditions Precedent to Obligations of Buyer. The obligations of the Buyer under
             this Agreement to proceed with the Closing shall be subject to the satisfaction by the Sellers on or prior to
             the Closing Date of each of the following conditions precedent:

                            (a)      Accuracy of Representations. The representations of Sellers set forth in this
             Agreement shall be true and correct on and as of the Closing Date with the same force and effect as though
             made on and as of that date.

                             (b)     Performance and Compliance. Sellers shall have performed or complied in all
             material respects with each covenant and agreement to be performed or complied with by it under this
             Agreement on or prior to the Closing Date.

                             (c)      Consents and Approvals. Sellers shall have obtained (with Buyer’s best efforts to
             assist) or made each filing required to obtain Governmental Approvals of the transfer of the Licenses to
             Buyer.

                              (d)      Litigation. There shall be no pending action by any Governmental Authority
             (i) seeking to restrain, prohibit, or invalidate any of the Transactions contemplated by this Agreement or
             (ii) seeking monetary relief against Buyer by reason of the consummation of this Agreement.

                             (e)      Material Adverse Change. No event shall have occurred and existing as of the
             Closing that constitutes a Material Adverse Effect.

                              (f)     Sellers’ Deliverables. Sellers shall have delivered the Sellers’ Deliverables at the
             Closing.

                              (g)     District Court Approval. The District Court shall have entered the Approval
             Order.

                     Section 6.02 Conditions Precedent to Obligations of Sellers. The obligations of Sellers under
             this Agreement to proceed with the Closing shall be subject to the satisfaction by Buyer on or prior to the
             Closing Date of each of the following conditions precedent:

                              (a)      Accuracy of Representations and Warranties. The representations and warranties
             of Buyer set forth in this Agreement shall be true and correct on and as of the Closing Date with the same
             force and effect as though made on and as of that date.

                             (b)     Performance and Compliance. Buyer shall have performed or complied in all
             material respects with each covenant and agreement to be performed or complied with by it under this
             Agreement on or prior to the Closing Date.

                             (c)      Consents and Approvals. Buyer shall have obtained (with Sellers’ best efforts to
             assist) or made each filing required to obtain Governmental Approvals of the transfer of the Licenses to
             Buyer.



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                             (d)     Litigation. There shall be no pending or threatened action by any Governmental
             Authority (i) seeking to restrain, prohibit, or invalidate any of the Transactions contemplated by this
             Agreement or (ii) seeking monetary relief against Sellers by reason of the consummation of this Agreement.

                              (e)     Buyer’s Deliverables. Buyer shall have delivered the Buyer’s Deliverables at the
             Closing.

                              (f)     District Court Approval. The District Court shall have entered the Approval
             Order.

                                                           ARTICLE VII
                                                         MISCELLANEOUS

                     Section 7.01 Entire Agreement; Assignment; Amendments. This Agreement (including the
             exhibits and schedules to this Agreement) constitute the entire agreement and supersede all oral agreements
             and understandings and all written agreements prior to the date hereof between or on behalf of the Parties
             with respect to the subject matter hereof. This Agreement shall not be assigned by any Party by operation
             of law or otherwise without the prior written consent of the other Parties hereto. This Agreement may be
             amended only by a writing signed by each of the Parties, and any amendment shall be effective only to the
             extent specifically set forth in that writing.

                      Section 7.02 Severability; Expenses; Further Assurances. If any term, condition or other
             provision of this Agreement is determined by a court of competent jurisdiction to be invalid, illegal or
             incapable of being enforced by any rule of Law or public policy, all other terms, conditions and provisions
             of this Agreement shall nevertheless remain in full force and effect so long as the economic or legal
             substance of the Transactions contemplated by this Agreement is not affected in any manner materially
             adverse to any Party. Upon such determination that any term or other provision is invalid, illegal or
             incapable of being enforced, the Parties hereto shall negotiate in good faith to modify this Agreement so as
             to effect the original intent of the Parties as closely as possible in a mutually acceptable manner in order
             that the Transactions contemplated by this Agreement be consummated as originally contemplated to the
             fullest extent possible. Except as otherwise specifically provided in this Agreement, each Party shall be
             responsible for the expenses it may incur in connection with the negotiation, preparation, execution,
             delivery, performance, and enforcement of this Agreement. The Parties shall from time to time do and
             perform any additional acts and execute and deliver any additional documents and instruments that may be
             required by Law or reasonably requested by any Party to establish, maintain, or protect its rights and
             remedies under, or to effect the intent and purpose of, this Agreement.

                      Section 7.03    Enforcement of the Agreement; Jurisdiction; No Jury Trial.

                              (a)      The Parties agree that irreparable damage would occur in the event that any of the
             provisions of this Agreement were not performed in accordance with their specific terms or were otherwise
             breached. Accordingly, the Parties agree that the non-breaching Party or Parties shall be entitled to an
             injunction or injunctions to prevent breaches or threatened breaches of this Agreement and to enforce
             specifically the terms and provisions of this Agreement exclusively in the District Court, or in the event
             (but only in the event) that such court does not have subject matter jurisdiction over such action or
             proceeding, in the Chancery Court of the State of Delaware or in the event (but only in the event) that such
             court does not have subject matter jurisdiction over such action or proceeding, in the United States District
             Court for the District of Delaware or another court sitting in the state of Delaware, this being in addition to
             any other remedy to which they are entitled at law or in equity. In addition, each of the Parties to this
             Agreement irrevocably agrees that any legal action or proceeding with respect to this Agreement and the
             rights and obligations arising under this Agreement, or for recognition and enforcement of any judgment in


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             respect of this Agreement and the rights and obligations arising under this Agreement brought by another
             Party to this Agreement or its successors or assigns, shall be brought and determined exclusively in
             accordance with this section. Each of the Parties to this Agreement hereby irrevocably submits with regard
             to any such action or proceeding for itself and in respect of its property, generally and unconditionally, to
             the personal jurisdiction of the aforesaid courts and agrees that it will not bring any action relating to this
             Agreement or any of the transactions contemplated by this Agreement in any court other than the aforesaid
             courts and in accordance with this section. Each of the parties to this Agreement hereby irrevocably waives,
             and agrees not to assert, by way of motion, as a defense, counterclaim or otherwise, in any action or
             proceeding with respect to this Agreement,(a) any claim that it is not personally subject to the jurisdiction
             of the above-named courts for any reason other than the failure to comply with this section; (b) any claim
             that it or its property is exempt or immune from jurisdiction of any such court or from any legal process
             commenced in such courts (whether through service of notice, attachment prior to judgment, attachment in
             aid of execution of judgment, execution of judgment or otherwise); and (c) to the fullest extent permitted
             by the Law, any claim that (i) the suit, action or proceeding in such court is brought in an inconvenient
             forum; (ii) the venue of such suit, action or proceeding is improper; or (iii) this Agreement, or the subject
             matter of this Agreement, may not be enforced in or by such courts. Each of Sellers and Buyer hereby
             agrees that service of any process, summons, notice, or document by U.S. registered mail to the respective
             addresses set forth in the notice provision of this Agreement shall be effective service of process for any
             proceeding arising out of, relating to or in connection with this Agreement or the Transactions contemplated
             hereby.

                         (b)  EACH PARTY TO THIS AGREEMENT HEREBY IRREVOCABLY AND
             UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY RIGHT
             SUCH PARTY MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY SUIT, ACTION OR
             OTHER PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF, UNDER, RELATING TO
             OR IN CONNECTION WITH THIS AGREEMENT, OR THE TRANSACTIONS CONTEMPLATED BY
             THIS AGREEMENT. EACH PARTY HERETO CERTIFIES THAT (I) NO REPRESENTATIVE,
             AGENT OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
             OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF ANY ACTION, SUIT
             OR PROCEEDING, SEEK TO ENFORCE THE FOREGOING WAIVER, (II) EACH PARTY
             UNDERSTANDS AND HAS CONSIDERED THE IMPLICATIONS OF THIS WAIVER, (III) EACH
             PARTY MAKES THIS WAIVER VOLUNTARILY AND (IV) EACH PARTY HAS BEEN INDUCED
             TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS
             AND CERTIFICATIONS IN THIS SECTION.

                     Section 7.04 Notices. All notices or other communications required or permitted to be given
             hereunder shall be in writing and shall be delivered by hand or sent by registered or certified mail, postage
             prepaid, or by reputable overnight courier service, or by email with acknowledgment of receipt of complete
             transmission further confirmed by a copy sent by reputable overnight courier service. Any notice or other
             communication so given shall be validly given hereunder upon receipt if delivered by hand, upon receipt if
             sent by registered or certified mail or by overnight courier service, and upon confirmation of successful
             transmission if sent by email subject to receipt of the confirming copy sent by overnight courier service:

                      If to Buyer, to:

                              Rising Sky LLC
                              Mitchell Adams
                              1001 4th Avenue, Suite 4330, Seattle, WA 98154
                              Email: Mitchell.adams@risingsky.org
                                      mitch@enligncapitalpartners.com

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                                           amitchelladams@protonmail.com

                      with a copy (which will not constitute notice to Buyer) to:

                               Gallagher Law PC
                               1600 Market Street
                               Suite 1320
                               Philadelphia, PA 19103
                               Email: James@gallagher-law.com

                      If to Sellers, to:

                               Michael Fuqua Receiver
                               B. Riley Advisory Services
                               3445 Peachtree Road
                               Suite 1225
                               Atlanta, GA 30326
                               Email: mfuqua@brileyfin.com

                      with a copy (which will not constitute notice to Sellers) to:

                               Kurt F. Gwynne, Esquire
                               Reed Smith LLP
                               1201 N. Market Street
                               Suite 1500
                               Wilmington, DE 19801
                               Email: kfgwynne@reedsmith.com

             or to such other address as the Person to whom notice is given may have previously furnished to the others
             in writing in the manner set forth above. Rejection or other refusal to accept or the inability for delivery to
             be effected because of changed address of which no notice was given shall be deemed to be receipt of the
             notice as of the date of such rejection, refusal, or inability to deliver.

                     Section 7.05 Governing Law. This Agreement, and any dispute arising out of, relating to, or in
             connection with this Agreement, shall be governed by, and construed and enforced in accordance with, the
             Laws of the State of New York, without giving effect to any choice or conflict of Law provision or rule
             (whether of the State of New York or of any other jurisdiction) that would cause the application of the Laws
             of any jurisdiction other than the State of New York.

                      Section 7.06 Descriptive Headings. The descriptive headings herein are inserted for
             convenience of reference only and are not intended to be part of or to affect the meaning or interpretation
             of this Agreement.

                      Section 7.07 No Third-Party Beneficiaries. This Agreement shall be binding upon and inure
             solely to the benefit of each Party hereto, and nothing in this Agreement, express or implied, is intended,
             or shall be construed, to confer upon any other Person any rights or remedies of any nature whatsoever
             under or by reason of this Agreement.

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                     Section 7.08 Execution; Counterparts. This Agreement may be executed in counterparts, each
             of which shall be deemed to be an original, but all of which, taken together, shall constitute one and the
             same agreement. Counterparts may be delivered via facsimile, electronic mail (including pdf or any
             electronic signature complying with the U.S. federal ESIGN Act of 2000, e.g., www.docusign.com) or other
             transmission method and any counterpart so delivered shall be deemed to have been duly and validly
             delivered and be valid and effective for all purposes. Similarly, at the Closing, signature pages of
             counterparts may be exchanged by facsimile or email of scanned images thereof, in each case subject to
             appropriate customary confirmations in respect thereof by the signatory for the Party providing a facsimile
             or scanned image and that Party’s closing counsel.

                      Section 7.09    Termination; Deposit.

                              (a)     This Agreement may be terminated at any time prior to the Closing:

                                      (i)      by mutual agreement of Buyer and Sellers;

                                       (ii)    by Buyer (A) if there has been a material misrepresentation by Sellers
                      under this Agreement or a material breach by the Sellers of any of its covenants set forth in this
                      Agreement or (B) if any of the conditions specified in Section 6.01 shall not have been fulfilled
                      within the time required and shall not have been waived by Buyer;

                                       (iii)   by Sellers (A) if there has been a misrepresentation by Buyer under this
                      Agreement or a material breach by Buyer of any of its warranties or covenants set forth in this
                      Agreement or (B) if any of the conditions specified in Section 6.02 shall not have been fulfilled
                      within the time required and shall not have been waived by Sellers;

                                       (iv)    by the Receiver, for and on behalf of the Sellers, if the Receiver determines
                      in good faith after consultation with counsel that their continued performance or closing under this
                      Agreement or any other Transaction Document would be inconsistent with his fiduciary or other
                      duties under applicable law;

                                      (v)      by Sellers if they choose to enter into an Alternative Transaction; or

                                      (vi)    by Sellers if the Closing shall not have occurred on the Closing Date as
                      provided in Section 2.08.

                              (b)     Deposit; Liquidated Damages.

                                       (i)     If the Closing does not occur on the Closing Date (and Buyer does not
                      obtain specific performance and thereafter consummate this Agreement) or this Agreement is
                      terminated, in each case due to a breach by Sellers in the performance of a Sellers’ obligation under
                      this Agreement, Buyer shall be entitled to the return of the Deposit as its sole remedy.

                                        (ii)    If the Closing does not occur on the Closing Date (and Sellers do not obtain
                      specific performance and thereafter consummate this Agreement) or this Agreement is terminated,
                      in each case for any reason other than a breach by Sellers in the performance of a Sellers’ obligation
                      under this Agreement, Sellers shall retain the Deposit as liquidated damages, and all Parties shall
                      be relieved of and released from any further liability hereunder except for those obligations
                      specifically designated to survive termination or expiration of this Agreement. Sellers and Buyer
                      agree that the Deposit is a fair and reasonable amount to be retained by Sellers as liquidated
                      damages in light of the decline in value of the Acquired Assets during the negotiation and failed


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                      consummation of this Agreement and the costs incurred by Sellers, and Sellers retention of the
                      Deposit shall not constitute a penalty or a forfeiture.

                     Section 7.10 Alternative Transactions. From the date hereof and until the Closing, Sellers are
             permitted to, and to cause their Representatives and Affiliates to, initiate contact with, solicit, or encourage
             submission of any inquiries, proposals, or offers by any Person (in addition to Buyer and its Affiliates and
             Representatives) in connection with an Alternative Transaction. Without limiting the foregoing, Sellers
             also may identify and enter into agreements respecting a “back-up” offer relating to an Alternative
             Transaction to become effective in the event Buyer does not perform in accordance with the terms of this
             Agreement.

                      Section 7.11 Interpretation. The words “hereof,” “herein,” “hereby,” “herewith” and words of
             similar import shall, unless otherwise stated, be construed to refer to this Agreement as a whole and not to
             any particular provision of this Agreement, and article, section, paragraph, exhibit and schedule references
             are to the articles, sections, paragraphs, exhibits and schedules of this Agreement unless otherwise
             specified. Whenever the words “include,” “includes” or “including” are used in this Agreement they shall
             be deemed to be followed by the words “without limitation.” The words describing the singular number
             shall include the plural and vice versa, words denoting either gender shall include both genders and words
             denoting natural Persons shall include all Persons and vice versa. The phrases “the date of this Agreement,”
             “the date hereof,” “of even date herewith” and terms of similar import, shall be deemed to refer to the date
             set forth in the preamble to this Agreement. Any reference in this Agreement to a date or time shall be
             deemed to be such date or time in New York City, unless otherwise specified. The Parties have participated
             jointly in the negotiation and drafting of this Agreement. In the event an ambiguity or question of intent or
             interpretation arises, this Agreement shall be construed as if drafted jointly by the Parties and no
             presumption or burden of proof shall arise favoring or disfavoring any Person by virtue of the authorship
             of any provision of this Agreement.



                                                  [SIGNATURE PAGE FOLLOWS]




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                                      SCHEDULE 1.01(e)

                                         “AIRCRAFT”

1.    Douglas DC3C-S1C3G, Serial Number 13342, Registration N131PR

2.    1996 Jetstream Limited Series 4100, Model J4101, Serial Number 41084, Registration
      N42AX.
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                                SCHEDULE 1.01(k)

                             “ASSIGNED CONTRACTS”

N/A.
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                                        SCHEDULE 1.01(l)

                                   “ASSUMED LIABILITIES”

1.    Any and all Taxes for which Buyer is liable pursuant to Section 5.05.
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                                        SCHEDULE 1.01(ll)

                                      “F&F OBLIGATIONS”

      Attached is a list of anonymized purchasers that entered into the Secured Note Purchase
Agreements and/or Secured Convertible Promissory Notes referenced in the definition “F&F Obligations”.
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Theia Receivership                                                Schedule 1.01(ll)
Friends and Family Notes Purchased by Rising Sky

   Investor     # of      Cumulative
                                              Amount Due
   Number      Notes       Principal
      43         2      $    18,000,000   $     36,000,000
     167         1            4,056,875         18,255,938
      73         5            2,050,000         12,550,000
     151         6            7,000,000         12,500,000
     140         1            2,000,000          4,000,000
      32         2            1,677,154          3,920,352
     132         7            1,064,000          3,552,500
      71         3            1,615,000          3,405,000
      87         4            1,360,000          3,320,000
      64         1            1,000,000          3,000,000
     125         2              600,000          3,000,000
      35         1            1,000,000          2,973,213
     178         1              350,000          2,925,000
     162         1              350,000          2,625,000
      81         1            1,000,000          2,500,000
     155         1            1,200,000          2,400,000
     124         3            1,450,000          2,330,500
     114         4              550,000          2,300,000
      31         1              650,000          2,275,000
      72         1            1,000,000          2,250,000
      14         4              410,000          2,030,000
      33         2              600,000          2,000,000
      57         2              400,000          1,900,000
     164         1              300,000          1,620,000
      86         4              775,000          1,550,000
     104         1            1,000,000          1,500,000
     113         1            1,000,000          1,500,000
      75         1              500,000          1,500,000
     129         1              200,000          1,400,000
      22         2              300,000          1,200,000
     138         1              300,000          1,200,000
      82         1              150,000          1,200,000
     103         1              296,100          1,036,350
      79         1              500,000          1,000,000
      93         3              400,000          1,000,000
     105         1              150,000            900,000
      54         2              100,000            850,000
      55         2              100,000            800,000
     159         1              100,000            800,000
     173         3              400,000            750,000
      46         1              150,000            750,000
      40         1              125,000            750,000
      67         4              200,000            700,000
      98         2              250,000            650,000
      53         1              100,000            650,000
     141         3              120,000            640,000
       3         1              300,000            600,000
       5         2              300,000            600,000
      37         1              300,000            600,000
      9a         2              300,000            600,000


B. RIley Advisory Services                                                   Page 1 of 3
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Theia Receivership                                                Schedule 1.01(ll)
Friends and Family Notes Purchased by Rising Sky

   Investor     # of         Cumulative
                                             Amount Due
   Number      Notes          Principal
      29         1                 200,000        600,000
     144         2                 275,000        562,500
      96         2                 100,000        550,000
       6         2                 300,000        500,000
      56         1                 100,000        500,000
     142         2                 200,000        480,000
     175         3                 100,750        477,250
      61         2                 200,000        450,000
     106         1                 150,000        450,000
     170         3                 150,000        450,000
     112         1                 200,000        440,000
      58         4                 115,000        435,000
       4         1                 200,000        400,000
      26         1                 200,000        400,000
     150         1                 170,000        340,000
      11         2                 100,000        316,500
      97         2                 100,000        300,000
      9b         1                 100,000        300,000
     101         1                  50,000        300,000
      27         2                 125,000        250,000
     139         3                 125,000        250,000
     118         1                  50,000        250,000
      10         2                  35,000        240,000
     179         7                  95,000        235,000
     128         1                 150,000        225,000
     177         1                  50,000        225,000
     180         1                  50,000        225,000
     143         1                 105,000        210,000
     100         1                 100,000        200,000
     121         1                 100,000        200,000
     153         1                 100,000        200,000
     161         1                 100,000        200,000
     168         1                 100,000        200,000
     154         2                  75,000        200,000
      17         1                  50,000        200,000
      18         1                  50,000        200,000
      45         1                  50,000        200,000
      95         1                  25,000        200,000
      42         1                  96,300        192,600
      23         1                  50,000        150,000
      84         1                  50,000        150,000
     119         1                  50,000        150,000
      78         1                  30,000        150,000
      62         1                  50,000        125,000
      41         2                  50,000        121,500
      24         1                  50,000        110,000
      20         1                  50,000        100,000
      34         1                  50,000        100,000
      77         1                  50,000        100,000
      94         1                  50,000        100,000


B. RIley Advisory Services                                                   Page 2 of 3
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Theia Receivership                                                Schedule 1.01(ll)
Friends and Family Notes Purchased by Rising Sky

   Investor     # of         Cumulative
                                                 Amount Due
   Number      Notes          Principal
     102         1                  50,000            100,000
     145         1                  50,000            100,000
     181         1                  50,000            100,000
     184         1                  50,000            100,000
      49         1                  25,000            100,000
      89         1                  25,000            100,000
      91         1                  25,000            100,000
     160         1                  25,000            100,000
       7         1                  20,000            100,000
      12         1                  30,000             90,000
      13         1                  30,000             90,000
      15         1                  30,000             90,000
      30         1                  40,000             80,000
     157         1                  25,000             80,000
     158         1                  25,000             80,000
      99         1                  50,000             75,000
     185         1                  50,000             75,000
       8         1                  25,000             75,000
      48         1                  25,000             75,000
      51         1                  25,000             75,000
      52         1                  25,000             75,000
     131         1                  25,000             75,000
     165         2                  35,000             70,000
     182         1                  35,000             70,000
      36         1                  50,000             66,500
      39         1                  25,000             55,000
     134         1                  85,000             50,000
      38         1                  25,000             50,000
      66         1                  25,000             50,000
      88         1                  25,000             50,000
      90         1                  25,000             50,000
     171         1                  25,000             50,000
     176         1                  15,000             45,000
     137         1                  20,000             44,000
     120         1                  20,000             40,000
      50         1                  10,000             40,000
     172         1                  15,000             30,000
      47         1                  10,000             30,000
     149         1                  10,000             20,000
     109         1                   5,000             15,000
     110         1                   5,000             15,000
     111         1                   5,000             15,000
      80         1                   5,000             10,000
      85         1                   5,000             10,000
     127         1                   2,000              2,660
                223     $      64,478,179    $    175,082,363




B. RIley Advisory Services                                                   Page 3 of 3
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                                   SCHEDULE 1.01(rr)

                       “INTELLECTUAL PROPERTY ASSETS”

 All patents, licenses, and trademarks owned by Sellers as set forth on the attached.
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                      LOW EARTH ORBIT SATELLITE CONSTELLATION SYSTEM FOR COMMUNICATIONS
                               WITH RE-USE OF GEOSTATIONARY SATELLITE SPECTRUM


                  Abstract - Summary                                 Country       Application No.                Status
                                                             US                15/585818             Issued - US 10,348,396

                                                             ISRAEL            262694                Granted - IL 262694 B
A system for re-using GEO-allocated communications
                                                             CANADA            3022513               Pending
spectrum in a LEO satellite constellation based
communications system, such that the LEO satellite
                                                             THAILAND          1801006767            Pending
originated signals will not appear in the beam-width of
GEO-pointed earth station antennas, and satellites
                                                             MEXICO            MX/a/2018/013489      Pending
configured to provide communications by manipulating
their respective beam transmissions, which may include a
                                                             RUSSIAN FED.      2018140570            Granted - RU2730169
forward beam and rearward beam whose angles are
controlled to project the beam and reduce or eliminate the
                                                             BRAZIL            11 2018 072637-0      Granted - BR 11 2018 072637
potential for interference with GEO-pointed earth station
antennas. The system and LEO satellites may provide
                                                             JAPAN             2018-558317           Granted - JP6896982
substantially 100% coverage of an earth station located
anywhere on the surface of the earth, without
                                                             CHINA             201780041978.4        Granted - CN109417827B
coordination with the GEO satellites or GEO-pointing
ground stations. The system also may provide earth
                                                             INDIA             IN201837045587        Pending
stations that are configured to enhance the isolation
between the GEO communications system and the LEO
                                                             SINGAPORE         11201809489W          Pending
communications system using the same spectrum to
reduce the potential for GEO-pointed earth station
                                                             AUSTRALIA         2017260347            Granted - AU 2017260347
antennas from picking up the LEO communication.
                                                             AUSTRALIA         2022200377            (Divisional) Pending

                                                             KOREA             10-2018-7035041       Granted - KR102165365
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                       HONG KONG           19128790.3          Granted - HK 19128790.3

                       BELGIUM             17793256.3          Granted (and Validated)

                       GERMANY             17793256.3          Granted (and Validated)

                       FRANCE              17793256.3          Granted (and Validated)

                       LUXEMBOURG          17793256.3          Granted (and Validated)

                       NETHERLANDS         17793256.3          Granted (and Validated)

                       SWITZERLAND         17793256.3          Granted (and Validated)

                       UNITED KINGDOM      17793256.3          Granted (and Validated)

                       SWEDEN              17793256.3          Granted (and Validated)

                       ITALY               17793256.3          Granted (and Validated)

                       AUSTRIA             17793256.3          Granted (and Validated)

                       LIECHTENSTEIN       17793256.3          Granted (and Validated)

                       GREECE              17793256.3          Granted (and Validated)

                       SPAIN               17793256.3          Granted (and Validated)

                       DENMARK             17793256.3          Granted (and Validated)

                       MONACO              17793256.3          Granted (and Validated)

                       PORTUGAL            17793256.3          Granted (and Validated)

                       IRELAND             17793256.3          Granted (and Validated)




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                       FINLAND             17793256.3          Granted (and Validated)

                       CYPRUS              17793256.3          Granted (and Validated)

                       TURKEY              17793256.3          Granted (and Validated)

                       BULGARIA            17793256.3          Granted (and Validated)

                       CZECH REPUBLIC      17793256.3          Granted (and Validated)

                       ESTONIA             17793256.3          Granted (and Validated)

                       SLOVAKIA            17793256.3          Granted (and Validated)

                       SLOVENIA            17793256.3          Granted (and Validated)

                       HUNGARY             17793256.3          Granted (and Validated)

                       ROMANIA             17793256.3          Granted (and Validated)

                       POLAND              17793256.3          Granted (and Validated)

                       ICELAND             17793256.3          Granted (and Validated)

                       LITHUANIA           17793256.3          Granted (and Validated)

                       LATVIA              17793256.3          Granted (and Validated)

                       MALTA               17793256.3          Granted (and Validated)

                       CROATIA             17793256.3          Granted (and Validated)

                       NORWAY              17793256.3          Granted (and Validated)

                       NORTH MACEDONIA     17793256.3          Granted (and Validated)




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                                                     SAN MARINO         17793256.3            Granted (and Validated)

                                                     ALBANIA            17793256.3            Granted (and Validated)

                                                     SERBIA             17793256.3            Granted (and Validated)




                       SYSTEM FOR TRANSMISSION AND DIGITIZATION OF MACHINE TELEMETRY


               Abstract - Summary                            Country        Application No.                Status
                                                    US                  15/610057             Issued - 11,328,162
                                                    US                   17/739587            Pending (Continuation)
                                                    ISRAEL              263244                Pending-Allowed
                                                    ISRAEL              (263244)              Pending (Divisional)
                                                        CANADA          3025362               Pending
                                                        THAILAND        1801007305            Pending
A system for digitizing gauges, lights and other human-
readable machine gauges and functions and status        MEXICO          MX/a/2018/014739      Pending
without interfering with the operation of the machine   RUSSIAN FED.    2018143512            Granted RU 2772837 C2
or requiring reworking or interfering with the existing BRAZIL          112018074740-8        Pending
machine wiring, signaling, electrical or mechanical
                                                        JAPAN           2018-562335           Patented - JP 7116448 B2
elements or operating modes, or adding new digitizing
equipment to the machine.                               JAPAN           2022-116033           Pending - (Divisional)
                                                        CHINA           201780044671.X        Granted -CN 109479085 B
                                                        CHINA           202210644262.6        Pending - (Divisional)
                                                        INDIA           201837045587          Pending
                                                        SINGAPORE       11201810480R          Granted - 11201810480R
                                                        AUSTRALIA       2017273616            Patented - AU 2017273616 B2
                                                        AUSTRALIA       2022206794            Pending (Divisional)



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                       KOREA               10-2018-7038060    Pending
                       HONG KONG            19129017.0        Pending
                       BELGIUM             17807419.1         Pending
                       GERMANY             17807419.1         Pending
                       FRANCE              17807419.1         Pending
                       LUXEMBOURG          17807419.1         Pending
                       NETHERLANDS         17807419.1         Pending
                       SWITZERLAND         17807419.1         Pending
                       UNITED KINGDOM      17807419.1         Pending
                       SWEDEN              17807419.1         Pending
                       ITALY               17807419.1         Pending
                       AUSTRIA             17807419.1         Pending
                       LIECHTENSTEIN       17807419.1         Pending
                       GREECE              17807419.1         Pending
                       SPAIN               17807419.1         Pending
                       DENMARK             17807419.1         Pending
                       MONACO              17807419.1         Pending
                       PORTUGAL            17807419.1         Pending
                       IRELAND             17807419.1         Pending
                       FINLAND             17807419.1         Pending
                       CYPRUS              17807419.1         Pending
                       TURKEY              17807419.1         Pending
                       BULGARIA            17807419.1         Pending
                       CZECH REPUBLIC      17807419.1         Pending
                       ESTONIA             17807419.1         Pending
                       SLOVAKIA            17807419.1         Pending
                       SLOVENIA            17807419.1         Pending
                       HUNGARY             17807419.1         Pending



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                                                           ROMANIA           17807419.1            Pending
                                                           POLAND            17807419.1            Pending
                                                           ICELAND           17807419.1            Pending
                                                           LITHUANIA         17807419.1            Pending
                                                           LATVIA            17807419.1            Pending
                                                           MALTA             17807419.1            Pending
                                                           CROATIA           17807419.1            Pending
                                                           NORWAY            17807419.1            Pending
                                                           NORTH MACEDONIA   17807419.1            Pending
                                                           SAN MARINO        17807419.1            Pending
                                                           ALBANIA           17807419.1            Pending
                                                           SERBIA            17807419.1            Pending




                                   SYSTEM FOR RECORDING AND REAL-TIME TRANSMISSION OF
                                     IN-FLIGHT OF AIRCRAFT COCKPIT TO GROUND SERVICES

                 Abstract - Summary                             Country         Application No.               Status
A system, method and device for monitoring an             US                 16/608167             Pending - Allowed
aircraft, including activity taking place within an       US                 17/941,176            Pending - Divisional
aircraft and conditions of the aircraft, where one or     ISRAEL             270042                Pending
more a percepting component such as a camera,
microphone, or other sensor, is situated at a location    CANADA             3060108               Pending
within the aircraft from which information may be         THAILAND           1901006727            Pending
ascertained. Preferably the component is disguised        MEXICO             MX/a/2019/012692      Pending
within the surfaces or instrumentation of the aircraft.
                                                          RUSSIAN FED.       2019137121            Pending - Allowed
The percepting component is connected with a
communication mechanism to transmit                       BRAZIL             BR 11 2019 021927-7   Pending
communications from the system resident within the        JAPAN              2019-557582           Granted - JP 7116449 B2
aircraft to a grounds portion of the system through a     JAPAN              2022-141854           Pending - Divisional



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communication link, such as a satellite                    CHINA             201880027333.X   Pending
communication link. The system may process the             INDIA             201937046971     Pending
information corresponding with the aircraft condition
or activity and generate alerts when a trigger is met or   SINGAPORE         11201909526U     Pending
exceeded. The system components on the aircraft            AUSTRALIA         2018260589       Pending
may monitor conditions and activity without using or       HONG KONG         62020015084      Pending
interfering with the aircraft instrumentation, the
                                                           KOREA             KR20200002964A   Pending
system using only the aircraft power.
                                                           BELGIUM           18791594.7       Pending
                                                           GERMANY           18791594.7       Pending
                                                           FRANCE            18791594.7       Pending
                                                           LUXEMBOURG        18791594.7       Pending
                                                           NETHERLANDS       18791594.7       Pending
                                                           SWITZERLAND       18791594.7       Pending
                                                           UNITED KINGDOM    18791594.7       Pending
                                                           SWEDEN            18791594.7       Pending
                                                           ITALY             18791594.7       Pending
                                                           AUSTRIA           18791594.7       Pending
                                                           LIECHTENSTEIN     18791594.7       Pending
                                                           GREECE            18791594.7       Pending
                                                           SPAIN             18791594.7       Pending
                                                           DENMARK           18791594.7       Pending
                                                           MONACO            18791594.7       Pending
                                                           PORTUGAL          18791594.7       Pending
                                                           IRELAND           18791594.7       Pending
                                                           FINLAND           18791594.7       Pending
                                                           CYPRUS            18791594.7       Pending
                                                           TURKEY            18791594.7       Pending
                                                           BULGARIA          18791594.7       Pending
                                                           CZECH REPUBLIC    18791594.7       Pending



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                                                      ESTONIA           18791594.7           Pending
                                                      SLOVAKIA          18791594.7           Pending
                                                      SLOVENIA          18791594.7           Pending
                                                      HUNGARY           18791594.7           Pending
                                                      ROMANIA           18791594.7           Pending
                                                      POLAND            18791594.7           Pending
                                                      ICELAND           18791594.7           Pending
                                                      LITHUANIA         18791594.7           Pending
                                                      LATVIA            18791594.7           Pending
                                                      MALTA             18791594.7           Pending
                                                      CROATIA           18791594.7           Pending
                                                      NORWAY            18791594.7           Pending
                                                      NORTH MACEDONIA   18791594.7           Pending
                                                      SAN MARINO        18791594.7           Pending
                                                      ALBANIA           18791594.7           Pending
                                                      SERBIA            18791594.7           Pending




    SYSTEM FOR ESTIMATING WIRELESS NETWORK LOAD AND PROACTIVELY ADJUSTING APPLICATIONS TO
MINIMIZE WIRELESS NETWORK OVERLOAD PROBABILITY AND MAXIMIZE SUCCESSFUL APPLICATION OPERATION

                  Abstract - Summary                       Country         Application No.              Status
Systems, methods and devices for managing
communications across a wireless network to
maximize the operations for transmission and
utilization of the network or portions thereof in
                                                      US                15/884670            Issued - US 10,412,630
conjunction with wireless devices and applications
that involve communication of information over a
wireless network by evaluating the existing load on
the wireless network and modifying or reducing the


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forthcoming demand of a mobile device using the
network. A management server on the wireless
network utilizes information about a wireless device
communication to generate an estimate of the
remaining unused or available upload capacity of that
portion of the wireless network serving the particular
wireless mobile device. The wireless mobile device
applications that utilize network communications
may be regulated to adjust their operations to
function within the reduced network capacity.




                  RADAR SYSTEM TO TRACK LOW FLYING UNMANNED AERIAL VEHICLES AND OBJECTS



                Abstract - Summary                                 Country        Application No.              Status

A radar system for tracking UAVs and other low            US                   15/608612            Issued - 11,294,048
flying objects utilizing wireless networking
                                                          US                   17/713117            Pending (Continuation)
equipment is provided. The system is implemented
as a distributed low altitude radar system where
                                                          ISRAEL               263313               Pending - Allowed
transmitting antennas are coupled with the wireless
networking equipment to radiate signals in a skyward
                                                          ISRAEL               295502               Pending - Divisional
direction. A receiving antenna or array receives
signals radiated from the transmitting antenna, and in
                                                          CANADA               3025355              Pending
particular, signals or echoes reflected from the object
in the skyward detection region. One or more
                                                          THAILAND             1801007306           Pending
processing components is electronically coupled with
the wireless networking equipment and receiving
                                                          MEXICO               20180014569          Pending
antenna to receive and manipulate signal information
to provide recognition of and track low flying objects
                                                          RUSSIAN FED.         2018143511           Granted - 2737058C2
and their movement within the coverage region. The




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system may provide detection of objects throughout a BRAZIL         11 2018 074384-4   Pending
plurality of regions by networking regional nodes,
and aggregating the information to detect and track  JAPAN          2018-562036        Granted - JP 7036744
UAVs and other low flying objects as they move
within the detection regions.                        CHINA          20178044315        Granted - CN 109478375

                                                  CHINA             202211006541.6     Pending - Divisional

                                                  INDIA             201837049014       Pending

                                                  SINGAPORE         11201810483Q       Pending - Allowed

                                                  SINGAPORE         10202251240X       Pending - Divisional

                                                  AUSTRALIA         2017270593         Pending

                                                  KOREA             20187036739        Granted - KR102244863B1

                                                  HONG KONG         19128899.2         Pending

                                                  BELGIUM           17 803 755.2       Pending

                                                  GERMANY           17 803 755.2       Pending

                                                  FRANCE            17 803 755.2       Pending

                                                  LUXEMBOURG        17 803 755.2       Pending

                                                  NETHERLANDS       17 803 755.2       Pending

                                                  SWITZERLAND       17 803 755.2       Pending

                                                  UNITED KINGDOM    17 803 755.2       Pending

                                                  SWEDEN            17 803 755.2       Pending




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                     ITALY                 17 803 755.2       Pending

                     AUSTRIA               17 803 755.2       Pending

                     LIECHTENSTEIN         17 803 755.2       Pending

                     GREECE                17 803 755.2       Pending

                     SPAIN                 17 803 755.2       Pending

                     DENMARK               17 803 755.2       Pending

                     MONACO                17 803 755.2       Pending

                     PORTUGAL              17 803 755.2       Pending

                     IRELAND               17 803 755.2       Pending

                     FINLAND               17 803 755.2       Pending

                     CYPRUS                17 803 755.2       Pending

                     TURKEY                17 803 755.2       Pending

                     BULGARIA              17 803 755.2       Pending

                     CZECH REPUBLIC        17 803 755.2       Pending

                     ESTONIA               17 803 755.2       Pending

                     SLOVAKIA              17 803 755.2       Pending

                     SLOVENIA              17 803 755.2       Pending

                     HUNGARY               17 803 755.2       Pending




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                                 ROMANIA               17 803 755.2         Pending

                                 POLAND                17 803 755.2         Pending

                                 ICELAND               17 803 755.2         Pending

                                 LITHUANIA             17 803 755.2         Pending

                                 LATVIA                17 803 755.2         Pending

                                 MALTA                 17 803 755.2         Pending

                                 CROATIA               17 803 755.2         Pending

                                 NORWAY                17 803 755.2         Pending

                                 NORTH MACEDONIA       17 803 755.2         Pending

                                 SAN MARINO            17 803 755.2         Pending

                                 ALBANIA               17 803 755.2         Pending

                                 SERBIA                17 803 755.2         Pending




SYSTEM FOR COMMUNICATIONS WITH UNMANNED AERIAL VEHICLES USING TWO FREQUENCY BANDS



     Abstract - Summary                   Country         Application No.              Status

                                 US                    16/094297            Issued - US 11137753




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                                                      RUSSIAN FED.         2018137880     Granted - RU 2733905C2

                                                      JAPAN                2019-505349    Granted - JP 7121372 B2

                                                      JAPAN                2022-120005    Pending - Divisional

                                                      CHINA                20178034674    Pending

                                                      INDIA                201837043271   Pending

A system for RF communications with UAVs which        HONG KONG            19128717.6     Pending
includes two distinct frequency bands, one for
optional use to support datagrams between a UAV       BELGIUM              20170786815    Pending
payload and a computer or controller and a second
RF communications band dedicated to command and       GERMANY              20170786815    Pending
control and navigation datagrams transception
between the UAV and a host controller or control      FRANCE               20170786815    Pending
network. Embodiments of the system are
implemented to cover, with regard to the second RF    LUXEMBOURG           20170786815    Pending
communications sub-system, a large region suitable
for enabling communications with a number of          NETHERLANDS          20170786815    Pending
UAVs by creating a skyward projected cell system,
and dividing its frequency range into sub-channels,   SWITZERLAND          20170786815    Pending
where sub-bands into which the frequency range may
be divided may be used in a re-use scheme.            UNITED KINGDOM       20170786815    Pending

                                                      SWEDEN               20170786815    Pending

                                                      ITALY                20170786815    Pending

                                                      AUSTRIA              20170786815    Pending

                                                      LIECHTENSTEIN        20170786815    Pending

                                                      GREECE               20170786815    Pending




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                     SPAIN                 20170786815        Pending

                     DENMARK               20170786815        Pending

                     MONACO                20170786815        Pending

                     PORTUGAL              20170786815        Pending

                     IRELAND               20170786815        Pending

                     FINLAND               20170786815        Pending

                     CYPRUS                20170786815        Pending

                     TURKEY                20170786815        Pending

                     BULGARIA              20170786815        Pending

                     CZECH REPUBLIC        20170786815        Pending

                     ESTONIA               20170786815        Pending

                     SLOVAKIA              20170786815        Pending

                     SLOVENIA              20170786815        Pending

                     HUNGARY               20170786815        Pending

                     ROMANIA               20170786815        Pending

                     POLAND                20170786815        Pending

                     ICELAND               20170786815        Pending

                     LITHUANIA             20170786815        Pending




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                                                        LATVIA              20170786815          Pending

                                                        MALTA               20170786815          Pending

                                                        CROATIA             20170786815          Pending

                                                        NORWAY              20170786815          Pending

                                                        NORTH MACEDONIA     20170786815          Pending

                                                        SAN MARINO          20170786815          Pending

                                                        ALBANIA             20170786815          Pending

                                                        SERBIA              20170786815          Pending




                       SYSTEM FOR VERIFICATION OF INTEGRITY OF UNMANNED AERIAL VEHICLES



                Abstract - Summary                               Country       Application No.             Status

                                                        US                  16/093897            Pending
A system for verifying the integrity of unmanned
aerial vehicles (UAVs), which is configured to reside
                                                        RUSSIAN FED.        2018137854           Granted - RU2721185 C2
in a UAV and interface with both the
communications system of the UAV and the UAV's
                                                        JAPAN               2018-554366          Pending
software and hardware resources. The UAV may be
configured to execute firmware that obtains a serial
                                                        CHINA               201780034800         Pending
number or unique identifier of hardware and software
on the UAV, creates a hash code combination of
                                                        INDIA               201837042699         Pending
such unique identifiers, encrypts the hash code,




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transmits the encrypted hash code over a wired or        HONG KONG           19128459.5     Pending
wireless communications system to another computer
which maintains a table of the certified codes of each   BELGIUM             17 783 379.5   Pending
UAV which results in the computer authenticating
the specific UAV (or not). The system also may           GERMANY             17 783 379.5   Pending
determine whether a specific UAV's hardware or
software has been changed since the UAV was last         FRANCE              17 783 379.5   Pending
certified.
                                                         LUXEMBOURG          17 783 379.5   Pending

                                                         NETHERLANDS         17 783 379.5   Pending

                                                         SWITZERLAND         17 783 379.5   Pending

                                                         UNITED KINGDOM      17 783 379.5   Pending

                                                         SWEDEN              17 783 379.5   Pending

                                                         ITALY               17 783 379.5   Pending

                                                         AUSTRIA             17 783 379.5   Pending

                                                         LIECHTENSTEIN       17 783 379.5   Pending

                                                         GREECE              17 783 379.5   Pending

                                                         SPAIN               17 783 379.5   Pending

                                                         DENMARK             17 783 379.5   Pending

                                                         MONACO              17 783 379.5   Pending

                                                         PORTUGAL            17 783 379.5   Pending

                                                         IRELAND             17 783 379.5   Pending




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                     FINLAND               17 783 379.5       Pending

                     CYPRUS                17 783 379.5       Pending

                     TURKEY                17 783 379.5       Pending

                     BULGARIA              17 783 379.5       Pending

                     CZECH REPUBLIC        17 783 379.5       Pending

                     ESTONIA               17 783 379.5       Pending

                     SLOVAKIA              17 783 379.5       Pending

                     SLOVENIA              17 783 379.5       Pending

                     HUNGARY               17 783 379.5       Pending

                     ROMANIA               17 783 379.5       Pending

                     POLAND                17 783 379.5       Pending

                     ICELAND               17 783 379.5       Pending

                     LITHUANIA             17 783 379.5       Pending

                     LATVIA                17 783 379.5       Pending

                     MALTA                 17 783 379.5       Pending

                     CROATIA               17 783 379.5       Pending

                     NORWAY                17 783 379.5       Pending

                     NORTH MACEDONIA       17 783 379.5       Pending




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                                                        SAN MARINO            17 783 379.5         Pending

                                                        ALBANIA               17 783 379.5         Pending

                                                        SERBIA                17 783 379.5         Pending




SYSTEM FOR EMPLOYING CELLULAR TELEPHONE NETWORKS TO OPERATE, CONTROL AND COMMUNICATE WITH
                   UNMANNDED AERIAL VEHICLES AND REMOTE PILOTED VEHICLES


                Abstract - Summary                               Country         Application No.              Status

                                                        US                    15/906540            Issued - US 10,897,304

                                                        US                    17/151,350           Pending - Allowed
A cellular type communications system for cellular
telephone networks to operate, control and              RUSSIAN FED.          2018108416           Granted - RU2729607
communicate with unmanned aerial vehicles and
remote piloted vehicles, the system including a first   JAPAN                 2018-512208          Granted - 6794434
near-ground region to communicate with devices
near the ground, as well as one or more layers          JAPAN                 2020-188364          Granted - 7012804
covering roughly the same areal extent as the ground
region but which are separated from each other and      CHINA                 201680050801.6       Granted - CN107925880B
also elevated above ground substantially, and within
which an aerial vehicle may rely on communications      INDIA                 201837012107         Pending
using the cell-based communications network.
                                                        EUROPE                16843096.5           Pending

                                                        BELGIUM               16843096.5           Pending




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                     GERMANY               16843096.5         Pending

                     FRANCE                16843096.5         Pending

                     LUXEMBOURG            16843096.5         Pending

                     NETHERLANDS           16843096.5         Pending

                     SWITZERLAND           16843096.5         Pending

                     UNITED KINGDOM        16843096.5         Pending

                     SWEDEN                16843096.5         Pending

                     ITALY                 16843096.5         Pending

                     AUSTRIA               16843096.5         Pending

                     LIECHTENSTEIN         16843096.5         Pending

                     GREECE                16843096.5         Pending

                     SPAIN                 16843096.5         Pending

                     DENMARK               16843096.5         Pending

                     MONACO                16843096.5         Pending

                     PORTUGAL              16843096.5         Pending

                     IRELAND               16843096.5         Pending

                     FINLAND               16843096.5         Pending

                     CYPRUS                16843096.5         Pending




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                     TURKEY                16843096.5         Pending

                     BULGARIA              16843096.5         Pending

                     CZECH REPUBLIC        16843096.5         Pending

                     ESTONIA               16843096.5         Pending

                     SLOVAKIA              16843096.5         Pending

                     SLOVENIA              16843096.5         Pending

                     HUNGARY               16843096.5         Pending

                     ROMANIA               16843096.5         Pending

                     POLAND                16843096.5         Pending

                     ICELAND               16843096.5         Pending

                     LITHUANIA             16843096.5         Pending

                     LATVIA                16843096.5         Pending

                     MALTA                 16843096.5         Pending

                     CROATIA               16843096.5         Pending

                     NORWAY                16843096.5         Pending

                     NORTH MACEDONIA       16843096.5         Pending

                     SAN MARINO            16843096.5         Pending

                     ALBANIA               16843096.5         Pending




                                - xx -
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                     SERBIA                16843096.5         Pending




                               - xxi -
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                                                                            EXECUTION COPY


                                     SCHEDULE 1.01(kkk)

                            “TANGIBLE PERSONAL PROPERTY”

          OFFICE FURNITURE, OFFICE EQUIPMENT AND ELECTRONIC DEVICES

1.    Willard Office Building, 1455 Pennsylvania Avenue, Suite 600, Washington, D.C.

          Office Chairs
           o Aeron (1)
           o Freedom (9)
           o Leather Conference Room Chair (26)
           o Office Chair (no wheels) (9)
          APC Uninterruptible Power Supplies (In Box) Model SRT-3000 (2)

2.    Willard Office Building, 1455 Pennsylvania Avenue, Suite 800, Washington, D.C.

          Office Chairs
           o Aeron (21)
           o Freedom (22)
           o Leather Conference Room Chair (21)
           o Office Chair (no wheels) (17)
           o Hightop Café Chair (15)
           o Lowtop Café Chair (4)

          TrippLite Uninterruptible Power Supplies Model BP24V15RT2U (2)
          Crown CDi-1000 audio amplifier (1)
          Dell Inspiron 3670 Desktop Computer (1)
          TP Link Smart Switch Model TL-SG1016PE (1)
          APC UPS – XS-1500 (1)
          Crestron 3 Series Switch (1)
          London Soundweb BLU-50 Network Audio Device (1)
          Aruba Wireless Extender (1)
          Vaddio One Link Bridge – model 998-9595 (1)
          DLink Router Model VGS-1210 (1)

3.    Oso Grande, New Mexico Storage

          Server (5)

4.    B. Riley

          Lenovo Server (1)
          Hard Drive (4)
          NUC desktop mini computer (2)
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         Apple i-Pad mini (3)
         Apple iPhone (1)

5.    Riverside, California Hangar [ADDRESS]

         See Separate Schedule.
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                                          SCHEDULE 2.07

                                   ALLOCATION SCHEDULE

To be agreed upon by Buyer and Sellers.
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                                                                        EXECUTION COPY


                                    EXHIBIT A

     Bill of Sale, Assignment and Assumption of Contracts and Assumed Liabilities

                                     (Attached)
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                       BILL OF SALE, ASSIGNMENT AND ASSUMPTION OF
                           CONTRACTS AND ASSUMED LIABILITIES

        THIS BILL OF SALE, ASSIGNMENT AND ASSUMPTION OF CONTRACTS AND
ASSUMED LIABILITIES (this “Agreement”) is made, executed and delivered as of [●], 2023, by and
among by and among Theia Group, Inc. d/b/a “Thorian Group” and/or “Cypherian”, a Delaware corporation
(“TGI”), Theia Aviation, LLC, a Delaware limited liability company (“TA”), and Theia Holdings A, Inc.
d/b/a “Thorian Holdings”, a Delaware corporation (“THA,” and together with TGI and TA, the “Sellers”)
and Rising Sky LLC, a Delaware limited liability company (together with its designees, “Buyer” and
together with the Sellers, the “Parties”).
                                            WITNESSETH:

         WHEREAS, pursuant to that certain Asset Purchase Agreement, dated as of
October [●], 2022 (as amended, restated, or otherwise modified from time to time, the “APA”), by and
among Buyer and Sellers, Sellers have agreed to sell to Buyer, and Buyer has agreed to purchase from
Sellers, all of Sellers’ rights, titles, and interests in, to and under the Acquired Assets (including, without
limitation, the Assigned Contracts) and, in connection therewith, Buyer has agreed to assume the
Assumed Liabilities; and

       WHEREAS, the execution and delivery of this Agreement is contemplated by Section 2.10(a)(ii)
and Section 2.10(b)(vii) of the APA; and

        NOW, THEREFORE, in consideration of the foregoing premises and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the Parties hereby agree as
follows:

        1.       Defined Terms; Interpretation. Capitalized terms used but not otherwise defined herein
shall have the meanings given to such terms in the APA. This Agreement shall be interpreted in accordance
with the rules of construction set forth in Section 7.10 of the APA. This Agreement is delivered pursuant
to and is in all respects subject to the terms and conditions of the APA, including the representations,
warranties, covenants, agreements, and other terms and conditions set forth therein, are incorporated herein
by reference.

         2.      Sale, Assignment, and Assumption. Subject to the terms and conditions of the APA,
Sellers hereby sell, assign, transfer, convey, and deliver to Buyer, all of Sellers’ rights, titles, and interests
in, to and under the Acquired Assets free and clear of all Liens, Claims, and Indebtedness (other than
Assumed Liabilities). Subject to the terms and conditions of the APA, Buyer hereby accepts such sale,
assignment, transfer, conveyance, and delivery of Sellers’ rights, titles, and interests in, to, and under the
Acquired Assets, and, in connection therewith, hereby assumes and agrees to perform and discharge as and
when due the Assumed Liabilities. The Parties agree that, notwithstanding anything to the contrary herein,
Sellers do not sell, assign, transfer, convey, or deliver to Buyer any Excluded Assets and Buyer does not
assume or agree to perform or discharge as and when due any Excluded Liabilities.

         3.     As is, where is. Buyer acknowledges, agrees, warrants and represents that (a) Sellers are
selling, and Buyer is purchasing the Acquired Assets on an “AS-IS, WHERE-IS, WITH ALL FAULTS,
AND WITHOUT RECOURSE TO SELLER” basis based solely on Buyer’s own investigation of the
Acquired Assets and (b) neither Sellers nor any of their respective Representatives has made any warranties,
representations or guarantees, express, implied or statutory, written or oral, respecting the Acquired Assets
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or any part of the Acquired Assets, except as set forth in this Agreement, the Ancillary Documents or the
APA. Buyer agrees, warrants, and represents that, except for the representations and warranties set forth
in this Agreement, the Ancillary Documents or the APA, Buyer has relied, and shall rely, solely upon its
own investigation of all such matters, and that Buyer assumes all risks with respect thereto. THE BUYER
ACKNOWLEDGES AND AGREES THAT THE SELLERS ARE CONVEYING THE ACQUIRED
ASSETS WITHOUT REPRESENTATION OR WARRANTY, EITHER EXPRESS OR IMPLIED
AT COMMON LAW, BY STATUTE, OR OTHERWISE (ALL OF WHICH THE SELLERS
HEREBY DISCLAIM), RELATING TO (I) TITLE, SUITABILITY OR ADEQUACY, (II) THE
MERCHANTABILITY, DESIGN, OR QUALITY OF THE ACQUIRED ASSETS, (III) THE
FITNESS OR QUALITY OF THE ACQUIRED ASSETS, (IV) COMPLIANCE WITH
APPLICABLE LAWS, (V) ANY ESTIMATES OF THE VALUE OF THE ACQUIRED ASSETS
OR FUTURE REVENUES GENERATED BY THE ACQUIRED ASSETS, (VI) CONTINUED
FINANCIAL VIABILITY, INCLUDING PRESENT OR FUTURE VALUE OR ANTICIPATED
INCOME OR PROFITS, (VII) THE CONTENT, CHARACTER OR NATURE OF ANY CHARTS
OR STATEMENTS PREPARED BY THIRD PARTIES, (VIII) ANY OTHER MATERIALS OR
INFORMATION THAT MAY HAVE BEEN MADE AVAILABLE OR COMMUNICATED TO
THE BUYER OR ITS AFFILIATES, OR ITS OR THEIR EMPLOYEES, AGENTS,
CONSULTANTS, REPRESENTATIVES OR ADVISORS IN CONNECTION WITH THE
TRANSACTION OR ANY DISCUSSION OR PRESENTATION RELATING THERETO, OR (IX)
ANY OTHER MATTER WHATSOEVER (INCLUDING THE ACCURACY OR
COMPLETENESS OF ANY INFORMATION PROVIDED TO THE BUYER), IT BEING
EXPRESSLY UNDERSTOOD AND AGREED BY THE PARTIES THAT THE BUYER WILL BE
DEEMED TO BE OBTAINING THE ACQUIRED ASSETS IN THEIR PRESENT STATUS,
CONDITION AND STATE OF REPAIR, “AS IS” AND WITH ALL FAULTS AND THAT THE
BUYER HAS MADE OR CAUSED TO BE MADE SUCH INSPECTIONS AS THE BUYER DEEMS
APPROPRIATE.

        4.       Terms of the APA. This Agreement is subject to the terms and conditions of the APA, and
nothing contained in this Agreement shall be deemed to modify, limit, expand, supersede, or amend any of
the terms, conditions, limitations, obligations, agreements, covenants, or warranties of any Party contained
in the APA. In the event of any conflict or inconsistency between the terms of the APA and this Agreement,
the terms of the APA shall govern and control.

        5.      Entire Agreement. This Agreement, the Ancillary Documents, and the APA contain the
entire agreement between the Parties hereto with respect to the subject matter of this Agreement and
supersede any and all prior or contemporaneous agreements and discussions, whether written or oral,
express or implied. The preamble and recitals appearing at the beginning of this Agreement are
incorporated into its terms and conditions in full by this reference thereto.

         6.      Indemnification. Buyer hereby accepts the assignment of the Acquired Assets and agrees
to assume and discharge, in accordance with the terms thereof, the Assumed Liabilities, whether arising
prior to or after the date hereof. Buyer agrees to indemnify and hold harmless Sellers, their respective
partners, shareholders, members, managers, owners, and affiliates and their respective officers, managers,
directors, employees, agents, and representatives from any cost, liability, damage, or expense (including
attorneys’ fees) arising out of or relating to Buyer’s failure to perform any of the foregoing obligations.

        7.       No Third-Party Beneficiaries. This Agreement shall be binding upon and inure solely to
the benefit of each Party hereto, and nothing herein, express or implied, is intended, or shall be construed,
to confer upon any other Person any rights or remedies of any nature whatsoever under or by reason of this
Agreement.


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        8.      Further Assurances. The Sellers and the Buyer agrees to use their respective commercially
reasonable efforts to take or cause to be taken such further action, to execute, deliver, and file or cause to
be executed, delivered, and filed such further documents and instruments, as may be necessary or as may
be reasonably requested in order to effectuate fully the purposes, terms, and conditions of this Agreement;
provided, however, that Buyer, its successors, and assigns shall prepare, at Buyer’s expense, all necessary
documentation.

        9.       Governing Law; Jurisdiction; WAIVER OF JURY TRIAL.

                 (a)     All issues and questions concerning the construction, validity, interpretation and
enforceability of this Agreement and all claims or disputes arising hereunder, related hereto, or in
connection herewith, whether purporting to sound in contract or tort, or at law or in equity, shall be governed
by, and construed in accordance with, the Laws of the State of New York, without giving effect to any
choice or conflict of Law provision or rule (whether of the State of New York or of any other jurisdiction)
that would cause the application of the Laws of any jurisdiction other than the State of New York.

                  (b)      The Parties agree that irreparable damage would occur in the event that any of the
provisions of this Agreement were not performed in accordance with their specific terms or were otherwise
breached. Accordingly, the Parties agree that the non-breaching Party or Parties shall be entitled to an
injunction or injunctions to prevent breaches or threatened breaches of this Agreement and to enforce
specifically the terms and provisions of this Agreement exclusively in the United States District Court for
the Southern District of New York, or in the event (but only in the event) that such court does not have
subject matter jurisdiction over such action or proceeding, in the Chancery Court of the State of Delaware
or in the event (but only in the event) that such court does not have subject matter jurisdiction over such
action or proceeding, in the United States District Court for the District of Delaware or another court sitting
in the state of Delaware, this being in addition to any other remedy to which they are entitled at law or in
equity. In addition, each of the Parties to this Agreement irrevocably agrees that any legal action or
proceeding with respect to this Agreement and the rights and obligations arising under this Agreement, or
for recognition and enforcement of any judgment in respect of this Agreement and the rights and obligations
arising under this Agreement brought by another Party to this Agreement or its successors or assigns, shall
be brought and determined exclusively in accordance with this section. Each of the Parties to this
Agreement hereby irrevocably submits with regard to any such action or proceeding for itself and in respect
of its property, generally and unconditionally, to the personal jurisdiction of the aforesaid courts and agrees
that it will not bring any action relating to this Agreement or any of the Transactions contemplated by this
Agreement in any court other than the aforesaid courts and in accordance with this section. Each of the
Parties to this Agreement hereby irrevocably waives, and agrees not to assert, by way of motion, as a
defense, counterclaim or otherwise, in any action or proceeding with respect to this Agreement, (a) any
claim that it is not personally subject to the jurisdiction of the above-named courts for any reason other than
the failure to comply with this section; (b) any claim that it or its property is exempt or immune from
jurisdiction of any such court or from any legal process commenced in such courts (whether through service
of notice, attachment prior to judgment, attachment in aid of execution of judgment, execution of judgment
or otherwise); and (c) to the fullest extent permitted by the Law, any claim that (i) the suit, action or
proceeding in such court is brought in an inconvenient forum; (ii) the venue of such suit, action or
proceeding is improper; or (iii) this Agreement, or the subject matter of this Agreement, may not be
enforced in or by such courts. Each of Sellers and Buyer hereby agrees that service of any process,
summons, notice, or document by U.S. registered mail to the respective addresses set forth in the notice
provision of this Agreement shall be effective service of process for any proceeding arising out of, relating
to or in connection with this Agreement or the Transactions contemplated hereby.

          (c)   EACH PARTY TO THIS AGREEMENT HEREBY IRREVOCABLY AND
UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY RIGHT

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SUCH PARTY MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY SUIT, ACTION OR
OTHER PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF, UNDER, RELATING TO
OR IN CONNECTION WITH THIS AGREEMENT, OR THE TRANSACTIONS CONTEMPLATED BY
THIS AGREEMENT. EACH PARTY HERETO CERTIFIES THAT (I) NO REPRESENTATIVE,
AGENT OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF ANY ACTION, SUIT
OR PROCEEDING, SEEK TO ENFORCE THE FOREGOING WAIVER, (II) EACH PARTY
UNDERSTANDS AND HAS CONSIDERED THE IMPLICATIONS OF THIS WAIVER, (III) EACH
PARTY MAKES THIS WAIVER VOLUNTARILY AND (IV) EACH PARTY HAS BEEN INDUCED
TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS
AND CERTIFICATIONS IN THIS SECTION.

        10.     Binding Effect; Amendment. This Agreement shall be binding upon and inure to the
benefit of the Parties named herein and their respective successors and permitted assigns. Neither this
Agreement, nor any term or provision hereof, may be amended, modified, superseded, or cancelled except
by an instrument in writing signed by all Parties hereto.

         11.    Counterparts. This Agreement may be executed in two or more counterparts, each of which
shall be deemed an original, but all of which together shall constitute one and the same instrument.
Counterparts may be delivered via electronic mail (including pdf or any electronic signature complying
with the U.S. federal ESIGN Act of 2000) or other transmission method and any counterpart so delivered
shall be deemed to have been duly and validly delivered and be valid and effective for all purposes.

        12.     Successors and Assigns. This Agreement and the various rights and obligations arising
hereunder shall inure to the benefit of and be binding upon Buyer and Sellers, and their respective
successors and permitted assigns.

        13.     Assignment. Neither this Agreement nor any of the rights, interests, or obligations
hereunder may be assigned in whole or in part (whether by operation of law or otherwise), without the prior
written consent of Sellers.

          14.     Severability. If any part or provision of this Agreement is determined by a court of
competent jurisdiction to be void, invalid, or unenforceable, the remainder of this Agreement shall remain
in full force and effect.



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         IN WITNESS WHEREOF, this Bill of Sale, Assignment and Assumption Contracts and Assumed
Liabilities has been duly executed and delivered by a duly authorized representative of each of Sellers and
Buyer as of the date first above written.


        BUYER

        RISING SKY LLC


        By: _______________________________
        Name: Mitchell Adams
        Title:

SELLER                                               SELLER

THEIA GROUP, INC.                                            THEIA HOLDINGS A, INC.


By: _______________________________                          By:______________________________
Michael Fuqua                                                Michael Fuqua
Title: Receiver                                              Title: Receiver

SELLER

        THEIA AVIATION, LLC


       By:
_______________________________
       Michael Fuqua
       Title: Receiver




      [SIGNATURE PAGE TO BILL OF SALE, ASSIGNMENT AND ASSUMPTION OF CONTRACTS]
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                               EXHIBIT B

                     Intellectual Property Assignments

                                (Attached)
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    ASSIGNMENT AGREEMENT FOR PATENTS AND PATENT APPLICATIONS

        This Assignment Agreement is effective this ___ day of __________, 2023, by and
between THEIA GROUP, INCORPORATED, a Delaware corporation, having an address of
3445 Peachtree Road NE, Suite 1225, Atlanta, GA 30326 (“ASSIGNOR”) and RISING SKY,
LLC, a Delaware limited liability company, having an address of 1001 4th Avenue, Suite 4330,
Seattle, WA 98154 (“ASSIGNEE”).

        WHEREAS, ASSIGNOR is the owner of inventions relating to technologies (hereinafter
the “Inventions”) for which U.S. Patent Applications and U.S. Patents are pending and/or have
issued, respectively, which are listed on EXHIBIT A hereto, and for which international and
foreign (non-US) patent applications and patents are pending and/or have issued, respectively,
which are listed on EXHIBIT B hereto (the patent applications and patents listed in EXHIBIT A
and EXHIBIT B hereinafter being collectively referred to as “the Patent IP”);

        WHEREAS, ASSIGNOR desires to assign 100% undivided interest in said Inventions
and the Patent IP, said applications disclosing any of the Inventions and any Letters Patent in the
US and/or foreign patents, registrations, certificates or other designation of rights, which may be
issued thereon, and whereas said ASSIGNEE is desirous of acquiring the entire right, title and
interest in the same;

       NOW, this indenture witnesseth, that for the sum of One Dollar ($1.00), and other good
and valuable consideration, the receipt whereof is hereby acknowledged;

        ASSIGNOR hereby assigns, sells, and transfers 100% undivided interest in said Patent
IP, said Inventions, said applications, including any divisions, continuations, and continuations-
in-part, reexaminations, extensions and substitutions thereof, including in the United States and
in any country foreign thereto, and in and to any and all Letters Patent of the United States, and
countries foreign thereto, including foreign patents, registrations, certificates or other
designations of rights, Convention rights, and other benefits accruing or to accrue to it with
respect to the filing of applications for patents or securing of patents in the United States and
countries foreign thereto, unto said ASSIGNEE, the foregoing including the patents and patent
applications listed on EXHIBIT A and EXHIBIT B;

         And ASSIGNOR hereby authorizes and requests the Commissioner of Patents and
Trademarks to issue said United States Letters Patent to said Assignee, as assignee of the whole
right, title, and interest thereto;

         And ASSIGNOR hereby authorizes and requests the governing authority of any country
foreign to the US, to issue said foreign patents, including foreign patents, registrations,
certificates or other designations of rights, to said ASSIGNEE, as assignee of the whole right,
title, and interest thereto.

        And ASSIGNOR further agrees to execute all necessary and lawful future documents,
including assignments in favor ASSIGNEE, or its designees, as ASSIGNEE or its assignees, and
or successors and assigns, may from time-to-time present to ASSIGNOR in order to perfect title
in said Invention, modifications, and improvements in said Invention, applications and Letters


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Patent in the United States and countries foreign thereto, including foreign patents, registrations,
certificates or other designations of rights;

       The rights assigned and sold hereunder are being assigned and sold AS IS, WHERE IS
and without representation, warranty or recourse of any kind.

        And ASSIGNOR further agrees to sign and properly execute such necessary and lawful
papers for application for foreign patents, for filing divisionals, continuations and continuations-
in-part of said applications for patent, and/or, for obtaining any reissue or reissues,
reexaminations, extensions and substitutions of any Letters Patent which have been granted or
which may be granted for the aforesaid Inventions, as the Assignee thereof shall hereafter require
and prepare at its own expense.

       WHEREFORE, the Assignor and Assignee, intending to be legally bound, have set their
hands and seals below.

ASSIGNOR:

THEIA GROUP, INCORPORATED

By: _______________________________                           _______________________
       (signature)                                                        DATE

Name:     Michael Fuqua
        (Print or type)

Title: Receiver for Theia Group Incorporated


ASSIGNEE:

RISING SKY, LLC

By: _______________________________                           _______________________
       (signature)                                                        DATE

Name: : Mitchell Adams
      (Print or type)

Title: _______________________________
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                               EXHIBIT A

               US PATENTS AND PATENT APPLICATIONS

                ISSUED US PATENTS AND APPLICATIONS

Country    Patent No.      Application No(s).                Title
                                                LOW EARTH ORBIT SATELLITE
                                                CONSTELLATION SYSTEM FOR
                              15/585818
  US      US 10,348,396                         COMMUNICATIONS WITH RE-
                              62/331245
                                                USE OF GEOSTATIONARY
                                                SATELLITE SPECTRUM
                                                SYSTEM FOR TRANSMISSION
                                                AND DIGITIZATION OF MACHINE
  US      US 11,328,162       15/610057         TELEMETRY


                                                RECORDING AND REAL-TIME
                              16/608167         TRASNMISSION OF IN-FLIGHT
  US      US 11,440,676                         CONDITION OF AIRCRAFT
                              62/489223
                                                COCKPIT TO GROUND SERVICES
                                                RADAR SYSTEM TO TRACK LOW
                              15/608612         FLYING UNMANNED AERIAL
  US      US 11,294,048                         VEHICLES AND OBJECTS
                              62/342585

                                                SYSTEM FOR COMMUNICATIONS
                              16/094297         WITH UNMANNED AERIAL
  US      US 11,137,753                         VEHICLES USING TWO
                              62/323957
                                                FREQUENCY BANDS
                                            SYSTEM FOR EMPLOYING
                                            CELLULAR TELEPHONE
                              15/906540     NETWORKS TO OPERATE,
  US      US 10,897,304       62/214053     CONTROL AND COMMUNICATE
                                            WITH UNMANNDED AERIAL
                                            VEHICLES AND REMOTE PILOTED
                                            VEHICLES
                                            SYSTEM FOR ESTIMATING
                                            WIRELESS NETWORK LOAD AND
                              15/884670
                                            PROACTIVELY ADJUSTING
  US      US 10,412,630       62/199841
                                            APPLICATIONS TO MINIMIZE
                          PCT/US2016/045028
                                            WIRELESS NETWORK OVERLOAD
                                            PROBABILITY AND MAXIMIZE




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                                                SUCCESSFUL APPLICATION
                                                OPERATION




                        PENDING US PATENT APPLICATIONS

Country    Patent No.        Application No.                 Title
                                               SYSTEM FOR TRANSMISSION AND
                                               DIGITIZATION OF MACHINE
  US                           17/739587       TELEMETRY


                                               SYSTEM FOR RECORDING AND
                                               REAL-TIME TRANSMISSION OF IN-
  US                           17/941,176      FLIGHT OF AIRCRAFT COCKPIT TO
                                               GROUND SERVICES
                                               SYSTEM FOR VERIFICATION OF
                                               INTEGRITY OF UNMANNED AERIAL
  US          n/a              16/093897       VEHICLES


                                               RADAR SYSTEM TO TRACK LOW
                               17/713117       FLYING UNMANNED AERIAL
  US          n/a                              VEHICLES AND OBJECTS


                                               SYSTEM FOR EMPLOYING
                                               CELLULAR TELEPHONE NETWORKS
                               17/151,350      TO OPERATE, CONTROL AND
  US          n/a
                                               COMMUNICATE WITH
                                               UNMANNDED AERIAL VEHICLES
                                               AND REMOTE PILOTED VEHICLES




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                                 EXHIBIT B

        FOREIGN (Non-US) PATENTS AND PATENT APPLICATIONS


         Title           Country        Patent/Grant No.    Application No.
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS       Israel (IL)         IL 262694 B        262694
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Canada (CA)                            CA 3022513
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                                                              1801006767
FOR COMMUNICATIONS     Thailand (TH)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                                                           MX/a/2018/013489
FOR COMMUNICATIONS     Mexico (MX)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                       Russian Fed.
FOR COMMUNICATIONS                       RU 2730169 C2        2018140570
                          (RU)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM




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  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                                              BR 11 2018
FOR COMMUNICATIONS       Brazil (BR)                       11 2018 072637-0
                                               072637
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS       Japan (JP)           JP 6896982     2018-558317
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      China (CN)        CN 109417827B    201780041978.4
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS       India (IN)                        IN 201837045587
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Singapore (SG)                      11201809489W
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Australia (AU)     AU 2017260347      2017260347
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM




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  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Australia (AU)                             2022200377
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Korea (KR)         KR 102165365         10-2018-7035041
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                        Hong Kong
FOR COMMUNICATIONS                        HK 19128790.3           19128790.3
                          (HK)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Belgium (BE)           EP 3453223          17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                                              EP 3453223
FOR COMMUNICATIONS     Germany (DE)      DE 60 2017 047 220.4
                                                                  17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      France (FR)           EP 3453223          17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM




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  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM   Luxembourg
FOR COMMUNICATIONS         (LU)             EP 3453223      17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                       Netherlands
FOR COMMUNICATIONS                          EP 3453223      17793256.3
                          (NL)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                       Switzerland
FOR COMMUNICATIONS                          EP 3453223      17793256.3
                          (CH)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                          United
FOR COMMUNICATIONS                          EP 3453223      17793256.3
                       Kingdom (GB)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Sweden (SE)          EP 3453223      17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                                           EP 3453223
FOR COMMUNICATIONS       Italy (IT)    IT 502021000106547
                                                            17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM




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  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Austria (AT)          EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                       Liechtenstein
FOR COMMUNICATIONS                           EP 3453223   17793256.3
                            (LI)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Greece (GR)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Spain (ES)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Denmark (DK)          EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Monaco (MC)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM




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  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Portugal (PT)         EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Ireland (IE)         EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Finland (FI)          EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Cyprus (CY)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Turkey (TR)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Bulgaria (BG)         EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM




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  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                       Czech Republic
FOR COMMUNICATIONS                            EP 3453223   17793256.3
                            (CZ)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Estonia (EE)          EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Slovakia (SK)         EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Slovenia (SI)         EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Hungary (HU)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Romania (RO)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM




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  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Poland (PL)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Iceland (IS)          EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Lithuania (LT)         EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Latvia (LV)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Malta (MT)            EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Croatia (HR)           EP 3453223   17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM




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  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Norway (NO)            EP 3453223      17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM     North
FOR COMMUNICATIONS      Macedonia             EP 3453223      17793256.3
   WITH RE-USE OF         (MK)
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                        San Marino
FOR COMMUNICATIONS                            EP 3453223      17793256.3
                           (SM)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS     Albania (AL)           EP 3453223      17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
FOR COMMUNICATIONS      Serbia (RS)           EP 3453223      17793256.3
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM
  LOW EARTH ORBIT
      SATELLITE
CONSTELLATION SYSTEM
                       (International
FOR COMMUNICATIONS                               n/a       PCT/US2017/030847
                        Application)
   WITH RE-USE OF
   GEOSTATIONARY
 SATELLITE SPECTRUM




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   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF      ISRAEL (IL)          263244           263244
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND      ISRAEL (IL)
 DIGITIZATION OF                                            294633
                     (Divisional)
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF    CANADA (CA)                            3025362
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND      THAILAND
 DIGITIZATION OF                                          1801007305
                        (TH)
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF    MEXICO (MX)                        MX/a/2018/014739
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND     RUSSIAN FED
 DIGITIZATION OF                       RU 2772837 C2      2018143512
                        (RU)
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     BRAZIL (BR)                        112018074740-8
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF      JAPAN (JP)       JP 7116448 B2     2018-562335
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND     JAPAN (JP)
 DIGITIZATION OF                                         2022-116033
                     (Divisional)
MACHINE TELEMETRY




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    SYSTEM FOR
 TRANSMISSION AND                          CN 109479085 B
  DIGITIZATION OF        CHINA (CN)                          201780044671.X
 MACHINE TELEMETRY
    SYSTEM FOR
 TRANSMISSION AND        CHINA (CN)
  DIGITIZATION OF                                            202210644262.6
                         (Divisional)
 MACHINE TELEMETRY
    SYSTEM FOR
 TRANSMISSION AND
  DIGITIZATION OF         INDIA (IN)                          201837045587
 MACHINE TELEMETRY
    SYSTEM FOR
 TRANSMISSION AND
  DIGITIZATION OF       Singapore (SG)      11201810480R      11201810480R
 MACHINE TELEMETRY
    SYSTEM FOR
 TRANSMISSION AND                          AU 2017273616
  DIGITIZATION OF       Australia (AU)          B2             2017273616
 MACHINE TELEMETRY
    SYSTEM FOR
 TRANSMISSION AND       Australia (AU)
  DIGITIZATION OF                                              2022206794
                         (Divisional)
 MACHINE TELEMETRY
     METHOD FOR
MONITORING CHANGE IN
 ANALOG OR PHYSICAL
 STATE CONDITIONS OF
  MACHINE (previously    Korea (KR)             XX-XXXXXXX   10-2018-7038060
     “SYSTEM FOR
  TRANSMISSION AND
   DIGITIZATION OF
MACHINE TELEMETRY”)
     METHOD FOR
MONITORING CHANGE IN
                         Korea (KR)
 ANALOG OR PHYSICAL                                          10-2022-7038340
                         (Divisional)
 STATE CONDITIONS OF
 MACHINE (DIVISIONAL)




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   SYSTEM FOR
TRANSMISSION AND     Hong Kong
 DIGITIZATION OF                                        19129017.0
                       (HK)
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Belgium (BE)                       17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF    Germany (DE)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     France (FR)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND     Luxembourg
 DIGITIZATION OF         (LU)                           17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND     Netherlands
 DIGITIZATION OF                                        17807419.1
                        (NL)
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND     Switzerland
 DIGITIZATION OF                                        17807419.1
                        (CH)
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND       United
 DIGITIZATION OF                                        17807419.1
                    Kingdom (GB)
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Sweden (SE)                        17807419.1
MACHINE TELEMETRY




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   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF       Italy (IT)                       17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Austria (AT)                       17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND    Liechtenstein
 DIGITIZATION OF                                        17807419.1
                         (LI)
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Greece (GR)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF      Spain (ES)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF    Denmark (DK)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF    Monaco (MC)                         17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Portugal (PT)                      17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF      Ireland (IE)                      17807419.1
MACHINE TELEMETRY




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   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Finland (FI)                       17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Cyprus (CY)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Turkey (TR)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Bulgaria (BG)                      17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND    Czech Republic
 DIGITIZATION OF                                        17807419.1
                         (CZ)
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Estonia (EE)                       17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Slovakia (SK)                      17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Slovenia (SI)                      17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF    Hungary (HU)                        17807419.1
MACHINE TELEMETRY




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   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF    Romania (RO)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Poland (PL)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Iceland (IS)                       17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF    Lithuania (LT)                      17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF      Latvia (LV)                       17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Malta (MT)                         17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Croatia (HR)                       17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND
 DIGITIZATION OF     Norway (NO)                        17807419.1
MACHINE TELEMETRY
   SYSTEM FOR
TRANSMISSION AND      North
 DIGITIZATION OF     Macedonia                          17807419.1
MACHINE TELEMETRY      (MK)




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    SYSTEM FOR
 TRANSMISSION AND       San Marino
  DIGITIZATION OF                                         17807419.1
                           (SM)
 MACHINE TELEMETRY
    SYSTEM FOR
 TRANSMISSION AND
  DIGITIZATION OF      Albania (AL)                       17807419.1
 MACHINE TELEMETRY
    SYSTEM FOR
 TRANSMISSION AND
  DIGITIZATION OF       Serbia (RS)                       17807419.1
 MACHINE TELEMETRY
    SYSTEM FOR
 TRANSMISSION AND      (International
  DIGITIZATION OF                                     PCT/US2017/35264
                        Application)
 MACHINE TELEMETRY
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-   (International
                                                      PCT/US2018/28571
  FLIGHT OF AIRCRAFT    Application)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                         Israel (IL)                       270042
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       CANADA (CA)                         3060108
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-    THAILAND
                                                         1901006727
  FLIGHT OF AIRCRAFT      (TH)
 COCKPIT TO GROUND
       SERVICES




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SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       MEXICO (MX)                        MX/a/2019/012692
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-   RUSSIAN FED.
                                                             2019137121
  FLIGHT OF AIRCRAFT       (RU)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       BRAZIL (BR)                        BR 11 2019 021927-7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        JAPAN (JP)        JP 7116449 B2      2019-557582
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-    JAPAN (JP)
                                                             2022-116034
  FLIGHT OF AIRCRAFT    (Divisional)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        CHINA (CN)                         201880027333.X
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        INDIA (IN)                          201937046971
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES




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SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-    SINGAPORE
                                                        11201909526U
  FLIGHT OF AIRCRAFT       (SG)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Australia (AU)                    2018260589
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-    Hong Kong
                                                         62020015084
  FLIGHT OF AIRCRAFT      (HK)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Korea (KR)                     10-2019-7034471
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Belgium (BE)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Germany (DE)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        France (FR)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES




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SYSTEM FOR RECORDING
    AND REAL-TIME
                       Luxembourg
 TRANSMISSION OF IN-
                           (LU)                           18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-   Netherlands
                                                          18791594.7
  FLIGHT OF AIRCRAFT      (NL)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-   Switzerland
                                                          18791594.7
  FLIGHT OF AIRCRAFT      (CH)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-      United
                                                          18791594.7
  FLIGHT OF AIRCRAFT   Kingdom (GB)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Sweden (SE)                        18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                         Italy (IT)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Austria (AT)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES




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SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-   Liechtenstein
                                                          18791594.7
  FLIGHT OF AIRCRAFT        (LI)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Greece (GR)                        18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Spain (ES)                        18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Denmark (DK)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Monaco (MC)                        18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Portugal (PT)                      18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Ireland (IE)                      18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES




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SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Finland (FI)                      18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Cyprus (CY)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Turkey (TR)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Bulgaria (BG)                      18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-   Czech Republic
                                                          18791594.7
  FLIGHT OF AIRCRAFT        (CZ)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Estonia (EE)                      18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Slovakia (SK)                     18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES




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SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Slovenia (SI)                      18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Hungary (HU)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Romania (RO)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Poland (PL)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Iceland (IS)                      18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Lithuania (LT)                     18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                        Latvia (LV)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES




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SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Malta (MT)                         18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Croatia (HR)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Norway (NO)                        18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
                        North
 TRANSMISSION OF IN-
                       Macedonia                          18791594.7
  FLIGHT OF AIRCRAFT
                         (MK)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-   San Marino
                                                          18791594.7
  FLIGHT OF AIRCRAFT      (SM)
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Albania (AL)                       18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES
SYSTEM FOR RECORDING
    AND REAL-TIME
 TRANSMISSION OF IN-
                       Serbia (RS)                        18791594.7
  FLIGHT OF AIRCRAFT
 COCKPIT TO GROUND
       SERVICES




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  RADAR SYSTEM TO
 TRACK LOW FLYING      (International
 UNMANNED AERIAL                                  n/a       PCT/US2017/037522
                        Application)
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       RUSSIAN FED.        RU2737058C2         2018143511
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL          BRAZIL                             11 2018 074384-4
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL          ISRAEL                  n/a            263313
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
  TRACK LOW FLYING        ISRAEL
 UNMANNDED AERIAL                                 n/a            295502
                        (Divisional)
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL         CANADA                   n/a            3025355
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING                                              1801007306
 UNMANNED AERIAL        THAILAND                  n/a
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL         MEXICO                   n/a         20180014569
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL          JAPAN                JP 7036744      2018-562036
VEHICLES AND OBJECTS




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  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL          CHINA               n/a        CN20178044315
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL           INDIA              n/a        201837049014
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        SINGAPORE             n/a        11201810483Q
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING       SINGAPORE
 UNMANNED AERIAL                              n/a        10202251240X
                        (Divisional)
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        AUSTRALIA             n/a         2017270593
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING         KOREA
 UNMANNED AERIAL                         KR102244863B1    20187036739
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       HONG KONG              n/a          19128899.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Belgium (BE)           n/a         17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Germany (DE)           n/a         17 803 755.2
VEHICLES AND OBJECTS




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  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        France (FR)           n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING      Luxembourg
 UNMANNED AERIAL           (LU)               n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING      Netherlands
 UNMANNED AERIAL                              n/a       17 803 755.2
                          (NL)
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING      Switzerland
 UNMANNED AERIAL                              n/a       17 803 755.2
                          (CH)
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING         United
 UNMANNED AERIAL                              n/a       17 803 755.2
                       Kingdom (GB)
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Sweden (SE)            n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL         Italy (IT)           n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Austria (AT)           n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING      Liechtenstein
 UNMANNED AERIAL                              n/a       17 803 755.2
                            (LI)
VEHICLES AND OBJECTS




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  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Greece (GR)            n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Spain (ES)            n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Denmark (DK)           n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Monaco (MC)            n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Portugal (PT)          n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Ireland (IE)          n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Finland (FI)          n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Cyprus (CY)           n/a       17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Turkey (TR)           n/a       17 803 755.2
VEHICLES AND OBJECTS




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  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Bulgaria (BG)           n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING      Czech Republic
 UNMANNED AERIAL                               n/a      17 803 755.2
                            (CZ)
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Estonia (EE)           n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Slovakia (SK)          n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Slovenia (SI)          n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Hungary (HU)            n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Romania (RO)            n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Poland (PL)            n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Iceland (IS)           n/a      17 803 755.2
VEHICLES AND OBJECTS




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  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Lithuania (LT)          n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Latvia (LV)            n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Malta (MT)             n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Croatia (HR)            n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Norway (NO)             n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING        North
 UNMANNED AERIAL        Macedonia              n/a      17 803 755.2
VEHICLES AND OBJECTS      (MK)

  RADAR SYSTEM TO
 TRACK LOW FLYING       San Marino
 UNMANNED AERIAL                               n/a      17 803 755.2
                           (SM)
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL       Albania (AL)            n/a      17 803 755.2
VEHICLES AND OBJECTS
  RADAR SYSTEM TO
 TRACK LOW FLYING
 UNMANNED AERIAL        Serbia (RS)            n/a      17 803 755.2
VEHICLES AND OBJECTS




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      SYSTEM FOR
COMMUNICATIONS WITH
                      (International
   UNMANNED AERIAL                                      PCT/US17/37522
                       Application)
 VEHICLES USING TWO
  FREQUENCY BANDS
      SYSTEM FOR
COMMUNICATIONS WITH
   UNMANNED AERIAL    RUSSIAN FED.        RU2733905C2    2018137880
 VEHICLES USING TWO
  FREQUENCY BANDS
      SYSTEM FOR
COMMUNICATIONS WITH
   UNMANNED AERIAL       JAPAN                n/a        2019-505349
 VEHICLES USING TWO
   FREQUENCY BANDS
      SYSTEM FOR
COMMUNICATIONS WITH
                         JAPAN
   UNMANNED AERIAL                            n/a        2022-120005
                       (Divisional)
 VEHICLES USING TWO
   FREQUENCY BANDS
      SYSTEM FOR
COMMUNICATIONS WITH
   UNMANNED AERIAL       CHINA                n/a        20178034674
 VEHICLES USING TWO
   FREQUENCY BANDS
      SYSTEM FOR
COMMUNICATIONS WITH
   UNMANNED AERIAL        INDIA               n/a       201837043271
 VEHICLES USING TWO
   FREQUENCY BANDS
      SYSTEM FOR
COMMUNICATIONS WITH
   UNMANNED AERIAL     HONG KONG              n/a         19128717.6
 VEHICLES USING TWO
   FREQUENCY BANDS
      SYSTEM FOR
COMMUNICATIONS WITH
   UNMANNED AERIAL     Belgium (BE)           n/a        20170786815
 VEHICLES USING TWO
   FREQUENCY BANDS




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     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Germany (DE)           n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      France (FR)           n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH    Luxembourg
  UNMANNED AERIAL          (LU)              n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
                       Netherlands
  UNMANNED AERIAL                            n/a         20170786815
                          (NL)
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
                       Switzerland
  UNMANNED AERIAL                            n/a         20170786815
                          (CH)
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
                         United
  UNMANNED AERIAL                            n/a         20170786815
                      Kingdom (GB)
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      Sweden (SE)           n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL        Italy (IT)          n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS




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     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      Austria (AT)          n/a        20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
                      Liechtenstein
  UNMANNED AERIAL                            n/a        20170786815
                           (LI)
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      Greece (GR)           n/a        20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL       Spain (ES)           n/a        20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Denmark (DK)           n/a        20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Monaco (MC)            n/a        20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Portugal (PT)          n/a        20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      Ireland (IE)          n/a        20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS




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     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Finland (FI)          n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Cyprus (CY)           n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Turkey (TR)           n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL    Bulgaria (BG)          n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
                    Czech Republic
  UNMANNED AERIAL                           n/a         20170786815
                          (CZ)
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Estonia (EE)          n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL    Slovakia (SK)          n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL    Slovenia (SI)          n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS




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     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Hungary (HU)            n/a       20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Romania (RO)            n/a       20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      Poland (PL)            n/a       20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      Iceland (IS)           n/a       20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Lithuania (LT)          n/a       20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      Latvia (LV)            n/a       20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      Malta (MT)             n/a       20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Croatia (HR)            n/a       20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS




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     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Norway (NO)             n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH     North
  UNMANNED AERIAL      Macedonia              n/a         20170786815
 VEHICLES USING TWO      (MK)
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
                       San Marino
  UNMANNED AERIAL                             n/a         20170786815
                          (SM)
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL     Albania (AL)            n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
COMMUNICATIONS WITH
  UNMANNED AERIAL      Serbia (RS)            n/a         20170786815
 VEHICLES USING TWO
  FREQUENCY BANDS
     SYSTEM FOR
   VERIFICATION OF
                      (International
    INTEGRITY OF                                        PCT/US2017/036427
                       Application)
  UNMANNED AERIAL
      VEHICLES
     SYSTEM FOR
   VERIFICATION OF
    INTEGRITY OF      RUSSIAN FED.        RU2721185C2      2018137854
  UNMANNED AERIAL
      VEHICLES
     SYSTEM FOR
   VERIFICATION OF
    INTEGRITY OF         JAPAN                n/a          2018-554366
  UNMANNED AERIAL
      VEHICLES




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   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF         CHINA              n/a         201780034800
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF         INDIA              n/a         201837042699
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
                    HONG KONG
  INTEGRITY OF                            n/a          19128459.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Belgium (BE)          n/a          17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Germany (DE)          n/a          17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       France (FR)          n/a          17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF    Luxembourg
  INTEGRITY OF          (LU)              n/a          17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
                    Netherlands
  INTEGRITY OF                            n/a          17 783 379.5
                       (NL)
UNMANNED AERIAL
    VEHICLES




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   SYSTEM FOR
 VERIFICATION OF
                     Switzerland
  INTEGRITY OF                             n/a         17 783 379.5
                        (CH)
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
                       United
  INTEGRITY OF                             n/a         17 783 379.5
                    Kingdom (GB)
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Sweden (SE)            n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF        Italy (IT)           n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Austria (AT)          n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
                    Liechtenstein
  INTEGRITY OF                             n/a         17 783 379.5
                         (LI)
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Greece (GR)           n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF        Spain (ES)           n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES




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   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Denmark (DK)           n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Monaco (MC)            n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Portugal (PT)          n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Ireland (IE)          n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Finland (FI)          n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Cyprus (CY)           n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Turkey (TR)           n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Bulgaria (BG)          n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES




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   SYSTEM FOR
 VERIFICATION OF
                   Czech Republic
  INTEGRITY OF                             n/a         17 783 379.5
                        (CZ)
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Estonia (EE)          n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Slovakia (SK)          n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Slovenia (SI)          n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Hungary (HU)           n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Romania (RO)           n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Poland (PL)           n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Iceland (IS)          n/a         17 783 379.5
UNMANNED AERIAL
    VEHICLES




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   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Lithuania (LT)          n/a        17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Latvia (LV)            n/a        17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF       Malta (MT)             n/a        17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Croatia (HR)            n/a        17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Norway (NO)             n/a        17 783 379.5
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF      North
  INTEGRITY OF       Macedonia              n/a        17 783 379.5
UNMANNED AERIAL        (MK)
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
                     San Marino
  INTEGRITY OF                              n/a        17 783 379.5
                        (SM)
UNMANNED AERIAL
    VEHICLES
   SYSTEM FOR
 VERIFICATION OF
  INTEGRITY OF      Albania (AL)            n/a        17 783 379.5
UNMANNED AERIAL
    VEHICLES




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       SYSTEM FOR
    VERIFICATION OF
      INTEGRITY OF      Serbia (RS)               n/a         17 783 379.5
   UNMANNED AERIAL
        VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND      (International
                                                  n/a      PCT/US2016/050166
  COMMUNICATE WITH      Application)
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       RUSSIAN FED.            RU2729607      2018108416
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                          JAPAN                 6794434       2018-512208
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                          JAPAN                 7012804       2020-188364
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
                           INDIA                  n/a        201837012107
      CONTROL AND
  COMMUNICATE WITH
  UNMANNDED AERIAL



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VEHICLES AND REMOTE
  PILOTED VEHICLES


SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                          CHINA          CN107925880B   201680050801.6
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Belgium (BE)          n/a          16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Germany (DE)          n/a          16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                        France (FR)          n/a          16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
                       Luxembourg
      CONTROL AND
                           (LU)              n/a          16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES


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SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND      Netherlands
                                             n/a         16843096.5
  COMMUNICATE WITH        (NL)
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND      Switzerland
                                             n/a         16843096.5
  COMMUNICATE WITH        (CH)
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND         United
                                             n/a         16843096.5
  COMMUNICATE WITH     Kingdom (GB)
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Sweden (SE)           n/a         16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                         Italy (IT)          n/a         16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,   Austria (AT)          n/a         16843096.5
      CONTROL AND


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 COMMUNICATE WITH
 UNMANNDED AERIAL
VEHICLES AND REMOTE
  PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND      Liechtenstein
                                              n/a        16843096.5
  COMMUNICATE WITH          (LI)
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Greece (GR)            n/a        16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                        Spain (ES)            n/a        16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Denmark (DK)           n/a        16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Monaco (MC)            n/a        16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES


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SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Portugal (PT)          n/a        16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                        Ireland (IE)          n/a        16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Finland (FI)           n/a        16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Cyprus (CY)            n/a        16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Turkey (TR)            n/a        16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,   Bulgaria (BG)          n/a        16843096.5
      CONTROL AND


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 COMMUNICATE WITH
 UNMANNDED AERIAL
VEHICLES AND REMOTE
  PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND      Czech Republic
                                               n/a       16843096.5
  COMMUNICATE WITH          (CZ)
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                        Estonia (EE)           n/a       16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                        Slovakia (SK)          n/a       16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                        Slovenia (SI)          n/a       16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Hungary (HU)            n/a       16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES


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SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Romania (RO)            n/a       16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                        Poland (PL)            n/a       16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                        Iceland (IS)           n/a       16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Lithuania (LT)          n/a       16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                        Latvia (LV)            n/a       16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,    Malta (MT)             n/a       16843096.5
      CONTROL AND


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 COMMUNICATE WITH
 UNMANNDED AERIAL
VEHICLES AND REMOTE
  PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Croatia (HR)          n/a         16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Norway (NO)           n/a         16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
                        North
      CONTROL AND
                       Macedonia             n/a         16843096.5
  COMMUNICATE WITH
                         (MK)
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND      San Marino
                                             n/a         16843096.5
  COMMUNICATE WITH        (SM)
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES
SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Albania (AL)          n/a         16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES


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SYSTEM FOR EMPLOYING
  CELLULAR TELEPHONE
NETWORKS TO OPERATE,
      CONTROL AND
                       Serbia (RS)          n/a          16843096.5
  COMMUNICATE WITH
  UNMANNDED AERIAL
 VEHICLES AND REMOTE
    PILOTED VEHICLES




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                                             TRADEMARK ASSIGNMENT

       This Assignment Agreement is effective this ___ day of __________, 2023, by and between Theia Group,
Incorporated, a Delaware corporation having an address at 3445 Peachtree Road NE, Suite 1225, Atlanta, GA 30326
(“ASSIGNOR”) and Rising Sky, LLC, a Delaware limited liability company, having an address of 1001 4th Avenue,
Suite 4330, Seattle, WA 98154 (“ASSIGNEE”).

      Whereas, ASSIGNOR is the owner of US Trademark Application Serial no. 87/896,620, filed on April 27, 2018,
and International Registration no. 1473951 (“the Application and Registration”) for the mark DECISION-GRADE (“the
mark” or “trademark”); and

      Whereas, ASSIGNEE, is desirous of confirming the acquisition of, and of acquiring the Application and
Registration and the mark, together with the goodwill symbolized by the mark, and the portion of the business of
ASSIGNOR to which the mark pertains;

       Now, therefore, for good and valuable consideration, receipt of which is hereby acknowledged, ASSIGNOR hereby
assigns unto ASSIGNEE all of ASSIGNOR’s right, title and interest in and to US Trademark Application Serial no.
87/896,620, International Registration no. 1473951 (including for all the Contracting Parties designated in said
International Registration and for all the goods and services covered by said International Registration), the trademark
DECISION-GRADE throughout the world, together with all derivations thereof and including all goodwill symbolized
by the mark, and the portion of the ASSIGNOR’s business to which the mark pertains, whether based on common law or
the laws of the various states of the United States, and the right (but not the obligation) to assert such trademark and other
assigned rights to collect for all past, present and future infringements, and claims for damages and the proceeds thereof,
including, without limitation, license royalties and proceeds of infringement suits and all rights corresponding thereto
throughout the world by reason of any past and future acts of infringement that have occurred or may occur, and any
priority rights or other rights under any Convention, Protocol, or Agreement that have been or may be accorded to the
Application and Registration.

      And ASSIGNOR further agrees to sign and properly execute such necessary and lawful papers relating to
applications and registrations for the trademark, including the Application and Registration, and any continuations,
renewals, extensions, transformations, and substitutions that may be required, which ASSIGNEE thereof shall hereafter
prepare at its own expense.

       This Assignment of any rights assigned, transferred and/or sold by Theia Group, Incorporated, including of any
rights herein in the Application and Registration, the trademark, the goodwill symbolized by the mark, the portion of the
business of ASSIGNOR to which the mark pertains, and any priority rights or other rights under any Convention, Protocol,
or Agreement that have been or may be accorded to the Application and Registration, is made AS IS, WHERE IS and
without representation, warranty, or recourse of any kind.

         In witness Whereof, ASSIGNOR and ASSIGNEE have signed this instrument on the date(s) set forth below.

ASSIGNOR:

Theia Group, Incorporated


By: _______________________________                                      _______________________
          (signature)                                                   DATE

Name: Michael Fuqua

Title:    Receiver for Theia Group, Incorporated


ASSIGNEE:

Rising Sky, LLC


By: _______________________________                                      _______________________
          (signature)                                                   DATE

Name: Mitchell Adams
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Title:   ______________________
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                                     ASSIGNMENT


THIS ASSIGNMENT DEED made this ______________day of _______________, 2022.


BETWEEN Theia Group, a corporation duly organised under the laws of the State of Delaware,
US, having an address at 1600 Market Street, Suite 1320, Philadelphia, PA 19103 (hereinafter
referred to as the ASSIGNOR which expression shall include all successors and assigns) of the
one part.


AND Rising Sky LLC, a limited liability company duly organised under the laws of the state of
Delaware, US, having an address at 1001 4th Avenue, Suite 4330 in Seattle, WA 98154
(hereinafter referred to as the ASSIGNEE which expression shall include all successors and
assigns) of the other part.


WHEREAS:-


1.The ASSIGNOR is the owner of the following patents and patent applications and the inventions
disclosed therein:


       (a) Australian Patent Application No. 2017270593 entitled “RADAR SYSTEM TO TRACK
       LOW FLYING UNMANNED AERIAL VEHICLES AND OBJECTS”;


       (b) Australian Patent Application No. 2017260347, granted as Australian Patent No. AU
       2017260347, entitled “LOW EARTH ORBIT SATELLITE CONSTELLATION SYSTEM
       FOR     COMMUNICATIONS        WITH    RE-USE     OF   GEOSTATIONARY         SATELLITE
       SPECTRUM”;


       (c) Australian Patent Application No. 2022200377, entitled “LOW EARTH ORBIT
       SATELLITE CONSTELLATION SYSTEM FOR COMMUNICATIONS WITH RE-USE OF
       GEOSTATIONARY SATELLITE SPECTRUM”;


       (d) Australian Patent Application No. 2017273616, granted as Australian Patent No. AU
       2017273616, entitled “SYSTEM FOR TRANSMISSION AND DIGITIZATION OF
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       MACHINE TELEMETRY”;


       (e)   Australian   Patent      Application   No.   2022206794,    entitled   “SYSTEM     FOR
       TRANSMISSION AND DIGITIZATION OF MACHINE TELEMETRY”; and


       (f) Australian Patent Application No. 2018260589, entitled “SYSTEM FOR RECORDING
       AND REAL-TIME TRANSMISSION OF IN-FLIGHT OF AIRCRAFT COCKPIT TO
       GROUND SERVICES”;


(the above patents and patent applications hereinafter referred to respectively, as "the patent
properties", and “the inventions”).


2.The ASSIGNOR now desires to assign to the ASSIGNEE and the ASSIGNEE desires to take
title of the patent properties and the inventions, including the patent applications, the patents, and
all right of action, powers and benefits thereto, belonging or accrued, and, in particular, the right
to commence proceedings and obtain relief for any infringement of any of the patent properties,
including any patents and any patents granted on the patent applications including any
infringement which has occurred prior to the date hereof.


NOW THIS DEED WITNESSETH:-


       Pursuant to the foregoing and in consideration of the sum of two dollars ($2.00) and other
valuable consideration well and truly paid to the ASSIGNOR by or on behalf of the ASSIGNEE,
the receipt and sufficiency of which are hereby acknowledged, it is hereby agreed between the
parties as follows:-
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1.The ASSIGNOR hereby assigns to the ASSIGNEE its whole right, title and interest in and to the
patent properties and the inventions, and the right to file in ASSIGNEE'S name any further
applications claiming priority or seniority from the patent applications;


2.The ASSIGNOR assigns the patent applications and the inventions to the ASSIGNEE as the
beneficial owner subject to the condition that the ASSIGNOR does not and shall not be required
to warrant or guarantee the validity any patent granted pursuant to the applications or derived
from any application claiming seniority from it/them, and so there is no doubt, the rights assigned,
sold, and transferred hereunder, including rights to the patent properties and the inventions, the
patent applications, the patents, and patent rights, are being assigned, sold and transferred, AS
IS, WHERE IS and without representation, warranty, or recourse of any kind;


3.The ASSIGNOR hereby authorizes the relevant government authority to transfer the patent
properties, including the patents and patent applications, and record this assignment in favour of
the ASSIGNEE as assignee of the whole right, title and interest in and to the patents and the
patent applications or otherwise as the ASSIGNEE may direct;


4.The ASSIGNOR hereby undertakes at the expense of the ASSIGNEE to do all acts and execute
all documents necessary or desirable for further assuring the title of the ASSIGNEE to the
inventions, and the patents and the patent applications;


5.Should the ASSIGNOR fail to comply with the undertaking in Clause 4, it hereby irrevocably
appoints the ASSIGNEE and each of its directors, managers and secretary to be its several
attorneys to, in its name and as its act and deed from time to time, if and when such attorney shall
think fit for giving effect to the undertaking given by the ASSIGNOR in Clause 4, execute all such
documents referred to in Clause 4 and if necessary, procure the registration of this attorney; and


6.A Statutory Declaration by an officer of the ASSIGNEE shall be sufficient proof that the
ASSIGNOR has failed to comply with its undertaking given in Clause 4.
     Case 1:21-cv-06995-PKC Document 318-1
                                     4     Filed 01/18/23 Page 123 of 196



         IN WITNESS WHEREOF the parties hereto have caused this assignment to be
executed in a binding manner as follows:-



 SIGNED on behalf of Theia Group                   )
 Incorporated in accordance with its Articles of   )

 Incorporation in the presence of                  )
                                                   )
                                                   )
                                                   ) …………………………………………………
 …………………………………………………..
                                                   Name: Michael Fuqua
 Witness:
                                                   Position: Receiver
 Name:
 Address:




 SIGNED on behalf of                               )

 Rising Sky LLC in accordance with its Articles    )

 of Organization in the presence of                )
                                                   )
                                                   )
                                                   ) …………………………………………………
 …………………………………………………..
                                                   Name: Mitchell Adams
 Witness:
                                                   Position:
 Name:
 Address:
                              Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 124 of 196




Alberto J. Guerra Neto                                                               PROCURAÇÃO / POWER OF ATTORNEY
Cloris Maria Pereira Guerra
Flavio Leonardos
                                    O abaixo assinado / The undersigned: RISING SKY, LLC


                                    com endereço / with address:                   1001 4TH Avenue, Suite 4330, Seattle, WA 98154, USA

                                   por meio desta, constitui seus bastantes procuradores, para assuntos                  hereby constitutes and appoints as their attorneys for industrial
                                   relativos à propriedade industrial e intelectual, em todo o território da             and intellectual property matters in the whole territory of the
                                   República Federativa do Brasil, GUERRA ADVOGADOS ASSOCIADOS,                          Federative Republic of Brazil, GUERRA ADVOGADOS
                                   sociedade de advogados inscrita no CNPJ sob n.º 92.519.131/0001-06 e                  ASSOCIADOS, a law firm, registered with the Federal Taxpayer’s
                                   na Ordem dos Advogados do Brasil, Seção do Estado do Rio Grande do                    Registry under the CNPJ no. 92.519.131/0001-06 and at the
                                   Sul, sob o nº 140/89, com sede na Rua São Carlos 1113, em Porto Alegre,               Ordem dos Advogados do Brazil, Rio Grande do Sul section, no
                                   Estado do Rio Grande do Sul, Brasil; ALBERTO JERÔNIMO GUERRA                          140/89, having its headquarters Rua São Carlos 1113, Porto
                                   NETO, brasileiro, advogado, inscrito na Ordem dos Advogados do Brasil,                Alegre, RS, Brazil; ALBERTO JERÔNIMO GUERRA NETO,
                                   Seção do Estado do Rio Grande do Sul, sob o nº 41.795, com escritório                 Brazilian citizen, lawyer, who are registered at Brazilian Bar
                                   profissional na Rua São Carlos, 1113, em Porto Alegre, Estado do Rio                  Association - OAB, Section of the State of Rio Grande do Sul, under
                                   Grande do Sul, Brasil; FLAVIO STARLING LEONARDOS, brasileiro,                         number 41.795, with office at Rua São Carlos 1113, Porto Alegre,
                                   advogado inscrito na Ordem dos Advogados do Brasil, na Seção do Estado                RS, Brazil; FLAVIO STARLING LEONARDOS, Brazilian citizen,
                                                                                                                         lawyer registered at the Brazilian Bar Association - OAB, Section of
                                   do Rio de Janeiro, sob o nº 48.117, estabelecido com escritório
                                                                                                                         the State of Rio de Janeiro, under number 48.117, with office at
                                   profissional na Av. Rio Branco, 181 - 3501, na Capital do Estado do Rio
                                                                                                                         Av. Rio Branco, 181 - 3501, Rio de Janeiro - RJ, Brazil; to whom
                                   de Janeiro, Brasil, a quem outorga poderes para, separada ou
                                                                                                                         grants powers to, jointly or severally and irrespectively of the order
                                   conjuntamente e independentemente de ordem ou nomeação,
                                                                                                                         of appointment, represent the Grantor before Federal, State and
                                   representar o Outorgante perante as autoridades, autarquias, agências
                                                                                                                         Municipal authorities, entities, regulatory agencies and
                                   reguladoras e órgãos governamentais Federais, Estaduais e Municipais da
                                                                                                                         governmental organisms of the Federative Republic of Brazil,
                                   República Federativa do Brasil, em especial perante o Instituto Nacional              particularly before the Brazilian Patent and Trademark Office
                                   da Propriedade Industrial – INPI, O Banco Central do Brasil, o INMETRO,               (INPI), The Brazilian Central Bank, INMETRO, National Library,
                                   a Biblioteca Nacional, a Escola Nacional de Música, a Escola Nacional de              National School of Music, National School of Fine Arts, Nic.Br,
                                   Belas Artes, o Nic.Br, a ANVISA ou aqueles que vierem a substituí-los;                ANVISA and those which might replace them, as well as before
                                   bem como diante de organizações não governamentais, tal como o                        nongovernmental organizations, such as the National Self-
                                   Conselho Nacional de Auto Regulamentação Publicitária – CONAR; para o                 Regulatory Council of Publicity (CONAR); in order to request,
                                   fim de requerer, obter, manter a proteção e assegurar o exercício de direitos         obtain, maintain the protection and guarantee the exercise of
                                   relativos à propriedade industrial e intelectual, incluindo, mas não se               industrial and intellectual property rights; including but not limited
                                   limitando, a patentes e certificados de invenção; modelos de utilidade;               to patents and certificates of invention; utility models; industrial
                                   desenhos industriais; marcas de produtos, serviços, coletivas e de                    designs; product, service, collective and certification marks;
                                   certificação; indicações geográficas; programas de computador; obras                  geographic indications; software; artistic, literary and scientific
                                   artísticas, literárias e científicas; e nomes de domínio; podendo, para tal           works; and domain names; empowered to that objective to take
                                   finalidade, promover toda e qualquer providência administrativa,                      any and all administrative measure, including to file applications;
                                   incluindo depositar pedidos; apresentar requerimentos de quaisquer                    to submit requests of any nature, particularly, to renew, to record
                                   natureza, em especial de prorrogação, de anotações de alterações, de                  changes and assignments and transfers; to record agreements,
                                   cessões e transferências; de averbações de contratos; de licenças                     voluntary and compulsory licenses and security interests; to
                                   voluntárias e compulsórias; de gravames; declarações de notoriedade e                 request declarations of notoriety and of high renown; to challenge;
                                   de alto renome; impugnações; oposições; manifestações; réplicas;                      to oppose; to file arguments, replies, answers; cancellation
                                                                                                                         requests, nullity and non-use cancellation actions, technical
                                   respostas; pedidos de cancelamento; pedidos de nulidade e de
                                                                                                                         elements and defenses; to file requests to renew, objections,
                                   caducidade; subsídios técnicos; defesas; requerimentos de prorrogações;
                                                                                                                         notifications, reconsideration requests, evidence of use; and
                                   protestos; notificações; reconsiderações; provas de uso; e pedidos de
                                                                                                                         requests to review; to submit and to retrieve documents; pay to
                                   revisão; juntar e retirar documentos; pagar e receber restituições de
                                                                                                                         and to receive reimbursement of taxes, costs, fees. expenses,
                                   taxas, custas, retribuições, emolumentos, anuidades e renovações;
                                                                                                                         annuities and renewals; to renounce registrations and to withdraw
                                   podendo renunciar e desistir de registros, pedidos de registro,
                                                                                                                         applications, requests and cases; and the special powers to receive
                                   requerimentos e processos; com os poderes especiais de receber e dar                  and give releases; to undertake; to transact; to substitute and to
                                   quitação; acordar; transigir; substabelecer ou revogar, no todo ou em parte,          revoke in full or partially the powers hereby granted; to receive
                                   os poderes aqui outorgados; de receber as citações judiciais de que trata o           summons according to the provisions of Article 217 of Law no.
                                   Artigo 217 da Lei nº 9.279/96 (Lei da Propriedade Industrial); e demais               9,279/96 (Industrial Property Law); and all powers to do whatever
                                   poderes para fazer tudo aquilo que for necessário para a boa e legal                  is required to the good and appropriate defense of the rights and
                                   defesa dos direitos e interesses do Outorgante, que, através do presente,             interests of the Grantor, that hereby expressly ratifies all acts and
                                   ratifica expressamente todos os atos já praticados por todos ou qualquer um           measures taken by the all and any of the Grantees In accordance
                                   dos Outorgados em conformidade com o presente mandato.                                with the present instrument.

Porto Alegre/RS
+55 (51) 3323-9999                Local (Place):             Seattle, Washington, US
Rua São Carlos, 1113              Data (Date):               _____________________
CEP 90220-121
Brasil / Brazil
                                                                ______________________________________________________________________
                                                                                          Assinatura (Signature)
Rio de Janeiro/RJ
+55 (21) 2221-4887                Nome (Name):                                                         Mitchell Adams
Av. Rio Branco, 181 - 3501
                                  Cargo (Title):                                                       _________________
CEP 20040-918
Brasil / Brazil                                                                                        Rising Sky, LLC


guerraip.com
poaoffice@guerraip.com
rjoffice@guerraip.com
             Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 125 of 196




                     ASSIGNMENT AGREEMENT                                                  CONTRATO DE TRANSFERÊNCIA



Assignor: THEIA GROUP, INCORPORATED                                    Cedente: THEIA GROUP, INCORPORATED

established at 1600 Market Street, Suite 1320, Philadelphia, PA        estabelecido em 1600 Market Street, Suite 1320, Philadelphia, PA
19103, USA                                                             19103, EUA


represented by its Receiver (legal representative), Michael Fuqua,     representada por seu tesoureiro (representante legal) Michael Fuqua,


Who expressly declares to be duly empowered to act on behalf of the    O qual declara expressamente que detém os poderes para agir em nome

assignor, as well as to execute assignment documents and to transfer   do cedente, assim como para assinar documentos de transferência e
the intellectual property rights which are object of this agreement,   para alienar os direitos de propriedade intelectual objeto deste contrato,


hereby assigns, transfers, and sells all rights over the following     Cede, transfere e vende todos os seus direitos sobre os seguintes casos,
including, rights to the invention, patent application, and patent     incluindo direitos sobre a invenção, pedido de patente e direitos de
rights, AS IS, WHERE IS and without representation, warranty, or       patente, NO ESTADO EM QUE SE ENCONTRAM, e sem representação,

recourse of any kind:                                                  garantia ou recurso de qualquer tipo:


(1) Brazilian Patent no. BR 11 2018 072637-0, for “LOW EARTH ORBIT     (1) Patente Brasileira nº BR 11 2018 072637-0, para “SISTEMA DE

SATELLITE CONSTELLATION SYSTEM FOR COMMUNICATIONS WITH                 CONSTELAÇÃO DE SATÉLITES DE BAIXA ÓRBITA TERRESTRE PARA
RE-USE OF GEOSTATIONARY SATELLITE SPECTRUM”; and                       COMUNICAÇÕES COM REUTILIZAÇÃO DE ESPECTRO DE SATÉLITE
                                                                       GEOESTACIONÁRIO”; e

(2) Brazilian Patent/Application No. BR 11 2018 074740-8, for
“SYSTEM FOR TRANSMISSION AND DIGITIZATION OF MACHINE                   (2) Pedido de Patente Brasileiro nº BR 11 2018 074740-8, para
TELEMETRY”; and                                                        “SISTEMA PARA TRANSMISSÃO E DIGITALIZAÇÃO DE TELEMETRIA DE
                                                                       MÁQUINA”; e
(3) Brazilian Patent/Application No. BR 11 2019 021927-7, for          (3) Pedido de Patente Brasileiro nº BR 11 2019 021927-7, para
“SYSTEM FOR RECORDING AND REAL-TIME TRANSMISSION OF IN-                “SISTEMA DE GRAVAÇÃO E TRANSMISSÃO EM TEMPO REAL DE
FLIGHT OF AIRCRAFT COCKPIT TO GROUND SERVICES”; and                    OCORRÊNCIAS DURANTE O VOO DE CABINE DO PILOTO DE AERONAVE
                                                                       PARA SERVIÇOS DE SOLO”;
(4) Brazilian Patent/Application No. BR 11 2018 074384-4, for          (4) Pedido de Patente Brasileiro nº BR 11 2018 074384-4, para

“RADAR SYSTEM TO TRACK LOW FLYING UNMANNED AERIAL                      “SISTEMA DE RADAR PARA RASTREAR OBJETOS E VEÍCULOS AÉREOS
VEHICLES AND OBJECTS”,                                                 NÃO TRIPULADOS DE VOO BAIXO”


To                                                                     A


Assignee: RISING SKY, LLC                                              Cessionária: RISING SKY, LLC
established at 1001 4TH Avenue, Suite 4330, Seattle, WA 98154, USA     estabelecida em 1001 4TH Avenue, Suite 4330, Seattle, WA 98154, EUA


represented by its legal representative, Mitchell Adams,               representada por seu Representante Legal Mitchell Adams,
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Who expressly declares to be duly empowered to act on behalf of the     O qual declara expressamente que detém os poderes para agir em nome
company, as well as to execute assignment documents.                    da empresa, assim como para assinar documentos de transferência.


Both parties agree that the assignee will take the necessary steps in   Ambas as partes concordam que a cessionária tomará as providências
order to proceed with the necessary recordal before the Brazilian       necessárias para requerer a anotação junto ao Instituto Nacional da
Patent and Trademark Office.                                            Propriedade Industrial.


Executed before the undersigned witnesses,                              Feito perante as testemunhas abaixo assinadas,


Place and Date/Local e Data:     ________________________________________________________


Assignor’s Signature/
Assinatura do Cedente: _________________________________________________________________________


Name/Nome: , Michael Fuqua
Title/Título: Receiver




Place and Date/Local e Data:     ________________________________________________________


Assignee’s Signature/
Assinatura do Cessionário: ____________________________________________________________________


Name/Nome: Mitchell Adams
Title/Título: __________________________-




Witnesses/Testemunhas
(1) Name/Nome:
    Nationality/Nacionalidade:
    Address/Endereço:


Signature/Assinatura:(1) ___________________________________________________________________


(2) Name/Nome:
    Nationality/Nacionalidade:
    Address/Endereço:
Signature/Assinatura:(2) ___________________________________________________________________
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      *** Notarization of the signatures (but not of the witnesses) is required. Legalization by Apostille is also
                                                      required, ***




                                    NOTARIAL CERTIFICATE
State of Georgia

County of Fulton

This instrument ASSIGNMENT AGREEMENT was acknowledged before me this _______day
of ________ (month), _________ (year), by, Michael Fuqua, Receiver of THEIA GROUP,
INCORPORATED., a Delaware corporation, on behalf of the corporation,
who is
____personally known
____proved to me on the basis of satisfactory evidence to be the person who appeared before me

(Stamp/Seal)
                                                                 _____________________________
                                                                 (Signature Notary)

                                                                   ____________________________
                                                                   Name of Notary

                                                                   Notary Public, State of Georgia


My Commission expires: ___________




                                    NOTARIAL CERTIFICATE

State of Washington
County of ___________


I certify that I know or have satisfactory evidence that Mitchell Adams (name of person)
is the person who appeared before me, and said person acknowledged that (he/she) signed
this instrument, on oath stated that (he/she) was authorized to execute the instrument and
acknowledged it as the _____________ (type of authority, e.g., officer, trustee, etc.) of
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Rising Sky, LLC (name of party on behalf of whom instrument was executed) to be the
free and voluntary act of such party for the uses and purposes mentioned in the instrument.

Dated:______________


(Seal or stamp)                                             ____________________
                                                            Signature
                                                            ____________________
                                                             Title
My appointment expires:__________
          Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 129 of 196



                                         ASSIGNMENT AGREEMENT


    THIS ASSIGNMENT AGREEMENT EFFECTIVE AS OF ____________________, 2023

    WHEREAS

    THEIA GROUP, INC. of 1600 Market Street, Suite 1320, Philadelphia, Pennsylvania, United States
    of America, 19103 is the owner of a certain new and useful inventions titled as follows for which
    the respective Canadian patent applications have been filed are assigned the respective application
    numbers:

           1) RADAR SYSTEM TO TRACK LOW FLYING UNMANNED AERIAL
           VEHICLES ANDOBJECTS, Canadian application No. 3,025,355;

           2) LOW EARTH ORBIT SATELLITE CONSTELLATION SYSTEM FOR
           COMMUNICATIONS WITH RE-USE OF GEOSTATIONARY SATELLITE
           SPECTRUM, Canadian application No. 3,022,513;

           3) SYSTEM FOR TRANSMISSION AND DIGITIZATION OF MACHINE
           TELEMETRY, Canadian application No. 3,025,362;

           4) SYSTEM FOR RECORDING AND REAL-TIME TRANSMISSION OF IN-
           FLIGHT OF AIRCRAFT COCKPIT TO GROUND SERVICES, Canadian
           application No. 3,060,108.

    (the above inventions hereinafter collectively, the “Inventions”);

    AND WHEREAS, RISING SKY, LLC of 1001 4th Ave, Suite 4330, Seattle, Washington, United States of
    America 98154, (hereinafter called the “Assignee”), is desirous of acquiring the Canadian right, title and
    interest in and to said Inventions and any letters patent that have been and/or that may be applied for
    and/or issued in respect thereof, including application Nos. 3,025,355; 3,022,513; 3,025,362 and
    3,060,108;

    NOW, THEREFORE, in consideration of the sum of One Dollar ($1.00) and other valuable
    consideration, the receipt of which is hereby acknowledged, THEIA GROUP, INC. hereby sells,
    assigns and transfers unto said Assignee, its successors and assigns, and hereby confirms that it has sold,
    assigned and transferred unto said Assignee, the entire Canadian right, title and interest in and to said
    Inventions, including all Canadian patent applications for or in relation to the Inventions, including
    application Nos. 3,025,355 and 3,022,513 and 3,025,362, and 3,060,108, and the right to any and all
    patent or patents that may be issued or reissued in respect thereof. THEIA GROUP, INC. hereby
    authorizes the Commissioner to issue any letters patent thereon, and reissues thereof, to said Assignee,
    its successorsand assigns; and hereby authorizes said Assignee, its successors and assigns, to file on its
    own behalf and/or in its own name, applications for patents in Canada for or in relation to the
    Inventions hereby transferred, and to secure in its own name the patent or patents issued thereon.

    THEIA GROUP, INC. hereby assigns, transfers and sells all rights herein, including, rights to the
    inventions, patent applications, and patent rights, AS IS, WHERE IS and without representation,
    warranty, or recourse of any kind.

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                                                         1
         Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 130 of 196
\
\




    Signature of Legal Representative of       Witness Signature:____________________
    Theia Group, Inc.                          Witness Name (please print): ___________

    : ________________________________
    BY: Michael Fuqua
    Receiver for Theia Group, Inc.

    Signature of Legal Representative of       Witness Signature:____________________
    Rising Sky, LLC                            Witness Name (please print): ___________

    : _________________________________
    BY: Mitchell Adams


    Title: __________________________




                                           2
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                               ASSIGNMENT

The undersigned, THEIA GROUP, INCORPORATED, the full post office address of whose
principal office or place of business is 1600 Market Street, Ste. 1320, Philadelphia, Pennsylvania
USA 19103, in consideration of the sum of $1.00 and other good and valuable consideration, the
sufficiency and receipt of which is hereby acknowledged, does, by way of the Receiver Michael
Fuqua, hereby sell, assign and transfer to RISING SKY, LLC, whose full post office is 1001 4th Ave,
Suite 4330, Seattle, Washington, USA, 98154, its successors and assigns, all of its rights in the
Canadian trademarks, and Canadian Trademark Applications (and the corresponding registrations
to issue therefrom) set out in the below listed Schedule to Assignment, including the goodwill
appertaining to the said trademarks in Canada. THEIA GROUP, INCORPORATED sells, assigns
and transfers all rights herein AS IS, WHERE IS and without representation, warranty, or recourse
of any kind.

EXECUTED at __________________ , this ______ day of _____________ , 2022.

Signature of Legal Representative of
THEIA GROUP, INCORPORATED

__________________ c/s
BY: Michael Fuqua
Receiver for Theia Group, Inc.

The undersigned, RISING SKY, LLC whose full postal office address or principal place of business
is 1001 4th Ave, Suite 4330, Seattle, Washington, USA, 98154 hereby accepts the above assignment
and accepts the assignment of the rights herein, AS IS, WHERE IS and without representation,
warranty, or recourse of any kind. RISING SKY, LLC appoints Philip Kerr of KERR & NADEAU,
whose full postal office address is 190 O'Connor Street, Suite 610, Ottawa, Ontario, Canada K2P
2R3 , as its agent and the firm to which any notice in respect of the above-referenced trademarks may
be sent and upon which service of any proceedings in respect of the trademark applications and
registrations may be given or served with the same effect as if they had been given to or served upon
the owner.

EXECUTED at __________________ , this ______ day of _____________ , 2022.

Signature of Legal Representative of
RISING SKY, LLC

By ___________________ c/s
Name:
Title:



                                 SCHEDULE TO ASSIGNMENT



           Application/Registration No.:              Trade-mark:
             1927904 (attached below)                 TOTAL-CAPTURE
             1927885 (attached below)                 DECISION-GRADE
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TOTAL-CAPTURE — 1927904

Application number              Index headings
1927904                         TOTAL-CAPTURE

Type(s)                         Services (Nice class & Statement)
Word                            42             (1) Conducting remote sensing of data via visible and
                                               non-visible electromagnetic wavelengths, such that
Category                                       materially all of the available wavelengths necessary
Trademark                                      to perform the subsequent analytics tasks are obtained
CIPO status                                    at once; Conducting remote sensing of data via visible
REGISTRATION PENDING                           and non-visible electromagnetic wavelengths, such
                                               that materially all of the available wavelengths
TM5 status                                     necessary to perform the subsequent analytics tasks
LIVE/APPLICATION/ Published                    are obtained at a rate faster than the underlying
for Opposition
                                               activity rate of the industry, activity, or process being
                                               observed


                                Claims
A pending trademark
application has been            Priority Filing Date: April 27, 2018, Country or Office: UNITED STATES
examined by the Office and      OF AMERICA, Application No. No. 87896703 in association with the
has been published in a way     same kind of services
that provides an opportunity    Proposed Use in CANADA
for the public to oppose its
registration.

Filed
2018-10-24

Applicant
THEIA GROUP, INCORPORATED
1600 Market Street Ste. 1320
Philadelphia, Pennsylvania
19103 UNITED STATES OF
AMERICA

Agent
KERR & NADEAU 190 O'Connor
Street, Suite 610 Ottawa
ONTARIO K2P2R3


Action History

 Action                            Action date       Due date          Comments
 Filed                             2018-10-24
 Created                           2018-10-30
 Formalized                        2018-10-31
 Search Recorded                   2021-05-13
 Examiner'S First Report           2021-05-13        2021-11-13
 Approved                          2022-06-14                          APPROVED BY PROGRAM EX200M1
 Approval Notice Sent              2022-06-14                          APPROVED BY PROGRAM EX200M1
 Advertised                        2022-08-03                          Vol.69 Issue 3536
 Registration Pending              2022-10-26
 Registration Fee Notice Sent      2022-10-26        2023-04-26




                                                                                                           Page 1 of 1
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DECISION-GRADE — 1927885

Application number              Index headings
1927885                         DECISION-GRADE

Type(s)                         Services
Word                            (1) Providing analytics as a service including obtaining, interpreting,
                                analyzing and reporting data, including, for example, for
                                commercial, agricultural, geologic, energy and industrial fields,
Category                        especially where the quality of the analytics are sufficient to
Trademark                       replace human decision making.

CIPO status
SEARCHED                        Classification data
                                Disclaimer
TM5 status                      The classification data is provided for information and searching
LIVE/APPLICATION/ Under         purposes only. CIPO does not warrant the accuracy of the classes
Examination                     assigned to the trademark. This data has no legal value of any kind.

                                35 - Advertising, marketing, promotional and business
                                Claims
                                Priority Filing Date: April 27, 2018, Country or Office: UNITED STATES
The trademark application has   OF AMERICA, Application No. 87/896,620 in association with the
been accepted by the Office     same kind of services
(has met the minimum filing     Proposed Use in CANADA
requirements) and that this
application has been
assigned to an examiner.

Filed
2018-10-24

Applicant
THEIA GROUP, INCORPORATED
1600 Market Street Ste. 1320
Philadelphia Pennsylvania
19103 UNITED STATES OF
AMERICA

Agent
KERR & NADEAU 190 O'Connor
Street, Suite 610 Ottawa
ONTARIO K2P2R3


Action History

 Action                                        Action date               Due date                 Comments
 Filed                                         2018-10-24
 Created                                       2018-10-30
 Formalized                                    2018-10-30
 Search Recorded                               2021-07-19
 Examiner'S First Report                       2021-07-19                2022-01-19
 Correspondence Created                        2022-09-27                2023-03-27




                                                                                                             Page 1 of 1
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 MM5 (E) – REQUEST FOR THE RECORDING OF A CHANGE IN OWNERSHIP


     For use by the holder (transferor)/new holder (transferee):

     Number of continuation sheets             0
     for several new holders
     (transferees):

     Number of continuation sheets:           0

     Holder/New holder s reference:           19-907869(MP)/22-907869(MP)

     For use by the Office:

     Office s reference:


     1. INTERNATIONAL REGISTRATION NUMBER(S)

     Several international registrations may be indicated below, provided that all registrations
     concerned are the subject of a total change in ownership, as provided for in item 6(a))1.

     1471579
     1473951




     2. NAME OF THE HOLDER (TRANSFEROR)2

     As recorded in the International Register.

     Theia Group, Incorporated




 1       If this request relates to a partial change in ownership, as provided for in item 6(b), this form may only be
 used to request the recording of a change in ownership for a single international registration.
 2       Where the international registration is jointly owned indicate the names of each joint holder as recorded in
 the international registration here.

 MM5 (E)     November 2021
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     3. NEW HOLDER (TRANSFEREE)3

     If there is more than one new holder (transferee), indicate the number of new holders
     (transferees) and complete the Continuation Sheet for Several New Holders .

     Number of new holders (transferees): 1

     (a)   Name:           RISING SKY, LLC



     (b)   Address:
           1001 4th Ave
           Suite 4330
           Seattle, Washington, US, 98154




     (c)   E-mail address4:


     (d)   Telephone number5:




 3       If there is more than one new holder (transferee), indicate the details for the first new holder (transferee) only
 and provide the name(s), address(es) and email address(es) of the additional joint ne holder(s) in the Continuation
 Sheet for Several New Holders (Transferees) attached to this form.
 4       You must indicate the e-mail address of the new holder (transferee). If a representative is appointed,
 the e-mail address of the new holder (transferee) and of the representative must be different. If you do not indicate
 the e-ail address of the new holder (transferee), or it is the same as the e-mail address of the representative, you will
 receive an irregularity notice and delay the recording of the change in ownership. The new holder (transferee) must
 ensure that the e-mail address indicated here is correct and kept up to date.
         Where there is more than one holder (transferee), each holder (transferee) must provide their own e-mail
 address, which must be different from each other and their representative, if any.
         WIPO will send all communications concerning the international registration(s) in item 1 to the e-mail address
 of the new holder (transferee), unless an alternative e-mail address for correspondence is indicated in item 3(g)(ii) or
 a representative is appointed in item 5.
         Where a representative is appointed, WIPO will only send communications to the e-mail address of the
 representative, except for a few communications where the Regulations require that WIPO send a copy to the holder
 (see the Note for Filing Form MM5).
         Where there are several new holders (joint transferees) and no alternative e-mail address for correspondence
 is indicated, and no representative is appointed, WIPO will send communications only to the e-mail address indicated
 for the first new holder (transferee) in the form.
 5       Indicating a phone number is not required, but it will allow WIPO to reach you if needed.

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                                                                                                  MM5 (E), page 3


     (e)   Nationality or legal nature and State of organization6:

           (i)         If the new holder (transferee) is a natural person, indicate the nationality of
                       the new holder (transferee):
                       Nationality of the new
                       holder (transferee):


           (ii)        If the new holder (transferee) is a legal entity, provide both the following
                       indications:
                       Legal nature of the      Limited Liability Company
                       legal entity:

                       State (country) and,    US, State of Delaware
                       where applicable,
                       territorial unit within
                       that State (canton,
                       province, state, etc.),
                       under the law of which
                       the said legal entity
                       has been organized:

     Correspondence details (optional):

     (f)   Preferred language                     English                       French                   Spanish
           for correspondence7:

     (g)   Alternative address and e-mail address for correspondence8:

           (i)    Postal address:
                  150 N. Radnor Chester Rd.
                  Suite F200
                  Radnor, PA 19087
                  US




           (ii)   E-mail address:          fbonini@boninilaw.com




 6       Certain designated Contracting Parties may require these indications; only provide indications in either
 item (i) or item (ii) but not in both items.
 7       The new holder (transferee) may choose a preferred language for correspondence.
 8       Use this only if you want WIPO to send all communications concerning the international registration(s) in
 item 1 to an address and e-mail address different from those indicated in item 3 (b) and (c).

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                                                                                                      MM5 (E), page 4


     4. ENTITLEMENT OF THE NEW HOLDER (TRANSFEREE) TO BE THE RECORDED
     HOLDER OF THE INTERNATIONAL REGISTRATION(S)9

     (a)    Indicate in the appropriate spaces:

            (i)     the name of the Contracting State of which the new holder (transferee) is a
                    national; and/or,
                    US


            (ii)    the name of the State member of a Contracting Organization of which the new
                    holder (transferee) is a national; and/or,



            (iii)   the name of the Contracting Party in the territory of which the new holder
                    (transferee) is domiciled; and/or,



            (iv)    the name of the Contracting Party in the territory of which the new holder
                    (transferee) has a real and effective industrial or commercial establishment:



     (b)    Where the new holder (transferee) is not a national of a Contracting State or of a
            State member of a Contracting Organization and the address given in item 3(b)
            is not in the territory of any of the Contracting Parties mentioned in
            paragraph (a)(iii) or (iv) of the present item, indicate in the space provided
            below:

            (i)     the address of the new holder (transferee) in the territory of the Contracting
                    Party mentioned in paragraph (a)(iii) of the present item; or,

            (ii)    the address of the ne holder s (transferee) industrial or commercial
                    establishment in the territory of the Contracting Party mentioned in paragraph
                    (a)(iv) of the present item.




 9       If there is more than one new holder (transferee), indicate the entitlement details for the first new holder
 (transferee) only and refer to further instructions pro ided in the Continuation Sheet for Several New Holders
 (Transferees) , attached to this form.

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                                                                                                      MM5 (E), page 5


      5. APPOINTMENT OF A REPRESENTATIVE BY THE NEW HOLDER (TRANSFEREE)10

      (a)   Name:          Frank J. Bonini, Jr.



      (b)   Address:
            Bonini IP Law, LLC
            150 N. Radnor Chester Rd.
            Suite F200
            Radnor, PA 19087
            US



      (c)   E-mail address11:               fbonini@boninilaw.com


      (d)   Telephone number12:             484-382-3060


      SIGNATURE OF THE NEW HOLDER (TRANSFEREE) APPOINTING THE ABOVE
      REPRESENTATIVE13

      The new holder (transferee) must sign this item in order for the appointment to be recorded.

      Signature:
                     __________________
                     Mitchell Adams (title: ________________)



      6. SCOPE OF THE CHANGE IN OWNERSHIP14

      Check either (a) or (b).

      (a)          Total change in ownership (the change in ownership is to be recorded for all the
                   Contracting Parties designated in the international registration(s) indicated in
                   item 1, and for all the goods and services covered by such international
                   registration(s)).


 10      You must indicate the name, address and e-mail address of the representative (and sign this item) otherwise,
 WIPO cannot record the appointment.
 11      When a representative is appointed, WIPO will send all communications concerning the international
 registration(s) in item 1 only to the e-mail address of the representative, except for a few communications where the
 Regulations require that WIPO send a copy to the holder (see the Note for Filing Form MM5). The new holder
 (transferee) and the representative must ensure that the e-mail address indicated here is accurate and kept up
 to date.
 12
         Indicating a phone number is not required, but it will allow WIPO to reach your representative if needed.
 13      If the signature of the new holder (transferee) is missing, WIPO will process the request but the representative
 will not be recorded (even if the same representative is recorded in the international registration for the current holder
 (transferor)).
 14      Where the request concerns Brazil, as designated Contracting Party, the new holder (transferee) declares
 that the transferee, or a company controlled by the transferee, effectively and lawfully conducts business in
 connection with the goods and services for which the international registration has effect in Brazil; and, agrees to
 receive notifications, including summons, not covered by the Madrid Protocol, concerning this international
 registration, issued in judicial proceedings held in Brazil, by post.

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                                                                                              MM5 (E), page 6


      (b)          Partial change in ownership (If this request relates to a partial change in
                   ownership, this form may only be used to request the recording of a change in
                   ownership for a single international registration).

            (i)     the change in ownership is to be recorded for the designated Contracting Parties
                    indicated below (if no Contracting Party is indicated, it will be understood that the
                    change in ownership is to be recorded in respect of all the designated
                    Contracting Parties); and/or,
                    Designated
                    Contracting
                    Parties:




            (ii)    the change in ownership is to be recorded for the goods and services indicated
                    below (grouped in the appropriate classes); if no goods and services are
                    indicated, it will be understood that the change in ownership is to be recorded in
                    respect of all goods and services15.




            If the space provided is not sufficient, check the box and use a continuation sheet.


 15    You can use the Madrid Goods and Services Manager (MGS) to find indications accepted by WIPO. In MGS,
 you can also find acceptance information for selected Contracting Parties. MGS is available at www.wipo.int/mgs.
 Use font Courier Ne or Times Ne Roman , si e 12 pt., or larger.
 Use semicolon (;) to separate indications or goods or services listed in a given class. For example:
                09     Screens for photoengraving; computers.
                35     Advertising; compilation of statistics; commercial information agencies.

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                                                                                       MM5 (E), page 7


   7. SIGNATURE OF THE HOLDER (TRANSFEROR) AND/OR THEIR REPRESENTATIVE

   Holder (transferor) (as recorded in the International Register):

   By signing this form, I declare that I am entitled to sign it under the applicable law.
   Name:        Michael Fuqua
                  Receiver (legal representative) for Theia Group, Incorporated
   Signature:




   Representative of the holder (transferor) (as recorded in the International Register):

   By signing this form, I declare that I am entitled to sign it under the applicable law.
   Name:


   Signature:




   8. SIGNATURE OF THE OFFICE PRESENTING THE REQUEST

   Where the request is presented through an Office.

   (a)     Name of the Office:




   (b)     Name and signature of the official signing on behalf of the Office:
           By signing this form, I declare that I am entitled to sign it under the applicable law.




   (c)     E-mail address of the contact person in the Office:




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   FEE CALCULATION SHEET

   (a)     INSTRUCTIONS TO DEBIT FROM A CURRENT ACCOUNT

           The International Bureau is hereby instructed to debit the required amount of fees from
           a current account opened with the International Bureau (if this box is checked, it is not
           necessary to complete (b)).

   Holder of the account:


   Account number:

   Identity of the party giving the
   instructions:


   (b)     AMOUNT OF FEES

   Amount (177 Swiss          x 2        (per international       GRAND TOTAL         = 354
   francs)                               registration mentioned   (Swiss francs)
                                         in item 1)

   (c)     METHOD OF PAYMENT

   Identity of the party effecting the
   payment:


   Payment received and acknowledged by               WIPO receipt number
   WIPO


   Payment made to WIPO bank account                  Payment identification           dd/mm/yyyy
   IBAN No. CH51 0483 5048 7080 8100 0
   Crédit Suisse, CH-1211 Geneva 70
   Swift/BIC: CRESCHZZ80A

   Payment made to WIPO postal account                Payment identification           dd/mm/yyyy
   (within Europe only)
   IBAN No. CH03 0900 0000 1200 5000 8
   Swift/BIC: POFICHBE




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      CONTINUATION SHEET FOR SEVERAL NEW HOLDERS                                     No.               of
      (TRANSFEREES)

      Please, complete a separate continuation sheet for each new holder (transferee).

      NEW HOLDER (TRANSFEREE)                    No.                 of

      (a)   Name:



      (b)   Address:




      (c)   E-mail address16:


      (d)   Telephone number17:


      (e)   Nationality or legal nature and State of organization18:

            (i)         If the new holder (transferee) is a natural person, indicate the nationality of
                        the new holder (transferee):
                        Nationality of the new
                        holder (transferee):


            (ii)        If the new holder (transferee) is a legal entity, provide both the following
                        indications:
                        Legal nature of the
                        legal entity:

                        State (country) and,
                        where applicable,
                        territorial unit within that
                        State (canton, province,
                        state, etc.), under the
                        law of which the said
                        legal entity has been
                        organized:


 16      You must indicate the e-mail address of each new holder (transferee). Where there is more than one new
 holder (transferee), each new holder (transferee) must provide their own e-mail address, which must be different from
 each other and their representative, if any.
         WIPO will send all communications concerning the international registration(s) in item 1 only to the e-mail
 address of the new holder (transferee) named first in item 3 of the attached form, unless an alternative e-mail address
 for correspondence is indicated in item 3(g)(ii), or a representative is appointed in item 5. The new holders
 (transferees) must ensure that the e-mail address indicated here is correct and kept up to date.
 17      Indicating a phone number is not required, but it will allow WIPO to reach you if needed.
 18      Certain designated Contracting Parties may require these indications; only provide indications in either
 item (i) or item (ii) but not in both items.

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   ENTITLEMENT OF THE NEW HOLDER (TRANSFEREE) TO BE THE RECORDED
   HOLDER OF THE INTERNATIONAL REGISTRATIONS(S)

   (a)     Indicate in the appropriate spaces:

           (i)     the name of the Contracting State of which the new holder (transferee) is a
                   national; and/or,



           (ii)    the name of the State member of a Contracting Organization of which the new
                   holder (transferee) is a national; and/or,
                                                                                             ; or


           (iii)   the name of the Contracting Party in the territory of which the new holder
                   (transferee) is domiciled; and/or,



           (iv)    the name of the Contracting Party in the territory of which the new holder
                   (transferee) has a real and effective industrial or commercial establishment:



   (b)     Where the new holder (transferee) is not a national of a Contracting State or of a
           State member of a Contracting Organization and the address given in item 3(b)
           is not in the territory of any of the Contracting Parties mentioned in
           paragraph (a)(iii) or (iv) of the present item, indicate in the space provided
           below:

           (i)     the address of the new holder (transferee) in the territory of the Contracting
                   Party mentioned in paragraph (a)(iii) of the present item; or,

           (ii)    the address of the ne holder s (transferee) industrial or commercial
                   establishment in the territory of the Contracting Party mentioned in paragraph
                   (a)(iv) of the present item.




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   CONTINUATION SHEET                          No.       of




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                                       Assignment Agreement

           This Assignment Agreement is made by and between, THEIA GROUP, INCORPORATED
(“Assignor”), a company incorporated in the United States with an address at 1600 Market Street, Suite
1320, Philadelphia, PA 19103, United States, and RISING SKY, LLC (“Assignee”), a limited liability
company organized in the state of Delaware, United States with an address at 1001 4TH Ave, Suite 4330,
Seattle, WA 98154, United States.


Assignor owns the patent properties identified in the below Patent Schedule, and hereby assigns, transfers
and sells all rights herein, including, rights to the invention, patent application, and patent rights, AS IS,
WHERE IS and without representation, warranty, or recourse of any kind.


           Assignee hereby accepts the Patents and Patent Applications assigned by the Assignor with all
rights and obligations derived there from without any restrictions.


           Assignor and Assignee consent to the recordal of this Assignment Agreement.



Patent Schedule

Country/
                  Application No.           Filing Date                                  Title
Region
                                                                 SYSTEM FOR VERIFICATION OF INTEGRITY
 China          201780034799.8            5 December 2018
                                                                      OF UNMANNED AERIAL VEHICLES
                                                                   SYSTEM FOR COMMUNICATIONS WITH
 China          201780034674.5            4 December 2018        UNMANNED AERIAL VEHICLES USING TWO
                                                                               FREQUENCY BANDS
                                                                   RADAR SYSTEM TO TRACK LOW FLYING
 China          201780044315.8            17 January 2019             UNMANNED AERIAL VEHICLES AND
                                                                                      OBJECTS
                                                                   RADAR SYSTEM TO TRACK LOW FLYING
 China          202211006541.6            22 August 2022              UNMANNED AERIAL VEHICLES AND
                                                                                OBJECTS
                                                                      LOW EARTH ORBIT SATELLITE
                                                                      CONSTELLATION SYSTEM FOR
 China         201780041978.4             3 May 2017
                                                                    COMMUNICATIONS WITH RE-USE OF
                                                                  GEOSTATIONARY SATELLITE SPECTRUM
                                                                     SYSTEM FOR TRANSMISSION AND
               201780044671.X              31 May 2017            DIGITIZATION OF MACHINE TELEMETRY
 China
                                                                     SYSTEM FOR TRANSMISSION AND
 China         202210644262.6              9 June 2022            DIGITIZATION OF MACHINE TELEMETRY

                                                                SYSTEM FOR RECORDING AND REAL-TIME
 China         201880027333.X            24 October 2019        TRANSMISSION OF IN-FLIGHT OF AIRCRAFT
                                                                    COCKPIT TO GROUND SERVICES
                                                                   SYSTEM FOR EMPLOYING CELLULAR
                                          1 March 2018             TELEPHONE NETWORKS TO OPERATE,
 China         201680050801.6
                                                                   CONTROL AND COMMUNICATE WITH
                                                    1/3
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                                                    UNMANNDED AERIAL VEHICLES AND
                                                       REMOTE PILOTED VEHICLES

                                                   SYSTEM FOR VERIFICATION OF INTEGRITY
Hong Kong        19128459.5      20 August 2019
                                                       OF UNMANNED AERIAL VEHICLES
                                                     SYSTEM FOR COMMUNICATIONS WITH
Hong Kong        19128717.6      26 August 2019    UNMANNED AERIAL VEHICLES USING TWO
                                                            FREQUENCY BANDS
                                                    RADAR SYSTEM TO TRACK LOW FLYING
Hong Kong        19128899.2      29 August 2019       UNMANNED AERIAL VEHICLES AND
                                                                 OBJECTS
                                                        LOW EARTH ORBIT SATELLITE
Hong Kong         19128790.3    27 August 2019          CONSTELLATION SYSTEM FOR
                                                      COMMUNICATIONS WITH RE-USE OF
                                                    GEOSTATIONARY SATELLITE SPECTRUM
                                                       SYSTEM FOR TRANSMISSION AND
Hong Kong        19129017.0     2 September 2019    DIGITIZATION OF MACHINE TELEMETRY


                                                   SYSTEM FOR RECORDING AND REAL-TIME
Hong Kong       62020015084.0    27 August 2020    TRANSMISSION OF IN-FLIGHT OF AIRCRAFT
                                                       COCKPIT TO GROUND SERVICES



[Signature page follows.]




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Assignor (Seal or Signature)


    THEIA GROUP, INCORPORATED




Michael Fuqua, Receiver for Theia Group Incorporated
(legal representative)

Dated this




Assignee (Seal or Signature)


RISING SKY, LLC




Mitchell Adams
Title: ____________
Rising Sky, LLC (legal representative)

Dated this




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                  专 利 代 理 委 托 书 （ 中 英 文 ）
                             POWER OF ATTORNEY
     我/我们是 美国             的公民/法人，根据中华人民共和国专利法第 18 条的规定，兹委
托       深圳市百瑞专利商标事务所（普通合伙） （机构代码 44240 ），并由该机构指
定其专利代理人                    、                代为办理下述专利申请（或专利）在中华人民共
和国的全部专利事宜。


Pursuant to the Article 18 of the Patent Law of the People’s Republic of China, I/we,
citizen/legal entity of US hereby authorize BAIRUI PATENT & TRADEMARK OFFICE
(Code: 44240 ) to appoint its patent attorney(s)                       ,           to handle all
patent affairs related to the following applications or patents in the PRC.




     Application No.            Filing Date                                Title

                                                     SYSTEM FOR VERIFICATION OF INTEGRITY
    201780034799.8        5 December 2018
                                                         OF UNMANNED AERIAL VEHICLES
                                                       SYSTEM FOR COMMUNICATIONS WITH
    201780034674.5        4 December 2018            UNMANNED AERIAL VEHICLES USING TWO
                                                               FREQUENCY BANDS
                                                      RADAR SYSTEM TO TRACK LOW FLYING
    201780044315.8        17 January 2019               UNMANNED AERIAL VEHICLES AND
                                                                     OBJECTS
                                                      RADAR SYSTEM TO TRACK LOW FLYING
    202211006541.6        22 August 2022                UNMANNED AERIAL VEHICLES AND
                                                                    OBJECTS
                                                    LOW EARTH ORBIT SATELLITE CONSTELLATION
                                                   SYSTEM FOR COMMUNICATIONS WITH RE-USE OF
    201780041978.4          3 May 2017
                                                       GEOSTATIONARY SATELLITE SPECTRUM

                                                   SYSTEM FOR TRANSMISSION AND DIGITIZATION
    201780044671.X           31 May 2017                    OF MACHINE TELEMETRY

                                                   SYSTEM FOR TRANSMISSION AND DIGITIZATION
    202210644262.6           9 June 2022                    OF MACHINE TELEMETRY

                                                     SYSTEM FOR RECORDING AND REAL-TIME
    201880027333.X         24 October 2019           TRANSMISSION OF IN-FLIGHT OF AIRCRAFT
                                                         COCKPIT TO GROUND SERVICES
                                               SYSTEM FOR EMPLOYING CELLULAR TELEPHONE
                                                  NETWORKS TO OPERATE, CONTROL AND
    201680050801.6
                            1 March 2018         COMMUNICATE WITH UNMANNDED AERIAL
                                                 VEHICLES AND REMOTE PILOTED VEHICLES
   Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 149 of 196




     委托人姓名或名称                        上升天空有限责任公司
     Authorized by (Name)              RISING SKY, LLC


     委托人签字或盖章
     Signature or Seal
                                    Mitchell Adams
                                    Title: _______________
                                    Rising Sky, LLC
                                    (legal representative)
     委托日期
     Date of Authorization


     被委托专利代理机构盖章
     Seal of the Authorized Agent     BAIRUI PATENT & TRADEMARK OFFICE




100021
2021.6
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                                 Assignment

Theia Group, Inc.                            Rising Sky, LLC.
1600 Market Street                           1001 4TH Ave
Suite 1320                                   Suite 4330
Philadelphia, PA 19103                       Seattle, WA 98154

(Assignor)                                   (Assignee)



The Assignor assigns European Patent Applications

       - 16 843 096.5
       - 17 783 379.5
       - 17 786 815.5
       - 17 803 755.2
       - 17 807 419.1
       - 18 791 594.7
       -
to the Assignee. The Assignee herewith accepts the assignment. The Assignor and
the Assignee request the registration of the assignment in the register of the
European Patent Office.

The rights assigned, sold, and transferred hereunder, including rights to the
invention, patent application, and patent rights, are being assigned, sold and
transferred, AS IS, WHERE IS and without representation, warranty, or recourse of
any kind.




X___________________________________ X____________________________
  Place; Date                                    Assignor, represented by:
                                                 Michael Fuqua, Receiver for Theia Group,
                                                 Incorporated (legal representative),
                                                 Theia Group, Incorporated




X____________________________________ X____________________________
  Place; Date                                    Assignee, represented by:
                                                 Mitchell Adams,
                                                 Title: ________________ Rising Sky, LLC
                                                 Rising Sky, LLC.
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                               Assignment

Theia Group, Inc.                          Rising Sky, LLC.
1600 Market Street                         1001 4TH Ave
Suite 1320                                 Suite 4330
Philadelphia, PA 19103                     Seattle, WA 98154

(Assignor)                                 (Assignee)



The Assignor assigns European Patent EP3453223B1, especially the national forces
in all of the validation countries, including the following:

Belgium,                 EP 3453223
Germany,                 EP 3453223 / DE 60 2017 047 220.4
France,                  EP 3453223
Luxembourg,              EP 3453223
Netherlands,             EP 3453223
Switzerland,             EP 3453223
United Kingdom,          EP 3453223
Sweden,                  EP 3453223
Italy,                   EP 3453223 / IT 502021000106547
Austria,                 EP 3453223
Liechtenstein,           EP 3453223
Greece,                  EP 3453223
Spain,                   EP 3453223
Denmark,                 EP 3453223
Monaco,                  EP 3453223
Portugal,                EP 3453223
Ireland,                 EP 3453223
Finland,                 EP 3453223
Cyprus,                  EP 3453223
Turkey ,                 EP 3453223
Bulgaria,                EP 3453223
Czech Republic,          EP 3453223
Estonia,                 EP 3453223
Slovakia,                EP 3453223
Slovenia,                EP 3453223
Hungary,                 EP 3453223
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                                                                                            Seite 2


Romania,                  EP 3453223
Poland,                   EP 3453223
Iceland,                  EP 3453223
Lithuania,                EP 3453223
Latvia,                   EP 3453223
Malta,                    EP 3453223
Croatia,                  EP 3453223
Norway,                   EP 3453223
North Macedonia,          EP 3453223
San Marino,               EP 3453223
Albania,                  EP 3453223
Serbia                    EP 3453223

to the Assignee. The Assignee herewith accepts the assignment. The Assignor and
the Assignee request the registration of the assignment in the register of the
European Patent Office, and in each/any validation country that accepts and/or
requires that the assignment be recorded.

The rights assigned, sold, and transferred hereunder, including rights to the
invention, patent application, and patent rights, are being assigned, sold and
transferred, AS IS, WHERE IS and without representation, warranty, or recourse of
any kind.




X___________________________________ X____________________________
  Place; Date                                    Assignor, represented by:
                                                 Michael Fuqua, Receiver for Theia Group,
                                                 Incorporated (legal representative),
                                                 Theia Group, Incorporated




X____________________________________ X____________________________
  Place; Date                                    Assignee, represented by:
                                                 Mitchell Adams,
                                                 Title: ________________ Rising Sky, LLC
                                                 Rising Sky, LLC.




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                                                                                      ISRAEL
                                                                            (NO LEGALISATION)



                          POWER OF ATTORNEY
I (we):                         RISING SKY, LLC
hereby appoint                  LUZZATTO & LUZZATTO
                               P.O. B. 5352, Beer-Sheva 84 152
severally and jointly to act as my (our) lawful agent(s) for the purpose of
-- making and/or prosecuting applications for the grant of patents or the registration of
    designs or trade marks;
-- applying for the renewal, the extension and the restoration of patents, designs or trade
    marks; making applications for the entry in the respective registers of assignments,
    mortgages or licenses in respect of patents or designs, or trademarks;
-- opposing the grant of patents, or the registration of trade marks;
-- filing and conducting petitions for revocation of patents;
-- instituting, conducting or defending any proceedings before the Registrar of Patents,
    Designs and Trademarks, including proceedings for the cancellation of designs or trade
    marks, or the rectification or correction of the respective registers, or petitions for
    extension orders and oppositions thereto, or the grant of compulsory licenses in respect of
    patents or designs;
-- applying for leave to amend patent specifications or to add to or alter trade marks;

and in connection with the above, I (we) authorize said agent(s) to make any declarations and
sign any documents which they may lawfully make or sign in my (our) name(s); to withdraw
any applications or declarations made; to appeal before the Registrar of Patents and Designs,
the Registrar of Trade Marks and to oppose an appeal; to institute and act on my (our) behalf
in any proceedings before any Court in Israel and to appoint any attorney at law to represent
me (us) in the said proceedings; to receive all notices, requisitions and communications; to
indicate addresses for service; to pay any fees prescribed; to demand, enforce and receive
any payments from opposite parties and to give valid receipts; to inspect any files or
registers; to make agreements with opposite parties in or in connection with the above
proceedings; and to delegate in whole or in part the powers hereby conferred.

I (we) hereby declare that I am (we are)*: a US company

Address: 1001 4TH Avenue, Suite 4330, Seattle, WA, 98154, U.S.A


Dated this _______ day of ____________ 2023

                                                    ___________________________
                                                               (signature)

                                                 1(by)   Mitchell Adams

                                                 2(by)   ___________________
                                                         Title
(PoA v-0101)
*Here insert nationality of applicant(s)
(1) Here insert full name of signatory
(2) Here insert position of signatory                       (Authorized Signature)
#
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                                                                                          38359/IL/18-np1
                                                                                        38359/IL/18-DIV1
                                                                                          38360/IL/18-np2
                                                                                        38360/IL/18-DIV1
                                                                                          39682/IL/19-np2
                                                                                          38281/IL/18-np1
                                        ASSIGNMENT

WHEREAS, I/We,

THEIA GROUP, INC. a US corporation, having a place of business at 1600 Market Street,
Suite 1320 Philadelphia, PA 19103, U.S.A.;
Hereinafter referred to as Assignor, is the owner of the entire right, title and interest in and to the
following Israeli Patent Applications:

       No. 295502 and No. 263313, having the title "RADAR SYSTEM TO TRACK LOW
       FLYING UNMANNED AERIAL VEHICLES AND OBJECTS"; and

       No. 263244 and No. 294633, having the title "SYSTEM FOR TRANSMISSION AND
       DIGITIZATION OF MACHINE TELEMETRY"

       No. 270042, having the title “SYSTEM FOR RECORDING AND REAL-TIME
       TRANSMISSION OF IN-FLIGHT OF AIRCRAFT COCKPIT TO GROUND
       SERVICES”

       (hereinafter: “the applications”);

and the following Israeli Patent(s):

       No. 262694, having the title " LOW EARTH ORBIT SATELLITE CONSTELLATION
       SYSTEM FOR COMMUNICATIONS WITH RE-USE OF GEOSTATIONARY
       SATELLITE SPECTRUM " (hereinafter: “the Patent”);

AND WHEREAS, I/We,

RISING SKY, LLC, a US limited liability company of the state of Delaware, having a place
of business at 1001 4TH Avenue, Suite 4330, Seattle, WA, 98154, U.S.A.;
Hereinafter referred to as Assignee, is desirous of obtaining all right, title and interest in and to the
above mentioned applications.

NOW, THEREFORE, In consideration of One Dollar ($ 1.00) to said Assignor in hands paid, and
other good and valuable consideration, the receipt of which is hereby acknowledged, the Assignor
does hereby sell, assign, transfer and set over unto the Assignee, its successors, legal representatives
and assigns all its above rights, title and interest in and to the applications and the patent including
the goodwill symbolized by the applications and patent set forth above and covenant without further
remuneration, to execute and deliver all documents required for transferring the applications and the
patent to said Assignee or its assigns, to communicate to said assignee or its representatives all facts
known to the undersigned with respect to the applications and the patent, whenever requested, to
testify in any legal proceedings in which the applications and the patent may become involved, to
sign all lawful papers, make all rightful oaths, and to do generally everything necessary to aid said
Assignee, its successors, assigns and nominees to register the Assignment of the applications and the
patent, the expenses incident to said applications and patent to be borne and paid by said Assignee.
The rights assigned, sold, and transferred hereunder by Assignor, including rights to the invention,

                                                   1
   Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 155 of 196
                                                                                         38359/IL/18-np1
                                                                                       38359/IL/18-DIV1
                                                                                         38360/IL/18-np2
                                                                                       38360/IL/18-DIV1
                                                                                         39682/IL/19-np2
                                                                                         38281/IL/18-np1
patent application, and patent rights, are being assigned, sold and transferred, AS IS, WHERE IS and
without representation, warranty, or recourse of any kind.

The Assignor confirms that this Assignment includes all of all statutory and common law rights
attaching to the applications and patent and the right to sue for past infringements and to retain any
damages as a result of such action.

IN TESTIMONY WHEREOF, said parties have executed this document on the date indicated
below.

Accepted and agreed:

                                                               Receiver for Theia Group,
__________      ______________         Michael Fuqua         Incorporated (legal representative)
   Date          Theia Group,                 By                            Position
                  Incorporated


__________      ______________         Mitchell Adams            ________________________
   Date          Rising Sky, LLC             By                          Position




                                                   2
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                                                                                        38359/IL/18-np1
                                                                                      38359/IL/18-DIV1
                                                                                        38360/IL/18-np2
                                                                                      38360/IL/18-DIV1
                                                                                        39682/IL/19-np2
                                                                                        38281/IL/18-np1
                                  NOTARIAL CERTIFICATE
State of Georgia

County of Fulton

This instrument ASSIGNMENT AGREEMENT was acknowledged before me this _______day of
________ (month), _________ (year), by Michael Fuqua, Receiver of THEIA GROUP,
INCORPORATED., a Delaware corporation, on behalf of the corporation,

who is
____personally known
 ____proved to me on the basis of satisfactory evidence to be the person who appeared before me


(Stamp/Seal)
                                            _____________________________
                                                  (Signature Notary)

                                                    ____________________________
                                                    Name of Notary

                                                    Notary Public, State of Georgia

My Commission expires: ___________


                                   NOTARIAL CERTIFICATE

State of Washington

County of ___________

I certify that I know or have satisfactory evidence that Mitchell Adams (name of person) is the
person who appeared before me, and said person acknowledged that (he/she) signed this instrument,
on oath stated that (he/she) was authorized to execute the instrument and acknowledged it as the
_____________ (type of authority, e.g., officer, trustee, etc.) of RISING SKY, LLC (name of party
on behalf of whom instrument was executed) to be the free and voluntary act of such party for the
uses and purposes mentioned in the instrument.

Dated:______________

(Seal or stamp)                                            ____________________
                                                                 Signature

                                                           ____________________
                                                                 Title


                                           My appointment expires:__________
                                                3
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                             DEED OF ASSIGNMENT



THIS DEED OF ASSIGNMENT is made on this…………… day of……………, 2023
between THEIA GROUP INC., a company incorporated in USA, located 1600 Market
Street, Suite 1320, Philadelphia, PA 19103, U.S.A., (hereinafter referred to as the
“Assignor”) of one part; and RISING SKY, LLC, a limited liability company organized
in USA, located at 1001 4th Avenue, Suite 4330, Seattle, WA 98154, U.S.A., (hereinafter
referred to as the “Assignee”) of the other part, under the terms and conditions set
hereunder:


WHEREAS the Assignor is the sole owner of the following inventions and patent
applications listed below:


(1) the invention having the title “SYSTEM FOR EMPLOYING CELLULAR
TELEPHONE NETWORKS TO OPERATE CONTROL AND COMMUNICATE WITH
UNMANNDED AERIAL VEHICLES AND REMOTE PILOTED VEHICLES”, whereof an
application for patent protection has been filed before the Patent Office, Government of
India under the Patent Application No. 201837012107 dated March 30, 2018;

(2) the invention having the title “LOW EARTH ORBIT SATELLITE CONSTELLATION
SYSTEM       FOR    COMMUNICATIONS         WITH    RE-USE     OF    GEOSTATIONARY
SATELLITE SPECTRUM”, whereof an application for patent protection has been filed
before the Patent Office, Government of India under the Patent Application No.
201837045587 dated December 3, 2018;
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(3) the invention having the title “SYSTEM FOR TRANSMISSION AND DIGITIZATION
OF MACHINE TELEMETRY”, whereof an application for patent protection has been
filed before the Patent Office, Government of India under the Patent Application No.
201837049792 dated December 29, 2018;

(4) the invention having the title “SYSTEM FOR RECORDING AND REAL-TIME
TRANSMISSION OF IN-FLIGHT OF AIRCRAFT COCKPIT TO GROUND SERVICES”,
whereof an application for patent protection has been filed before the Patent Office,
Government of India under the Patent Application No. 201937046971 dated November
18, 2019;

(5) the invention having the title “RADAR SYSTEM TO TRACK LOW FLYING
UNMANNED AERIAL VEHICLES AND OBJECTS”, whereof an application for patent
protection has been filed before the Patent Office, Government of India under the
Patent Application No. 201837049014 dated December 24, 2018;

(6) the invention having the title “SYSTEM FOR COMMUNICATIONS WITH
UNMANNED AERIAL VEHICLES USING TWO FREQUENCY BANDS”, whereof an
application for patent protection has been filed before the Patent Office, Government of
India under the Patent Application No. 201837043271 dated November 16, 2018;

(7) the invention having the title “SYSTEM FOR VERIFICATION OF INTEGRITY OF
UNMANNED AERIAL VEHICLES”, whereof an application for patent protection has
been filed before the Patent Office, Government of India under the Patent Application
No. 201837042699 dated November 13, 2018;

WHEREAS the above listed inventions are hereinafter collectively referred to as the
“present inventions”, and wherein the above identified applications are hereinafter
collectively referred to as “the applications”;

WHEREAS the Assignor expresses the desire to assign the present inventions with the
sole right, title and interests therein to the Assignor and the Assignee agrees to accept
the said invention hereinafter by paying the consideration amount as expressed
hereinunder.


WHEREAS the Assignor hereby assigns all of Assignor’s right, title and interests in the
present inventions under the aforesaid respective patent applications filed in India to the
  Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 159 of 196




Assignee for the entire term of the respective patents including Letters Patent for a
consideration amount of US $100.00 (One hundred US Dollar only).                 The rights
assigned, sold, and transferred hereunder by Assignor, including rights to the
inventions, patent applications, and patent rights, are being assigned, sold and
transferred, AS IS, WHERE IS and without representation, warranty, or recourse of any
kind.


WHEREAS the Assignee has made the payment of the aforesaid consideration amount
in favour of the Assignor that may issue from foreign applications, divisions,
continuations in whole or part or substitute application(s) filed claiming the benefit of the
present inventions and the applications; and


WHEREAS the Assignor hereby undertakes to assist the Assignee in all proceedings to
obtain the Patent Registration before the Indian Patent Office and in all other
proceedings related to said patent applications before the various authorities by
executing any documents that may be required, documents to be prepared at the
Assignee’s expense.




IN WITNESS WHEREOF the parties aforesaid have set their respective hands in the
presence of the witnesses hereunder.




________________________________                  ______________________________
THEIA GROUP INC.                                   RISING SKY, LLC.
        (Assignor)                                              (Assignee)
Name: Michael Fuqua                                      Name: Mitchell Adams
Title: Receiver (legal representative)                   Title:
       Theia Group, Inc.



WITNESSES:




1) Signature __________________                   2)     Signature __________________
  Name:                                                Name:
  Address:                                             Address:
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                                NOTARIAL CERTIFICATE

State of Georgia

County of Fulton

This instrument DEED OF ASSIGNMENT was acknowledged before me this _______day of
________ (month), _________ (year), by Michael Fuqua, Receiver of THEIA GROUP, INC., a
Delaware corporation, on behalf of the corporation,

who is

____personally known
____proved to me on the basis of satisfactory evidence to be the person who appeared before me


(Stamp/Seal)

                                                    _____________________________
                                                     (Signature Notary)


                                                   ____________________________
                                                   Name of Notary
                                                   Notary Public, State of Georgia
My Commission expires: ___________

                                NOTARIAL CERTIFICATE

State of Washington
County of ___________


I certify that I know or have satisfactory evidence that Mitchell Adams (name of person) is the
person who appeared before me, and said person acknowledged that (he/she) signed this
instrument, on oath stated that (he/she) was authorized to execute the instrument and
acknowledged it as the _____________ (type of authority, e.g., officer, trustee, etc.) of Rising
Sky, LLC (name of party on behalf of whom instrument was executed) to be the free and
voluntary act of such party for the uses and purposes mentioned in the instrument.

Dated:______________


(Seal or stamp)                                            ____________________
                                                           Signature
                                                           ____________________
                                                           Title
My appointment expires:__________
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                            DEED OF ASSIGNMENT



I/We, the undersigned, THEIA GROUP, INC. do hereby declare that I/we are the true
owner of
Japanese Patent Nos. 6794434, 6896982, 7012804, 7116448, 7116449, 7121372 and
7036744 and Japanese Patent Application Nos. 2018-554366, 2022-116033,
2022-116034 and 2022-120005
and that I/we have assigned all of our rights in respect to the said Patents unto
RISING SKY, LLC of 1001 4 TH Ave, Suite 4330, Seattle, WA 98154 (US).
I/We also hereby authorize the said Assignee to solely take all the pr oceedings
necessary for the registration of this assignment at the Japan Patent Office.

THEIA GROUP, INC. agrees to sign all lawful papers, make all rightful oaths, and to do
generally everything necessary to aid said Assignee, its successors, assigns and
nominees to register the Assignment of the patents and applications, the expenses
incident to said applications to be borne and paid by said Assignee.

THEIA GROUP, INC. confirms that this Assignment includes all of all statutory and
common law rights attaching to th e inventions, applications, and patents, and the right
to sue for past infringements and to retain any damages as a result of such action.

The rights assigned, sold, and transferred hereunder by THEIA GROUP, INC.,
including rights to the inventions, patents, patent applications, and patent rights, are
being assigned, sold and transferred, AS IS, WHERE IS and without representation,
warranty, or recourse of any kind.

Date:


Company:
 Name:         THEIA GROUP, INC.
 Address:      1600 Market Street, Suite 1320, Philadelphia, PA 19103 (US).



Signature:
Print Name:    Michael Fuqua
Title:         Receiver (legal representative)
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ERUUM & LEEON INTELLECTUAL PROPERTY LAW FIRM                                                        REPUBLIC OF KOREA



                              Corporation Nationality Certificate
                                                  [Notarization required]



I, the undersigned, do hereby certify that THEIA GROUP, INCORPORATED (applicant code: 5-
2018-073920-1) having its address at 1600 Market Street Suite 1320 Philadelphia, PA 19103,
United States of America. is a corporation duly organized and existing under the laws of United
States of America and that I am a lawful representative of said corporation and am/are
authorized to execute documents relating to intellectual property matters on behalf of the
corporation.

THEIA GROUP, INCORPORATED

By                                                                                    [signature]

Signatory’s Name: Michael Fuqua

Signatory’s Title: Receiver (legal representative)



State of Georgia

County of Fulton

This instrument Corporation Nationality Certificate was acknowledged before me this _______day of
________ (month), _________ (year), by Michael Fuqua, Receiver THEIA GROUP, INCORPORATED., a
Delaware corporation, on behalf of the corporation,

who is

 ____personally known
 ____proved to me on the basis of satisfactory evidence to be the person who appeared before me

(Stamp/Seal)
                                                                          ____________________
                                                                            (Signature Notary)

                                                                            ____________________________
                                                                            Name of Notary

                                                                            Notary Public, State of Georgia

My Commission expires: ___________

Instructions for execution: This Certificate must be signed and notarized. Instead of using the notarization form
included in this draft Certificate, you may use the notarization form, which is usually used by the notary public
providing the notarization. However, please note that if the notarization is separate (i.e. not on the Certificate itself),

                                         Corporation Nationality Certificate (page 1 of 2)
         Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 163 of 196

ERUUM & LEEON INTELLECTUAL PROPERTY LAW FIRM                                             REPUBLIC OF KOREA

the notarization must be integrally appended to the Certificate with an inseparable seal. Under Korean practice a
notarization is valid for only 6 months from the notarization date.




                                     Corporation Nationality Certificate (page 2 of 2)
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ERUUM & LEEON INTELLECTUAL PROPERTY LAW FIRM                                                 REPUBLIC OF KOREA




                                             DEED OF ASSIGNMENT
                                                [Simply signed]




Assignor            Name: THEIA GROUP, INCORPORATED (applicant’s code: 5-2018-073920-1)
                    Address: 1600 Market Street Suite 1320 Philadelphia, PA 19103, United States of America




Assignee            Name: RISING SKY, LLC
                    Address: 1001 4th Avenue, Suite 4330, Seattle, WA 98154, United States of America




I, the undersigned, am duly authorized to execute this Deed of Assignment on behalf of the Assignor indicated
above; and I do hereby certify and declare that the Assignor, which is the owner of the Korean intellectual property
right(s) indicated below, hereby assigns, transfers and sells all rights herein, including, rights to the invention,
patent application, and patent rights, AS IS, WHERE IS and without representation, warranty, or recourse of any
kind to the Assignee indicated above.

           1) KR Patent No. XX-XXXXXXX
           Title: RADAR SYSTEM TO TRACK LOW FLYING UNMANNED AERIAL VEHICLES AND OBJECTS

           2) KR Patent No. XX-XXXXXXX
           Title: LOW EARTH ORBIT SATELLITE CONSTELLATION SYSTEM FOR COMMUNICATIONS WITH
           RE-USE OF GEOSTATIONARY SATELLITE SPECTRUM

           3) KR Patent No. XX-XXXXXXX
           Title: SYSTEM FOR TRANSMISSION AND DIGITIZATION OF MACHINE TELEMETRY

           4) KR Patent Application No. 10-2019-7034471
           Title: SYSTEM FOR RECORDING AND REAL-TIME TRANSMISSION OF IN-FLIGHT OF AIRCRAFT
           COCKPIT TO GROUND SERVICES

           5) KR Patent Application No. 10-2022-7038340
           Title: METHOD FOR MONITORING CHANGE IN ANALOG OR PHYSICAL STATE CONDITIONS OF
           MACHINE



Dated this                  day of                        , 2023




By
Assignor: THEIA GROUP, INCORPORATED

Signatory’s Name: Michael Fuqua

Signatory’s Title: Receiver (legal representative)



                                              Deed of Assignment (page 1 of 1)
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                               POWER OF ATTORNEY

I/We, the undersigned, RISING SKY, LLC, a corporation/citizen(s) of United States of America,
having a principal office/residence at 1001 4th Avenue, Suite 4330, Seattle, WA 98154, United
States of America do hereby appoint ERUUM & LEEON Intellectual Property Law Firm(Attorney
Code: 9-2016-100061-5) registered patent attorney in Korea, as patent attorneys, with full power and
authority, to take, on my/our behalf, all and every proceedings for the following matters :


                         1) KR Patent No. XX-XXXXXXX
 Title: RADAR SYSTEM TO TRACK LOW FLYING UNMANNED AERIAL VEHICLES
                               AND OBJECTS


                            2) KR Patent No. XX-XXXXXXX
        Title: LOW EARTH ORBIT SATELLITE CONSTELLATION SYSTEM FOR
                            COMMUNICATIONS WITH
                 RE-USE OF GEOSTATIONARY SATELLITE SPECTRUM


                                   3) KR Patent No. XX-XXXXXXX
        Title: SYSTEM FOR TRANSMISSION AND DIGITIZATION OF MACHINE
                                TELEMETRY


                   4) KR Patent Application No. 10-2019-7034471
 Title: SYSTEM FOR RECORDING AND REAL-TIME TRANSMISSION OF IN-FLIGHT
                                  OF AIRCRAFT
                       COCKPIT TO GROUND SERVICES


                     5) KR Patent Application No. 10-2022-7038340
     Title: METHOD FOR MONITORING CHANGE IN ANALOG OR PHYSICAL STATE
                                   CONDITIONS OF
                                      MACHINE

before the Korean Intellectual Property Office, and further empower said attorneys, if necessary, to do
any or all of the following:

1. to take all necessary steps for the filing, prosecution and registration of said application.
2. to divide, convert, abandon or withdraw said application.
3. to make a double application based on said patent application or utility model application.
4. to withdraw or abandon a petition, an opposition, a request, a demand, an administrative petition or
   a suit made in relation to said application.
5. to claim priority under Article 55(1) of the Patent Law or Article 18 of Utility Model Law, or
   withdraw such a claim.
                                                ERUUM & LEEON Intellectual Property Law Firm
   Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 166 of 196


6. to make a request for technical evaluation.
7. to withdraw an application for registration of an extension of the term of a patent right.
8. to appoint and to revoke sub-agents.
9. to counteract against an opposition in relation to said application.
10. to make an appeal against a decision of rejection of said application or of an amendment, or against
    a ruling for revocation to the Industrial Property Tribunal, the Patent Court or the Supreme Court.
11. to make an administrative petition or suit from dissatisfaction with an administrative action.
12. to perform all other formalities and acts under the provisions concerned with the Patent, Utility
    Model, Design and Trademark Laws of Korea or any Order issued therefrom before and after the
    completion of registration.

By my signature below, I hereby affirm that I have legitimate authority to sign power of
attorney on behalf of the legal entity.




                                           Executed this              day of          , 2023
                                                           RISING SKY, LLC



                                         Signature:

                            Signatory’s full name:                 Mitchell Adams

                            Signatory’s official title:             legal representative

                                                                               (No Notarization Required)




                                               ERUUM & LEEON Intellectual Property Law Firm
     Case 1:21-cv-06995-PKC Document 318-1 Filed 01/18/23 Page 167 of 196




                               POWER OF ATTORNEY

I/We, the undersigned, THEIA GROUP, INCORPORATED (applicant code: 5-2018-073920-1), a
corporation/citizen(s) of United States of America, having a principal office/residence at 1600
Market Street Suite 1320 Philadelphia, PA 19103, United States of America do hereby appoint
ERUUM & LEEON Intellectual Property Law Firm(Attorney Code: 9-2016-100061-5) registered
patent attorney in Korea, as patent attorneys, with full power and authority, to take, on my/our behalf,
all and every proceedings for the following matters :


                         1) KR Patent No. XX-XXXXXXX
 Title: RADAR SYSTEM TO TRACK LOW FLYING UNMANNED AERIAL VEHICLES
                               AND OBJECTS


                             2) KR Patent No. XX-XXXXXXX
         Title: LOW EARTH ORBIT SATELLITE CONSTELLATION SYSTEM FOR
                             COMMUNICATIONS WITH
                  RE-USE OF GEOSTATIONARY SATELLITE SPECTRUM


                             3) KR Patent No. XX-XXXXXXX
         Title: SYSTEM FOR TRANSMISSION AND DIGITIZATION OF MACHINE
                                    TELEMETRY


                   4) KR Patent Application No. 10-2019-7034471
 Title: SYSTEM FOR RECORDING AND REAL-TIME TRANSMISSION OF IN-FLIGHT
                                  OF AIRCRAFT
                       COCKPIT TO GROUND SERVICES


                     5) KR Patent Application No. 10-2022-7038340
     Title: METHOD FOR MONITORING CHANGE IN ANALOG OR PHYSICAL STATE
                                   CONDITIONS OF
                                      MACHINE

before the Korean Intellectual Property Office, and further empower said attorneys, if necessary, to do
any or all of the following:

1.   to take all necessary steps for the filing, prosecution and registration of said application.
2.   to divide, convert, abandon or withdraw said application.
3.   to make a double application based on said patent application or utility model application.
4.   to withdraw or abandon a petition, an opposition, a request, a demand, an administrative petition or
     a suit made in relation to said application.

                                                ERUUM & LEEON Intellectual Property Law Firm
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5. to claim priority under Article 55(1) of the Patent Law or Article 18 of Utility Model Law, or
    withdraw such a claim.
6. to make a request for technical evaluation.
7. to withdraw an application for registration of an extension of the term of a patent right.
8. to appoint and to revoke sub-agents.
9. to counteract against an opposition in relation to said application.
10. to make an appeal against a decision of rejection of said application or of an amendment, or against
    a ruling for revocation to the Industrial Property Tribunal, the Patent Court or the Supreme Court.
11. to make an administrative petition or suit from dissatisfaction with an administrative action.
12. to perform all other formalities and acts under the provisions concerned with the Patent, Utility
    Model, Design and Trademark Laws of Korea or any Order issued therefrom before and after the
    completion of registration.

By my signature below, I hereby affirm that I have legitimate authority to sign power of
attorney on behalf of the legal entity.



                                           Executed this             day of          , 2023
                                                      THEIA GROUP, INCORPORATED



                                         Signature:

                            Signatory’s full name:                Michael Fuqua

                            Signatory’s official title:     Receiver (legal representative)

                                                                              (No Notarization Required)




                                               ERUUM & LEEON Intellectual Property Law Firm
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                    CARTA PODER                                             POWER OF ATTORNEY

SERGIO SILVA MENDOZA / JUAN MANUEL RUIZ                       SERGIO SILVA MENDOZA / JUAN MANUEL RUIZ
MENDOZA / MARIO ALBERTO VILLASEÑOR OLVERA /                   MENDOZA / MARIO ALBERTO VILLASEÑOR OLVERA /
JORGE ANGEL MENENDEZ SERRANO                                  JORGE ANGEL MENENDEZ SERRANO

Muy Señores nuestros:                                         Gentlemen:

Por la presente doy (damos) a ustedes, poder especial,        I (we) hereby confer upon you special, ample and
tan amplio y suficiente para que aisladamente o en            sufficient power to jointly or separate, in my (our)
conjunto, en mi (nuestro) nombre y representación             name and behalf, apply before the respective
tramiten ante las autoridades de la República                 authorities of the Mexican Republic, the registrations
Mexicana que correspondan, los registros de mis               of my (our) Patents, Utility Models, Industrial Designs,
(nuestras) patentes, modelos de utilidad, diseños             trademarks, Commercial Names and Advertisements,
industriales, marcas, nombres y avisos comerciales, y         and any other figure related to Industrial Property, file
cualquier otra figura relacionada con la Propiedad            renewals, file license agreements, hear and receive
Industrial; gestionen renovaciones, inscriban licencias       notifications, to which effect we empower you to take
y/o transmisiones de nuestros derechos de propiedad           all the necessary steps to achieve the indicated, and
industrial, oír y recibir notificaciones, a cuyo efecto se    conserving and maintaining the Industrial Property
les faculta para dar todos los pasos necesarios al objeto     rights of the above figures, and taking all necessary
indicado, así como el conservar y mantener los                measures that we deem appropriate for the protection
derechos de Propiedad Industrial de las figuras               of my (our) rights.
mencionadas, y tomar todas las medidas que creyeran
conducentes al resguardo de mis (nuestros) intereses.

Este poder se otorga y es válido conforme a las Leyes         This Power of Attorney is granted and valid in
del lugar donde se otorga. El firmante de éste                accordance with the Laws of the Country wherein it is
documento tiene la capacidad legal suficiente para            executed. The person signing this document has the
firmarlo en representación de la empresa:                     legal authority to sign this document on behalf of:
RISING SKY, LLC                                               RISING SKY, LLC

En la Ciudad de: Seattle, Washington – EUA                    In (city/state): Seattle, WA - USA

El día: __________________, 2023                              Date: __________________, 2023

                                          Atentamente, – Respectfully yours,
                                                    (please sign here)
                                   __________________________________
                                                RISING SKY, LLC
                                    Mitchell Adams – Legal Representative
                                     Mitchell Adams - Representante Legal


                  Testigo/Witness:                                              Witness/Testigo:


                     (please sign here)                                           (please sign here)
             ----------------------------------                            --------------------------------
                1.- Name and address                                         2.- Name and address
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SERGIO SILVA MENDOZA                                                                 MEXICO
JUAN MANUEL RUIZ MENDOZA                                             ASSIGNMENT OF INVENTION /
MARIO ALBERTO VILLASEÑOR O.                                               CESION DE INVENCION

                  ASSIGNMENT                                                          CESION
THEIA GROUP, INCORPORATED, whose name and                      THEIA GROUP, INCORPORATED, cuyo nombre y
residence is indicated below is the owner of the               domicilio se indica a continuación, es titular de las
following inventions and patent applications:                  siguientes invenciones y solicitudes de patente

(1) PCT/US2017/035036 - MX/a/2018/014569 entitled              (1) PCT/US2017/035036 – MX/a/2018/014569, titulada
“Radar system to track low flying unmanned aerial              “Sistema de radar para rastrear vehículos y objetos
vehicles and objects”, and                                     aéreos no tripulados de vuelo bajo”, y

(2) PCT/US2017/030847 - MX/a/2018/013489 entitled              (2) PCT/US2017/030847 - MX/a/2018/013489 titulada
“Low Earth Orbit Satellite Constellation System For            “Sistema de constelación de satélites de órbita
Communications With Re-Use Of Geostationary                    terrestre baja para comunicaciones con reutilización
Satellite Spectrum”; and                                       de espectro de satélites geoestacionarios”, y

(3) PCT/US2017/035264 - MX/a/2018/014739 entitled              (3) PCT/US2017/035264 - MX/a/2018/014739 titulada
“System For Transmission And Digitization Of                   “Sistema de transmisión y digitalización de
Machine Telemetry”; and                                        telemetría de máquina”; y

(4) PCT/US2018/28571- MX/a/2019/012692 entitled                (4) PCT/US2018/028571- MX/a/2019/012692 titulada
“System    For    Recording    And     Real-Time               “Sistema de grabación y transmisión en tiempo real
Transmission Of In-Flight Of Aircraft Cockpit To               de la cabina de aeronaves durante el vuelo para
Ground Services”;                                              servicios terrestres”;


THEIA GROUP, INCORPORATED hereby assigns and                   THEIA GROUP, INCORPORATED cede y transfiere
transfers the whole rights to the inventions, including the    todos los derechos de las invenciones, incluidas las
patent applications and title, the ownership of said           solicitudes de patentes y el título de patente, la propiedad
inventions, as is, where is, and without representation,       de dichas invenciones, tal cual, donde están y sin
warranty or recourse of any kind to: RISING SKY, LLC           representación, garantía o recurso de ningún tipo a:
                                                               RISING SKY, LLC.


herein after referred as the “Assignee”, an entity legally     de aquí en adelante referida como la “cesionaria”, una
constituted and existing under the Laws of the State of:       entidad legalmente constituida y existente bajo las leyes
Delaware - USA                                                 del Estado de: Delaware - EUA

for the consideration of $100.00 Mexican pesos, receipt        por la consideración de $100.00 pesos Moneda Nacional,
of which is hereby acknowledged and therefore, the             de los cuales se acusa recibo en la presente y por lo
Assignee can be considered the proprietor of the               tanto, la cesionaria puede considerarse desde ahora la
invention rights as from now on, to exploit it or to dispose   dueña de los derechos de invención para explotarla o
of it as best as it consider convenient, with no further       disponer de ella a su mejor conveniencia sin que pueda
claim by the inventor(s) at any time nor in any way.           haber reclamo ulterior por parte del (de los) inventor(res)
                                                               en ningún tiempo o forma.

           FIRST ASSIGNOR / INVENTOR                                         ASSIGNEE / APPLICANT
           PRIMER CEDENTE / INVENTOR                                        CESIONARIA / SOLICITANTE

Name/Nombre: THEIA GROUP, INCORPORATED                         Name/Nombre: RISING SKY, LLC

Address/Dirección: Market Street 1600, Suite 1320 –            Address/Dirección: 1001 4TH Avenue, Suite 4330,
Philadelphia, PA – 19103 USA                                   Seattle, WA -- 98154 USA
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Signature: _______________________________        Signature: _______________________________
Michael Fuqua – Receiver for Theia Group,         Mitchell Adams –_________________ Rising Sky, LLC
Incorporated (Legal Representative)               (Legal Representative)
Receptor para Theia Group, Incorporated           (Representante Legal)
(Representante Legal)


                 FIRST WITNESS                                   SECOND WITNESS
                PRIMER TESTIGO                                   SEGUNDO TESTIGO

Name/Nombre:                                      Name/Nombre:


Signature: __________________                     Signature: _______________




                                        NOTARIAL CERTIFICATE
State of Georgia

County of Fulton

This instrument ASSIGNMENT AGREEMENT was acknowledged before me this _______day of
________ (month), _________ (year), by Michael Fuqua, Receiver of THEIA GROUP,
INCORPORATED, a Delaware corporation, on behalf of the corporation,

who is

____personally known
____proved to me on the basis of satisfactory evidence to be the person who appeared before me


(Stamp/Seal)

                                            _____________________________
                                                 (Signature Notary)

                                                ____________________________
                                                Name of Notary

                                                Notary Public, State of Georgia

My Commission expires: ___________
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                                     NOTARIAL CERTIFICATE

State of Washington

County of ___________

I certify that I know or have satisfactory evidence that Mitchell Adams (name of person) is the person
who appeared before me, and said person acknowledged that (he/she) signed this instrument, on
oath stated that (he/she) was authorized to execute the instrument and acknowledged it as the
_____________ (type of authority, e.g., officer, trustee, etc.) of RISING SKY, LLC (name of party on
behalf of whom instrument was executed) to be the free and voluntary act of such party for the uses
and purposes mentioned in the instrument.

Dated:______________

(Seal or stamp)                                       ____________________
                                                            Signature

                                                       ____________________
                                                            Title


                                         My appointment expires:__________
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              ДОГОВОР                                                        AGREEMENT
ОБ ОТЧУЖДЕНИИ ИСКЛЮЧИТЕЛЬНОГО ПРАВА                                      ON THE ASSIGNMENT

Мы, нижеподписавшиеся,                        We, the undersigned,
Тхеиа Гроуп, Инцорпоратед                     Theia Group, Incorporated
1600 Маркет Стреет Суите 1320 Филадельфия, ПА 1600 Market Street Suite 1320 Philadelphia, PA 19103,
19103, США                                    USA
(патентообладатель)                           (hereinafter designated as The Patentee)

правообладатель следующих патентов на изобретение,      being the holder of the following invention patents
зарегистрированных в Российской Федерации               registered in the Russian Federation
 № 2729607, заявка № 2018108416                         No. 2729607, application No. 2018108416
 № 2721185, заявка № 2018137854                         No. 2721185, application No. 2018137854
 № 2733905, заявка № 2018137880                         No. 2733905, application No. 2018137880
 № 2737058, заявка № 2018143511                         No. 2737058, application No. 2018143511
 № 2730169, заявка № 2018140570                         No. 2730169, application No. 2018140570
 № 2772837, заявка № 2018143512                         No. 2772837, application No. 2018143512
 № 2777952, заявка № 2019137121                         No. 2777952, application No. 2019137121

настоящим передаем исключительное         право     на hereby assign the rights of aforesaid patents to
вышеуказанные патенты
Рисинг Скай, ЛЛЦ                                        Rising Sky, LLC
1001 4тх Авенуе, Суите 4330, Сиэтл, ВА 98154, США       1001 4th Avenue, Suite 4330, Seattle, WA 98154, USA
(приобретатель)                                         (hereinafter designated as The Assignee)

на территории Российской Федерации, на срок             in the territory of the Russian Federation, during the
действия патента и заявляем, что впредь                 period of validity of patents, and declare that The
приобретатель имеет исключительное право на             Assignee is henceforth to be considered as having the
данные патенты.                                         exclusive rights in and to the said patents.

Мы, приобретатель, настоящим подтверждаем, что мы       We, The Assignee, hereby declare that we accept the
принимаем права на вышеуказанные патенты.               rights of said patents.
Права, переданные и проданные по настоящему             The rights assigned and sold hereunder are being assigned
договору, переуступаются и продаются как есть, где      and sold as is, where is and without representation,
есть и без каких-либо заверений, гарантий или           warranty or recourse of any kind.
регресса.
Цена       договора       представляет       собой      The cost of the agreement is confidential and is specified
конфиденциальную      информацию     и    является      in a separate agreement of the parties.
предметом отдельного соглашения сторон.

Настоящий договор составлен в Джорджии, США This agreement is executed in Georgia, USA on the "23"
"23" ноября 2022 года в трех экземплярах на русском day of November 2022 in triplicate, each copy in Russian
и на английском языках, причем русский текст имеет and in English and Russian text has advantage.
преимущество.

            От имени патентообладателя                               For and on behalf of The Patentee
         (имя, должность,подпись, печать)                             (name, position, signature, seal)


Мичаел Фуяуа                                                                                      Michael Fuqua
Управляющий Тхеиа Гроуп, Инцорпоратед                                     Receiver for Theia Group, Incorporated
(представитель)                                                                             (legal representative)

               От имени приобретателя                               For and on behalf of The Assignee
         (имя, должность, подпись, печать)                           (name, position, signature, seal)



Митчелл Адамс                                                                                     Mitchell Adams
(представитель)                                                                              (legal representative)
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              ДОВЕРЕННОСТЬ                                         POWER OF ATTORNEY


Настоящая     доверенность     выдана    (имя         The present Power of Attorney is granted to (name
патентного поверенного, его № регистрации)            of the attorney and number of his certificate)

Аверьянов Евгений Константинович, 453                 Averyanov Eugene Konstantinovich, 453
Адрес:                                                Address:
а/я 31, г. Санкт-Петербург, 197375, РОССИЯ            a/ya 31, Saint-Petersburg, 197375, RUSSIA

в том, что ему поручается представлять интересы       which is hereby empowered to represent the interests
                                                      of

Рисинг Скай, ЛЛЦ                                      Rising Sky, LLC
Адрес:                                                Address:
1001 4тх Авенуе, Суите 4330, Сиэтл, ВА 98154,         1001 4th Avenue, Suite 4330, Seattle, WA 98154,
США                                                   USA

по всем вопросам, связанным с приобретением,          in all matters related to application for granting,
поддержанием, защитой, передачей, получением          maintenance, protection, transfer, assignment of
прав    промышленной        собственности    и        industrial property rights and disposal of the
распоряжением исключительным правом по                exclusive rights under an agreement within the
договору на территории Российской Федерации           territory of the Russian Federation and other
и других территориях, признающих полномочия           territories where the qualification of the said person
указанного лица в качестве зарегистрированного        as registered patent attorney are recognized.
патентного поверенного.

Настоящая доверенность       действительна        в   This Power of Attorney is valid for three years.
течение трех лет.




место             Вашингтон, США                      place                   Washington, USA



дата             23 ноября 2022 года                  date                   November 23, 2022




                                подпись                        signature


                     Митчелл Адамс                                                Mitchell Adams
подписано            (представитель)                  signed by                (legal representative)
              (имя, должность, подпись, печать)                            (name, position, signature, seal)
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                        DATED                   2023


                                Between


                       THEIA GROUP, INCORPORATED

                             As the Assignor

                                   And


                             RISING SKY, LLC.
                             As the Assignee



           __________________________________________________

                         ASSIGNMENT OF PATENT
           __________________________________________________




                            Yusarn Audrey LLC
                               4 Shenton Way
                          #14-03, SGX Centre 2
                             Singapore 068807
                            Tel (65) 6358 2865
                            Fax (65) 6358 2864
                       Email: enquiries@yusarn.com
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THIS DEED is made on                  2023 (“Deed”)

BETWEEN

(1)      THEIA GROUP, INCORPORATED (Co. Reg. No. 6114523), a company incorporated under the
         laws of the State of Pennsylvania, United States, with its registered address at 1600 Market
         Street, Suite 1320 Philadelphia, PA 19103, United States of America, 19103, United States (the
         “Assignor”); and

(2)      RISING SKY, LLC. (Co. Reg. No. 6729327), a limited liability company organized under the laws
         of the State of Delaware, United States, with its registered address at 1001 4th Avenue, Suite
         4330, Seattle, WA 98154 United States (the “Assignee”).

WHEREAS:

(A)      The Assignor is the proprietor and beneficial owner of the invention described in Schedule 1
         (hereinafter referred to as the “Invention”) and the patent as set out in Schedule 2
         (hereinafter referred to as the “Patent”).

(B)      The Assignor has agreed to assign to the Assignee the Patent on the terms set out in this Deed.

NOW THIS DEED HEREBY WITNESSES as follows:


1.       ASSIGNMENT

1.1      In consideration of the sum of S$1/- now paid by the Assignee to the Assignor (the receipt of
         which is hereby acknowledged by the Assignor), subject to Clause 2 below, the Assignor
         hereby ASSIGNS absolutely as beneficial owner to the Assignee, on an as is and where is basis,
         without any representation or warranty whatsoever, express or implied, and without
         recourse, all its rights, titles and interests, throughout the world in and to the Patent, together
         with all rights and powers arising or accrued therefrom including the right to sue for damages
         and other remedies in respect of any infringement of such rights or other acts within the scope
         of the claims of any published specification of the Patent;


2.       FURTHER ASSURANCE

2.1      The Assignor further covenants that at the direction and expense of the Assignee it will at all
         times hereafter do all such acts and execute all such documents as may reasonably be
         necessary or desirable to enable the Assignee to enjoy the full benefit of the property and
         rights hereby assigned, to secure the vesting in the Assignee of all rights assigned to the
         Assignee hereunder in any country and to assist in the resolution of any question concerning
         the Patent, whether in the course of legal proceedings or otherwise to uphold the Assignee’s
         rights herein.


3.       EXECUTION OF DEED
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3.1      This Deed may be executed in two or more counterparts, each of which shall be an original
         but all of which together shall constitute one and the same Deed.

3.2      If any provision or term of this Deed shall become or be declared illegal, invalid or
         unenforceable for any reason whatsoever, such term or provision shall be divisible from this
         Deed and shall be deemed to be deleted from this Deed to the extent of such prohibition or
         unenforceability without invalidating the remaining provisions hereof, provided always that if
         such deletion substantially affects or alters the commercial basis of this Deed the parties shall
         negotiate in good faith to amend and modify the provisions and terms of this Deed so as to
         achieve so far as possible the same economic effect without rendering the Deed so amended
         or modified illegal, invalid or unenforceable.


4.       GOVERNING LAW

4.1      Governing law: This Deed shall be governed by and construed in accordance with the laws of
         Singapore.

4.2      Jurisdiction: The parties hereby submit to the non-exclusive jurisdiction of the Singapore
         courts.




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                                             SCHEDULE 1

                                              Invention

            SYSTEM FOR TRANSMISSION AND DIGITIZATION OF MACHINE TELEMETRY

                                              ABSTRACT

A system for digitizing gauges, lights and other human-readable machine gauges and functions and
status without interfering with the operation of the machine or requiring reworking or interfering with
the existing machine wiring, signaling, electrical or mechanical elements or operating modes, or
adding new digitizing equipment to the machine




                                               -3-
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                                  SCHEDULE 2

                                    Patents

S. No.     Patent No.                    Country           Grant Date

1.         11201810480R                  Singapore         27 August 2021




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IN WITNESS WHEREOF this Deed has been executed on the date stated at the beginning.

ASSIGNOR

For and on behalf of                  )
THEIA GROUP, INCORPORATED )


By:

_____________________
Michael Fuqua
Receiver
Theia Group, Incorporated

                                     NOTARIAL CERTIFICATE

State of Georgia

County of Fulton

This instrument DEED OF ASSIGNMENT was acknowledged before me this _______day of ________
(month), _________ (year), by Michael Fuqua, Receiver of THEIA GROUP, INCORPORATED, a Delaware
corporation, on behalf of the corporation,

who is

 ____personally known
 ____proved to me on the basis of satisfactory evidence to be the person who appeared before me

(Stamp/Seal)


                                                      (Signature Notary)


                                                     ____________________________
                                                     Name of Notary

                                                     Notary Public, State of Georgia


My Commission expires: ___________




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ASSIGNEE

For and on behalf of                    )
RISING SKY, LLC                 )


By:

_____________________
Mitchell Adams
Title: _________
Rising Sky, LLC.
(Legal Representative)



                                       NOTARIAL CERTIFICATE

State of Washington

County of ___________

I certify that I know or have satisfactory evidence that Mitchell Adams (name of person) is the
person who appeared before me, and said person acknowledged that (he/she) signed this
instrument DEED OF ASSIGNMENT, on oath stated that (he/she) was authorized to execute the
instrument and acknowledged it as the _____________ (type of authority, e.g., officer, trustee, etc.)
of RISING SKY, LLC (name of party on behalf of whom instrument was executed) to be the free and
voluntary act of such party for the uses and purposes mentioned in the instrument.
Dated:______________

(Seal or stamp)                                         ____________________
                                                                     Signature

                                                                 ____________________
                                                                        Title


                                                My appointment expires:__________




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                            DATED         2023


                                Between


                       THEIA GROUP, INCORPORATED

                             As the Assignor

                                    And


                             RISING SKY, LLC

                             As the Assignee



           __________________________________________________

                               ASSIGNMENT
                                     Of
                      Inventions & Patent Applications
           __________________________________________________




                               Yusarn Audrey
                               4 Shenton Way
                          #14-03, SGX Centre 2
                             Singapore 068807
                            Tel (65) 6358 2865
                            Fax (65) 6358 2864
                       Email: enquiries@yusarn.com
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SCHEDULES

Details of Inventions and Patent Applications ........................................................................................6
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THIS DEED is made on              2023 (“Deed”)

BETWEEN

(1)      THEIA GROUP, INCORPORATED (Co. Reg. No. 6114523), a company incorporated under the
         laws of the State of Pennsylvania, United States, with its registered address at 1600 Market
         Street, Suite 1320 Philadelphia, PA 19103, United States of America (the “Assignor”); and

(2)      RISING SKY, LLC, (Co. Reg. No. 6729327), a limited liability company organized under the laws
         of the State of Delaware, United States, with its registered address at 1001 4th Avenue, Suite
         4330, Seattle, WA 98154.
(3)
WHEREAS:

(A)      The Assignor is the proprietor and beneficial owner of the inventions described in the Schedule
         (hereinafter referred to as the “Inventions”) and the patent applications as set out in the
         Schedule (hereinafter referred to as the “Patent Applications”).

(B)      The Assignor has agreed to assign to the Assignee the Inventions and the Patent Applications
         on the terms set out in this Deed.

NOW THIS DEED HEREBY WITNESSES as follows:

1.       ASSIGNMENT

1.1      In consideration of the sum of S$1/- now paid by the Assignee the Assignor (the receipt of
         which is hereby acknowledged by the Assignor), subject to Clause 2 below, the Assignor
         hereby ASSIGNS absolutely as beneficial owner to the Assignee, on an as is and where is basis,
         without any representation or warranty whatsoever, express or implied, and without
         recourse:

         (a)     all its rights, titles and interests, throughout the world in and to:

                 (i)     the Inventions and the Patent Applications;

                 (ii)    any improvements, modifications, and development (the “Improvements”)
                         on the Inventions and the Patent Applications heretofore or hereafter made
                         or acquired by the Assignor;

                 (iii)   all intellectual property rights in the Inventions and Improvements;

                 (iv)    all divisional, continuation and continuation-in-part patent applications in
                         respect of the Inventions or any part thereof and/or any Improvements or any
                         part thereof;

                 (v)     the full and exclusive benefit of the Patent Applications to the intent that the
                         grant of any patents should thereon be in the name of and vest in the
                         Assignee; and

                 (vi)    any and all patent or patents on the Inventions and/or Improvements that
                         may be granted anywhere in the world;


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                 together with all rights and powers arising or accrued therefrom including the right to
                 sue for damages and other remedies in respect of any infringement of such rights or
                 other acts within the scope of the claims of any published specification of any patent
                 on the Inventions and/or Improvements;

         (b)     the right to apply for, prosecute and obtain patent or other similar forms of protection
                 throughout the world, including but not limited to any divisional, continuation or
                 continuation-in-part patent applications, in respect of the Inventions and/or the
                 Improvements to the intent that the grant of any patents or similar protection shall
                 be in the name of and vest in the Assignee;

         (c)     the right to make any new application or applications in respect of any part or parts
                 of the subject matter of any application or specification filed in connection with the
                 Inventions and the right to claim priority from the Patent Applications or part thereof
                 anywhere in the world.

2.       FURTHER ASSURANCE

2.1      The Assignor further covenants that at the direction and expense of the Assignee it will at all
         times hereafter do all such acts and execute all such documents as may reasonably be
         necessary or desirable to enable the Assignee to enjoy the full benefit of the property and
         rights hereby assigned, to secure the vesting in the Assignee of all rights assigned to the
         Assignee hereunder in any country whether patent applications have been made or not and
         to assist in the resolution of any question concerning any patent applications in respect of the
         Inventions and/or the Improvements, whether in the course of legal proceedings or otherwise
         to uphold the Assignee’s rights herein.


3.       EXECUTION OF DEED

3.1      This Deed may be executed in two or more counterparts, each of which shall be an original
         but all of which together shall constitute one and the same Deed.

3.2      If any provision or term of this Deed shall become or be declared illegal, invalid or
         unenforceable for any reason whatsoever, such term or provision shall be divisible from this
         Deed and shall be deemed to be deleted from this Deed to the extent of such prohibition or
         unenforceability without invalidating the remaining provisions hereof, provided always that if
         such deletion substantially affects or alters the commercial basis of this Deed the parties shall
         negotiate in good faith to amend and modify the provisions and terms of this Deed so as to
         achieve so far as possible the same economic effect without rendering the Deed so amended
         or modified illegal, invalid or unenforceable.


4.       GOVERNING LAW

4.1      Governing law: This Deed shall be governed by and construed in accordance with the laws of
         Singapore.

4.2      Jurisdiction: The parties hereby submit to the non-exclusive jurisdiction of the Singapore
         courts for matters arising out of this Deed.



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                                            SCHEDULE

                       DETAILS OF INVENTIONS AND PATENT APPLICATIONS

1.    SINGAPORE PATENT APPLICATION NO. 11201809489W
      INTERNATIONAL FILING DATE: 03 MAY 2017 (03.05.2017)

      Invention

      LOW EARTH ORBIT SATELLITE CONSTELLATION SYSTEM FOR COMMUNICATIONS WITH RE-USE
      OF GEOSTATIONARY SATELLITE SPECTRUM

      ABSTRACT

      A system for re-using GEO-allocated communications spectrum in a LEO satellite constellation
      based communications system, such that the LEO satellite originated signals will not appear in
      the beam-width of GEO-pointed earth station antennas, and satellites configured to provide
      communications by manipulating their respective beam transmissions, which may include a
      forward beam and rearward beam whose angles are controlled to project the beam and reduce
      or eliminate the potential for interference with GEO-pointed earth station antennas. The system
      and LEO satellites may provide substantially 100% coverage of an earth station located
      anywhere on the surface of the earth, without coordination with the GEO satellites or GEO-
      pointing ground stations. The system also may provide earth stations that are configured to
      enhance the isolation between the GEO communications system and the LEO communications
      system using the same spectrum to reduce the potential for GEO-pointed earth station
      antennas from picking up the LEO communication.

2.    SINGAPORE PATENT APPLICATION NO. 11201909526U
      INTERNATIONAL FILING DATE: 20 APRIL 2018 (20.04.2018)

      Invention

      SYSTEM FOR RECORDING AND REAL-TIME TRANSMISSION OF IN-FLIGHT OF AIRCRAFT
      COCKPIT TO GROUND SERVICES

      ABSTRACT

      A system, method and device for monitoring an aircraft, including activity taking place within
      an aircraft and conditions of the aircraft, where one or more a percepting component such as a
      camera, microphone, or other sensor, is situated at a location within the aircraft from which
      information may be ascertained. Preferably the component is disguised within the surfaces or
      instrumentation of the aircraft. The percepting component is connected with a communication
      mechanism to transmit communications from the system resident within the aircraft to a
      grounds portion of the system through a communication link, such as a satellite communication
      link. The system may process the information corresponding with the aircraft condition or
      activity and generate alerts when a trigger is met or exceeded. The system components on the
      aircraft may monitor conditions and activity without using or interfering with the aircraft
      instrumentation, the system using only the aircraft power.

3.    SINGAPORE PATENT APPLICATION NO. 11201810483Q
      INTERNATIONAL FILING DATE: 30 MAY 2017 (30.05.2017)



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      Invention

      RADAR SYSTEM TO TRACK LOW FLYING UNMANNED AERIAL VEHICLES AND OBJECTS

      ABSTRACT

      A radar system for tracking UAVs and other low flying objects utilizing wireless networking
      equipment is provided. The system is implemented as a distributed low altitude radar system
      where transmitting antennas are coupled with the wireless networking equipment to radiate
      signals in a skyward direction. A receiving antenna or array receives signals radiated from the
      transmitting antenna, and in particular, signals or echoes reflected from the object in the
      skyward detection region. One or more processing components is electronically coupled with
      the wireless networking equipment and receiving antenna to receive and manipulate signal
      information to provide recognition of and track low flying objects and their movement within
      the coverage region. The system may provide detection of objects throughout a plurality of
      regions by networking regional nodes, and aggregating the information to detect and track
      UAVs and other low flying objects as they move within the detection regions.

4.    SINGAPORE PATENT APPLICATION NO. 10202251240X
      INTERNATIONAL FILING DATE: 03 OCTOBER 2022 (30.10.2022) (Divisional)

       Invention

      RADAR SYSTEM TO TRACK LOW FLYING UNMANNED AERIAL VEHICLES AND OBJECTS

      ABSTRACT

      A radar system for tracking UAVs and other low flying objects utilizing wireless networking
      equipment is provided. The system is implemented as a distributed low altitude radar system
      where transmitting antennas are coupled with the wireless networking equipment to radiate
      signals in a skyward direction. A receiving antenna or array receives signals radiated from the
      transmitting antenna, and in particular, signals or echoes reflected from the object in the
      skyward detection region. One or more processing components is electronically coupled with
      the wireless networking equipment and receiving antenna to receive and manipulate signal
      information to provide recognition of and track low flying objects and their movement within
      the coverage region. The system may provide detection of objects throughout a plurality of
      regions by networking regional nodes, and aggregating the information to detect and track
      UAVs and other low flying objects as they move within the detection regions.




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IN WITNESS WHEREOF this Deed has been executed on the date stated at the beginning.

ASSIGNOR

For and on behalf of                 )
THEIA GROUP INCORPORATED )


By:
_____________________
Michael Fuqua
Receiver
Theia Group, Incorporated


                                    NOTARIAL CERTIFICATE


State of Georgia

County of Fulton

This instrument DEED OF ASSIGNMENT was acknowledged before me this
_______day of ________ (month), _________ (year), by Michael Fuqua, Receiver of
THEIA GROUP, INC., a Delaware corporation, on behalf of the corporation,

who is

____personally known
____proved to me on the basis of satisfactory evidence to be the person who appeared
before me


(Stamp/Seal)

                                                   _____________________________
                                                   (Signature Notary)


                                                    ____________________________
                                                    Name of Notary
                                                    Notary Public, State of Georgia
My Commission expires: ___________




ASSIGNEE

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For and on behalf of                    )
RISING SKY, LLC.                        )


By:
_____________________

Mitchell Adams
_______ for Rising Sky, LLC.
(Legal Representative)



                                       NOTARIAL CERTIFICATE


State of Washington

County of ___________

I certify that I know or have satisfactory evidence that Mitchell Adams (name of person) is the
person who appeared before me, and said person acknowledged that (he/she) signed this
instrument DEED OF ASSIGNMENT, on oath stated that (he/she) was authorized to execute the
instrument and acknowledged it as the _____________ (type of authority, e.g., officer, trustee, etc.)
of RISING SKY, LLC (name of party on behalf of whom instrument was executed) to be the free and
voluntary act of such party for the uses and purposes mentioned in the instrument.

Dated:______________

(Seal or stamp)                                         ____________________
                                                                     Signature

                                                                 ____________________
                                                                        Title


                                                My appointment expires:__________




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                               ASSIGNMENT AGREEMENT

       BE IT KNOWN by these presents, that:

        WHEREAS THEIA GROUP, INCORPORATED, a corporation organized and
existing under the laws of United States of America having a place of business at 1600
Market Street, Suite 1320 Philadelphia, PA 19103, United States of America, and RISING
SKY, LLC, a limited liability company organized and existing under the laws of the state of
Delaware of the United States of America having a place of business at 1001 4th Avenue,
Suite 4330, Seattle, WA 98154.

        WHEREAS the said THEIA GROUP, INCORPORATED is the owner of the patent
rights represented by the pending patent applications listed below; and

       WHEREAS the said RISING SKY, LLC is desirous of acquiring all rights of the
pending patent applications listed below and the registrations thereof;

        NOW, THEREFORE, for valuable consideration, receipt of which is hereby
acknowledged, said THEIA GROUP, INCORPORATED, a corporation of United States of
America does hereby assign unto the said RISING SKY, LLC, a limited liability company
of the state of Delaware of United States of America, all rights, title and interest in and to the
pending patent applications listed below.

                  Title of Invention:                      Thai Patent Application No.:

     RADAR SYSTEM TO TRACK LOW                                     1801007306
          FLYING UNMANNED
     AERIAL VEHICLES AND OBJECTS

        LOW EARTH ORBIT SATELLITE                                  1801006767
        CONSTELLATION SYSTEM FOR
         COMMUNICATIONS WITH RE-
          USE OF GEOSTATIONARY
           SATELLITE SPECTRUM

         SYSTEM FOR TRANSMISSION                                   1801007305
            AND DIGITIZATION OF
           MACHINE TELEMETRY

        SYSTEM FOR RECORDING AND                                   1901006727
        REAL-TIME TRANSMISSION OF
          IN-FLIGHT OF AIRCRAFT
           COCKPIT TO GROUND
                 SERVICES


       The rights assigned, sold, and transferred hereunder by THEIA GROUP,
INCORPORATED, , including rights to the invention, pending patent applications, and
patent rights, are being assigned, sold and transferred, AS IS, WHERE IS and without
representation, warranty, or recourse of any kind.


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       THEIA GROUP, INCORPORATED requests that this transfer of all rights be duly
filed and recorded. RISING SKY, LLC does hereby accept this patent assignment and
requests that this transfer of all rights be duly filed and recorded.

      IN WITNESS WHEREOF, THEIA GROUP, INCORPORATED. & RISING
SKY, LLC have hereunto set their hands and seals this _______________ day of
___________________.

WITNESS:                                     Theia Group, Incorporated

____________________________                 By: ____________________________ ASSIGNOR
                                                   ( Michael Fuqua           )
                                                     Receiver (legal representative)



                                 NOTARIAL CERTIFICATE
State of Georgia

County of Fulton

This instrument ASSIGNMENT AGREEMENT was acknowledged before me this _______day of
________ (month), _________ (year), by Michael Fuqua, Receiver THEIA GROUP,
INCORPORATED., a Delaware corporation, on behalf of the corporation,

who is

____personally known
____proved to me on the basis of satisfactory evidence to be the person who appeared before me

(Stamp/Seal)
                                                ____________________
                                                      (Signature Notary)

                                                        ____________________________
                                                        Name of Notary

                                                        Notary Public, State of Georgia

My Commission expires: ___________


WITNESS:                                     Rising Sky, LLC

____________________________                 By: ____________________________ ASSIGNEE
                                                  (       Mitchell Adams        )
                                                       Title:________________
                                                            Rising Sky, LLC
                                                         (legal representative)




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                                   NOTARIAL CERTIFICATE

State of Washington

County of ___________

I certify that I know or have satisfactory evidence that Mitchell Adams (name of person) is the person
who appeared before me, and said person acknowledged that (he/she) signed this instrument
ASSIGNMENT AGREEMENT, on oath stated that (he/she) was authorized to execute the instrument
and acknowledged it as the _____________ (type of authority, e.g., officer, trustee, etc.) of RISING
SKY, LLC (name of party on behalf of whom instrument was executed) to be the free and voluntary
act of such party for the uses and purposes mentioned in the instrument.
Dated:______________

(Seal or stamp)                                           ____________________
                                                                       Signature

                                                                 ____________________
                                                                        Title


                                                 My appointment expires:__________




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THAILAND                                                 PATENTS/ PETTY PATENTS/ DESIGNS


                        GENERAL POWER OF ATTORNEY

KNOW ALL MEN BY THESE PRESENTS that I/We, RISING SKY, LLC, residing/having
a principal office at 1001 4TH Avenue, Suite 4330, Seattle, WA 98154, United States of America
(a citizen/limited liability company duly organized under the laws of Delaware, United States
of America)

do hereby appoint MS. KAMONPHAN MINJOY of YUSARN AUDREY IP SERVICES
(THAILAND) COMPANY LIMITED of 163 Thai Samut Building, 14th Floor, Unit 14H,
Surawongse Road, Suriyawongse, Bangrak, Bangkok 10500 as my/ our agent and attorney (the
“Attorney”) to do any and all of the following acts and things for and on my/our behalf, with
full power of substitution and revocation, including to take all proceedings for making the
registration of all patents, petty patents and/or designs and the licenses thereof, to claim the
priorities, to convert the applications, to file the divisional applications, to file requests for
substantive examination, and to amend or correct the applications or registrations, to obtain the
Certificates of Registration and Licensing Certificates or substitutes thereof, to pay the annuities
or renewals, to perform all necessary acts concerning the applications/registrations before the
Department of Intellectual Property, Ministry of Commerce, and/or the Patent Director and any
other relevant authorities, as applicable, to file appeals with the Board of Patent, to file all kinds
of applications and motions, to file oppositions or counterstatements, to assign or accept any
assignment, to enter into compromises, consents or settlement in respect of patents, petty
patents and/or designs, to abandon or withdraw applications or registrations, to appoint or
remove substitutes as deemed appropriate, and to notify, to file complaints, claims, answers,
motions and statements and do any acts necessary in any civil and criminal proceedings in
respect of patents, petty patents and/or designs with the appropriate authorities, police
investigation officers, public prosecutors and court whatsoever on my/our behalf.

And I/we hereby confirm and ratify whatsoever my/our said agent and attorney or lawfully
appointed substitute or substitutes may lawfully do or cause to be done by virtue of these
presents, further ratify and confirm all actions previously taken and acts performed by my/our
said agent and attorney or lawfully appointed substitute or substitutes within the scope of
authority conferred by these presents.

IN WITNESS, WHEREOF, we have hereunto set our hands and seal (if required)
this_____day of ____________, A.D. ___________


(Seal)                                                   By: _____________________________

                                                                        (Mitchell Adams)

                                                           Title: _________________________

                                                                       (Legal representative)




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                                NOTARIAL CERTIFICATE


State of Washington

County of ___________

I certify that I know or have satisfactory evidence that Mitchell Adams (name of person) is
the person who appeared before me, and said person acknowledged that (he/she) signed this
instrument, on oath stated that (he/she) was authorized to execute the instrument and
acknowledged it as the _____________ (type of authority, e.g., officer, trustee, etc.) of
RISING SKY, LLC (name of party on behalf of whom instrument was executed) to be the
free and voluntary act of such party for the uses and purposes mentioned in the instrument.

Dated:______________

(Seal or stamp)                                            ____________________
                                                                 Signature

                                                           ____________________
                                                                 Title


                                            My appointment expires:__________




AGREED AND ACCEPTED BY
ATTORNEY

YUSARN AUDREY IP SERVICES (THAILAND) COMPANY LIMITED




By: _____________________________________
          (MS. KAMONPHAN MINJOY)




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